Case:Highly
      1:17-md-02804-DAP Doc #:- 1985-23
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further1 Confidentiality
                                                        of 198. PageID #: 260507
                                                                             Review

      1                    UNITED STATES DISTRICT COURT

      2                      NORTHERN DISTRICT OF OHIO

      3                            EASTERN DIVISION

      4

      5    -----------------------------) MDL No. 2804

      6    IN RE NATIONAL PRESCRIPTION          )

      7    OPIATE LITIGATION                    )

      8                                         ) Case No. 17-md-2804

      9    This document relates to:            )

     10    All Cases                            )

     11    -----------------------------) Hon. Dan A. Polster

     12

     13                          HIGHLY CONFIDENTIAL

     14           SUBJECT TO FURTHER CONFIDENTIALITY REVIEW

     15

     16                  The videotaped deposition of MARY WOODS,

     17    called for examination, taken pursuant to the Federal

     18    Rules of Civil Procedure of the United States District

     19    Courts pertaining to the taking of depositions, taken

     20    before JULIANA F. ZAJICEK, a Registered Professional

     21    Reporter and a Certified Shorthand Reporter, at Lieff

     22    Cabraser Heimann & Bernstein, 8th Floor, 250 Hudson

     23    Street, New York, New York, on January 10, 2019, at

     24    9:10 a.m.

   Golkow Litigation Services                                               Page 1
Case:Highly
      1:17-md-02804-DAP Doc #:- 1985-23
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further2 Confidentiality
                                                        of 198. PageID #: 260508
                                                                             Review

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   Golkow Litigation Services                                               Page 2
Case:Highly
      1:17-md-02804-DAP Doc #:- 1985-23
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further3 Confidentiality
                                                        of 198. PageID #: 260509
                                                                             Review

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   Golkow Litigation Services                                               Page 3
Case:Highly
      1:17-md-02804-DAP Doc #:- 1985-23
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further4 Confidentiality
                                                        of 198. PageID #: 260510
                                                                             Review

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     14    THE VIDEOGRAPHER:
     15           MR. ERIC DAVIDSON,
                  Golkow Litigation Services.
     16

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   Golkow Litigation Services                                               Page 4
Case:Highly
      1:17-md-02804-DAP Doc #:- 1985-23
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further5 Confidentiality
                                                        of 198. PageID #: 260511
                                                                             Review

      1                                I N D E X
      2
      3    WITNESS:                                                PAGE:
      4     MARY WOODS
      5           EXAM BY MR. EGLER....................                  7
      6           EXAM BY MS. LEVY.....................               190
      7           FURTHER EXAM BY MR. EGLER............               190
      8
      9                                   *****
     10
     11                            E X H I B I T S
     12    ALLERGAN - WOODS EXHIBIT                          MARKED FOR ID
     13     No. 30       E-mail chain, top one from Mary                  25
                         Woods to Eileen Mesis, among
     14                  others, 2/9/04, Subject: Re:
                         Suspicious Order Reports;
     15                  ALLERGAN_MDL_02166476 - 477
     16     No. 31       E-mail chain, top one from Mary                  31
                         Woods to Andrew Boyer and Judith
     17                  Callahan, 10/04/11, Subject:
                         Investigation Summary - DEA
     18                  Affairs, w/attachment;
                         ALLERGAN_MDL_02187196 - 199
     19
            No. 32       E-mail, SOMS Update with One Note                43
     20                  attachment;
                         ALLERGAN_MDL_03835569 - 637
     21
            No. 33       E-mail from Mary Woods to Andrew                 67
     22                  Boyer, 11/08/11, Subject: 2012
                         Budget Customer Relations
     23                  Presentation MW 3.pptx - slide 4
                         modified using marketing template,
     24                  w/attachment: ALLERGAN_MDL_02187056 - 091

   Golkow Litigation Services                                                Page 5
Case:Highly
      1:17-md-02804-DAP Doc #:- 1985-23
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further6 Confidentiality
                                                        of 198. PageID #: 260512
                                                                             Review

      1                        E X H I B I T S (Continued)
      2    ALLERGAN - WOODS EXHIBIT                          MARKED FOR ID
      3     No. 34       E-mail from Lisa Scott to Andrew                 83
                         Boyer, among others, 12/13/12,
      4                  Subject: Summary: Capital
                         Wholesale, w/attachment;
      5                  ALLERGAN_MDL_02187194 - 195
      6     No. 35       Document titled: "Customer                       90
                         Relations Operations," Mary Woods,
      7                  Exec. Director Customer Relations
                         Operations - 2012;
      8                  ALLERGAN_MDL_03802654 - 687
      9     No. 36       Document titled: "Actavis                       142
                         Transition," Tuesday, July 31,
     10                  2012, 10:12 PM;
                         ALLERGAN_MDL_03776365 - 387
     11
            No. 37       Document titled: "Kick Off Meeting              184
     12                  5/13"; ALLERGAN_MDL_03755062 - 078
     13
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   Golkow Litigation Services                                               Page 6
Case:Highly
      1:17-md-02804-DAP Doc #:- 1985-23
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further7 Confidentiality
                                                        of 198. PageID #: 260513
                                                                             Review

      1          THE VIDEOGRAPHER:        We are now on the record.         My

      2    name is Eric Davidson.         I am the videographer for

      3    Golkow Litigation Services.          Today's date is Thursday,

      4    January 10th, 2019, and the time is approximately

      5    9:10 a.m.

      6                  This video deposition is being held at

      7    250 Hudson Street, 8th Floor, New York, New York, in

      8    the matters of National Prescription Opiate Litigation

      9    for the United States District Court, Northern

     10    District of Ohio, Eastern Division.

     11                  The deponent is Mary Woods.

     12                  At this time counsel will be noted on the

     13    stenographic record.

     14                  The court reporter is Juliana, and she may

     15    now swear in the witness.

     16                       (WHEREUPON, the witness was duly

     17                        sworn.)

     18                               MARY WOODS,

     19    called as a witness herein, having been first duly

     20    sworn, was examined and testified as follows:

     21                               EXAMINATION

     22    BY MR. EGLER:

     23          Q.      Hi, Ms. Woods.      Thanks for coming back

     24    today.

   Golkow Litigation Services                                               Page 7
Case:Highly
      1:17-md-02804-DAP Doc #:- 1985-23
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further8 Confidentiality
                                                        of 198. PageID #: 260514
                                                                             Review

      1                  Again, my name is Tom Egler.           I represent

      2    the Plaintiffs in this case.          I work for a law firm

      3    called Robbins Geller Rudman & Dowd.

      4                  Yesterday we talked about a number of

      5    issues and today I want to go into more depth about

      6    your personal memories and your personal activities at

      7    Watson and then Actavis and now Allergan.

      8                  So can we start out, can you tell me where

      9    you went to college?

     10          A.      I went to community college, only I

     11    studied at Moraine Valley.          I do not have -- I did not

     12    complete my degree.        And, um, that's it.

     13          Q.      All right.     And then when did you start

     14    working for Watson?

     15          A.      I started working for Watson in 1998.

     16          Q.      And when you started working for Watson,

     17    where did you work?

     18          A.      I worked in Glenview, Illinois.

     19          Q.      And then at some point did you move to

     20    California for work?

     21          A.      I did.

     22          Q.      When was that?

     23          A.      In 1999.

     24          Q.      When you moved to California for work at

   Golkow Litigation Services                                               Page 8
Case:Highly
      1:17-md-02804-DAP Doc #:- 1985-23
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further9 Confidentiality
                                                        of 198. PageID #: 260515
                                                                             Review

      1    Watson, what was your job title?

      2          A.      I believe my job title -- I've had

      3    several, so I have to think about this.              I believe my

      4    job title was associate director of call center

      5    operations, I believe.         I -- I can't be positive.

      6          Q.      As you think about it, was the call center

      7    operations group that you worked with part of the

      8    customer service group at Watson?

      9                  Let me ask this question a little bit more

     10    generally.

     11                  When you worked at Watson, did you have

     12    something that you would now identify as a customer

     13    service group, did the company have a customer service

     14    group?

     15          A.      Watson did have a customer service group.

     16          Q.      As you think of it, was the call center

     17    that you worked for in the late '90s part of that

     18    customer service group?

     19          A.      In the late '90s, customer service was

     20    part of the call center group.

     21          Q.      All right.     Was -- was customer service a

     22    part of the call center group or the other way around?

     23          A.      No.   The customer service group was part

     24    of the call center group --

   Golkow Litigation Services                                               Page 9
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further10Confidentiality
                                                         of 198. PageID #: 260516
                                                                             Review

      1           Q.     Oh, okay.

      2           A.     -- in the late '90s.

      3           Q.     All right.

      4                  So what did the call center -- let me

      5    start over.

      6                  What did the customer service group at

      7    Watson do in the late '90s?

      8           A.     To the best of my knowledge --

      9           Q.     Uh-huh.

     10           A.     -- this is a long time ago, their role was

     11    to support the direct customers of Watson.              That's

     12    what their job was.

     13           Q.     All right.      And then what did the call

     14    center group that the customer service group was a

     15    part of do?

     16           A.     So in addition to customer service, as I

     17    mentioned, there was other groups and there would have

     18    been a small inside sales team, and their role was to

     19    contact other -- other types of customers and their

     20    orders went through the wholesalers, as I mentioned

     21    yesterday, it was --

     22           Q.     All right.

     23           A.     -- hospitals.      They -- it was a detailing

     24    team that contacted, I think I mentioned yesterday,

    Golkow Litigation Services                                             Page 10
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further11Confidentiality
                                                         of 198. PageID #: 260517
                                                                             Review

      1    women's healthcare, it was dermatology, things like

      2    that.

      3           Q.     With regard to the -- the answer you gave

      4    just now, you used the term "inside sales."

      5                  What does that term mean to you in the

      6    context of your work?

      7           A.     So, in the context of my work, inside

      8    sales means there -- they would have been contacting

      9    people regarding products sold by the company at that

     10    time and selling products to them and they shipped

     11    through the wholesaler.         It was whole -- through --

     12    you know, through their primary wholesaler.

     13           Q.     So as you think of the people who were in

     14    the inside sales group at that time, with the

     15    understanding that we are talking about 20 years ago

     16    at least, were they -- would you characterize them as

     17    salespeople or customer service people or both or

     18    something else?

     19           A.     I would say they were probably both.

     20           Q.     Okay.

     21           A.     They probably had a role to inform them

     22    about -- you know, they would look and see what

     23    products they had typically purchased and then they

     24    would also handle any service issue they would have

    Golkow Litigation Services                                             Page 11
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further12Confidentiality
                                                         of 198. PageID #: 260518
                                                                             Review

      1    had, but the sale or the products shipped through the

      2    wholesaler, so most probably service issues would have

      3    gone through the wholesalers.

      4           Q.     All right.      As you think of it, with

      5    regard to the inside sales group that you're -- we've

      6    been talking about, would those people have been able

      7    to or responsible for selling any controlled

      8    substances?

      9           A.     I -- I really can't remember, because it

     10    was so long ago, exactly what the product line was

     11    back then.

     12           Q.     All right.      All right.

     13                  Let's -- we are going to take a short trip

     14    through your career so we can just get some names down

     15    now.

     16                  So you started at Watson and then in 19 --

     17    in late '90s you went to California and --

     18           A.     Can I make one correction on that?

     19           Q.     Sure.

     20           A.     I started at Rugby Laboratories --

     21           Q.     Okay.

     22           A.     -- in 1995.      They were acquired by Watson

     23    in 1998.

     24           Q.     All right.      So and then after you started

    Golkow Litigation Services                                             Page 12
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further13Confidentiality
                                                         of 198. PageID #: 260519
                                                                             Review

      1    working in California, did your job title change at

      2    any point?

      3           A.     Yes.

      4           Q.     Okay.    Can you tell me generally what the

      5    various job titles you had in California were?

      6           A.     So I'll do this to the best of my

      7    recollection.

      8           Q.     Sure.

      9           A.     Obviously it has been many years.

     10                  So I would have been, I believe,

     11    associate -- I'm going by my memory here, associate

     12    director of call center operations and then I believe

     13    I would have become a director of call center

     14    operations, and then we very early on did not have an

     15    inside sales team or a detailing team any longer, and

     16    then I believe I changed to director of customer

     17    relations or customer support.           I can't recall what

     18    the title was.       And then at some point I became an

     19    executive director of customer relations or something

     20    like that.      And then that would have probably been the

     21    extent in California.

     22           Q.     Okay.    And then at some point you left

     23    California for the East Coast for work, is that right?

     24           A.     That is correct.

    Golkow Litigation Services                                             Page 13
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further14Confidentiality
                                                         of 198. PageID #: 260520
                                                                             Review

      1           Q.     When was that?

      2           A.     Approximately five years ago, so I think

      3    that would have been around 2000 and -- I think it was

      4    around 2014, maybe '13, maybe '13.

      5           Q.     When you came to work in New Jersey, who

      6    was your employer?

      7           A.     When I came to work in New Jersey,

      8    Actavis, Inc.

      9           Q.     When you started working for Actavis,

     10    Inc., and I'll -- I'll -- we went through the -- let

     11    me start over.

     12                  We went through the significance of the

     13    comma and naming issues yesterday, and my

     14    understanding is that the Actavis, Inc. is the

     15    combined Actavis and Watson entity and that

     16    Actavis Inc. is the pre-merger Actavis entity.

     17                  Is that your understanding as well?

     18           A.     Yes, my understanding is Actavis, Inc. is

     19    after the merger.

     20           Q.     All right.      So I'll try to use

     21    Actavis, Inc. today so we are on the same page,

     22    because I know you never worked for Actavis Inc., and

     23    if I miss it and we both notice it or if you notice

     24    it, just let me know.         But I'll -- I have the

    Golkow Litigation Services                                             Page 14
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further15Confidentiality
                                                         of 198. PageID #: 260521
                                                                             Review

      1    understanding that you never worked for Actavis Inc.

      2    and want to make sure that you don't have -- or I

      3    understand that you don't have personal knowledge of

      4    what was going on there.

      5                  So with regard to Actavis, Inc., when you

      6    started working for them in New Jersey, where did you

      7    work physically in New Jersey?

      8           A.     I physically worked in Parsippany,

      9    New Jersey.

     10           Q.     Do you remember the address of the office

     11    building where you worked?

     12           A.     I'm trying to think of which location that

     13    we were at.

     14                  I believe it is -- not off the top of my

     15    head, but...

     16           Q.     All right.      Do you remember -- let me put

     17    it -- so, with regard to --

     18           A.     Interpace Parkway, 400 Interpace Parkway.

     19           Q.     Great.    All right.

     20                  And if you think of it, there was more

     21    than one physical location for Actavis white collar

     22    workers in New Jersey, is that right?

     23           A.     The only location that I can recall for

     24    Actavis, Inc. in New Jersey, there was multiple

    Golkow Litigation Services                                             Page 15
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further16Confidentiality
                                                         of 198. PageID #: 260522
                                                                             Review

      1    buildings on the campus there, but, I mean, we -- but

      2    that's the only location I can remember.

      3           Q.     All right.

      4                  With regard to the building where you

      5    worked, how many stories was it?

      6           A.     I believe it was four stories.

      7           Q.     Okay.    And as you think about the

      8    people -- let me start over.

      9                  As you think about the -- the groups that

     10    were on the floor where you worked, do you have a

     11    memory of which operating groups or divisions were on

     12    the floor where you worked?

     13           A.     When I started, yes, I was on a floor

     14    with -- to the best of my recollection, the teams that

     15    were on the floor with me were IT, my team, I think

     16    that was the gist of where I was at, to the best of my

     17    knowledge.

     18           Q.     Okay.    And when you think about the --

     19    what you termed as your team in the Interpace Parkway

     20    building, about how many people are you thinking of?

     21           A.     On my team at the time probably maybe 14,

     22    15 people.

     23           Q.     All right.      As you think about it, with

     24    regard to your team, keeping in that word, were you

    Golkow Litigation Services                                             Page 16
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further17Confidentiality
                                                         of 198. PageID #: 260523
                                                                             Review

      1    the leader of the team?

      2           A.     Yes, I was.

      3           Q.     And who was directly below you?

      4           A.     I had two departments under me at the

      5    time.    I had an order management team and I had a

      6    support services team which was licensed -- licensing

      7    and customer master.

      8           Q.     The "customer master" term that you use,

      9    are those the people who would have worked responding

     10    to orders that had pended in the suspicious order

     11    monitoring system?

     12           A.     So, customer master and licensing were one

     13    team, so it was that team that was responsible, yes.

     14           Q.     Okay.    So on that team, the customer -- on

     15    those two teams that you are talking about, can you

     16    tell me about how many people were on them?

     17           A.     So on the -- I'm sorry.         I had one other

     18    team at the same time which was -- I believe at that

     19    time we also had some -- this is just going back.                I'm

     20    trying to recollect this.          So I believe we also had --

     21    and maybe not.       I'm going to stick with that because

     22    I -- I really can't recall, so I don't want to provide

     23    something that's not accurate.

     24           Q.     Um-hum.

    Golkow Litigation Services                                             Page 17
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further18Confidentiality
                                                         of 198. PageID #: 260524
                                                                             Review

      1           A.     So on the license master and customer

      2    master side, I would think we had five or six people,

      3    we had some administrative people.

      4           Q.     Does the five or six include the

      5    administrative people?

      6           A.     No.

      7           Q.     Okay.

      8           A.     And then we had -- and then the balance of

      9    the people would have been on the order management

     10    side.

     11           Q.     What did the order management -- let me

     12    start over.

     13                  What did the people on the order

     14    management side do?

     15           A.     The people on the order management side

     16    used the Edge system that we spoke about yesterday,

     17    evaluating orders as they came in to the system

     18    against the amount of inventory customers were allowed

     19    to receive.      They ran analytical reports on inventory

     20    and forecasting.       They managed 852 data that came in

     21    from the wholesalers, 867 data that came in from the

     22    wholesalers, they worked with the supply chain teams

     23    on inventory, we also had a person on that team that

     24    managed vendor managed inventory (VMI), there was --

    Golkow Litigation Services                                             Page 18
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further19Confidentiality
                                                         of 198. PageID #: 260525
                                                                             Review

      1    we -- we had some responsibilities to Walmart on

      2    vendor managed inventory using their retailing system.

      3    So they did a lot of analytical work.             So that was the

      4    gist of what their role was.

      5           Q.     All right.

      6                  With regard to the other -- well, so

      7    that's the order management group that you were

      8    talking about and the other people that you were

      9    talking about were the license master and the customer

     10    master people.

     11                  Is there -- are there -- were there any

     12    other groups that you worked with at this time when

     13    you first started in New Jersey for Actavis, Inc.?

     14           A.     I really -- I can't recollect.           I do not

     15    believe so.

     16           Q.     All right.      With regard to the license

     17    master and the customer master people, I think you had

     18    said those were the people who would analyze orders

     19    that had pended in the suspicious order monitoring

     20    system, is that right?

     21           A.     That is correct.

     22           Q.     So do you have a -- a feeling or knowledge

     23    about how much of -- about how much of those people's

     24    time was spent on a day-to-day basis analyzing orders

    Golkow Litigation Services                                             Page 19
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further20Confidentiality
                                                         of 198. PageID #: 260526
                                                                             Review

      1    that had pended in the suspicious order monitoring

      2    system?

      3           A.     Well, so to the best of my recollection, I

      4    mean, that was a significant amount of their time

      5    during the day, because they were in that role all day

      6    long as orders would come in and pend and they would

      7    have to evaluate and review those orders and so that

      8    was a primary part of their role.

      9           Q.     We had talked about -- we had talked about

     10    this yesterday, and I just want to make sure I'm clear

     11    on the context of it.

     12                  The suspicious order monitoring system at

     13    Actavis and at Watson when you worked there as well,

     14    had -- it was applicable to all controlled substances,

     15    is that right?

     16           A.     That is correct.

     17           Q.     And I asked that because the case that we

     18    are talking about here relates to substances that were

     19    on Schedule II and at some point Schedule III of the

     20    suspicious -- or the Controlled Substances Act, but

     21    there are five total schedules, is that right?

     22           A.     That's correct.

     23           Q.     So when you talk about the --

     24           A.     The CSA law doesn't specify that you can

    Golkow Litigation Services                                             Page 20
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further21Confidentiality
                                                         of 198. PageID #: 260527
                                                                             Review

      1    exclude other drugs from suspicious order monitoring.

      2           Q.     Did you ever do an examination while you

      3    were at Actavis, Inc. or Watson of about how much the

      4    license master or customer master staff, how much of

      5    their time was spent working on Schedule II controlled

      6    substances that Watson or Actavis manufactured?

      7           A.     We -- we didn't separate out how much time

      8    was for C-IIs versus all of the controlleds because

      9    they all pended if it's -- you know, they are all

     10    under the Act, so we didn't separate out just opioids

     11    versus -- or C-IIs versus C-II through V.

     12           Q.     Do you remember whether there was ever a

     13    time when you worked at Actavis or Watson that the

     14    conditions for an order to pend were different for

     15    C-II drugs than they were for C-III through V?

     16           A.     Yes.

     17           Q.     All right.      And when was that?

     18           A.     So that was controlled by our controlled

     19    substance compliance team --

     20           Q.     Uh-huh.

     21           A.     -- and they could have made changes to

     22    that at any time they felt that there was the need to

     23    make that change, and they did that.             I can't recall

     24    the exact timeframe of that.           They were very diligent

    Golkow Litigation Services                                             Page 21
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further22Confidentiality
                                                         of 198. PageID #: 260528
                                                                             Review

      1    about making those changes.          I -- I don't want to give

      2    a timeframe because I -- I really don't know the exact

      3    timeframe, but it was reviewed frequently and they

      4    would make the changes as necessary.

      5           Q.     As you think of it, did that change take

      6    place while you were in New Jersey or in California?

      7           A.     It took -- it happened when I was in both

      8    locations.

      9           Q.     All right.      Did it happen -- well, I guess

     10    it did happen more than once then?

     11           A.     Yes.

     12           Q.     All right.      Do you remember about how many

     13    times it happened?

     14           A.     I can't recall the number of times it

     15    happened.

     16           Q.     So as you think of it, who would be the

     17    person most responsible for the issues that we're

     18    talking about now deciding the -- the level for which

     19    a order would pend on various schedules of the

     20    Controlled Substance Act?

     21           A.     I'm -- I'm sorry.        What do you mean by

     22    "issues"?

     23           Q.     Oh, so you had said that the controlled

     24    substance compliance team --

    Golkow Litigation Services                                             Page 22
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further23Confidentiality
                                                         of 198. PageID #: 260529
                                                                             Review

      1           A.     Uh-huh.

      2           Q.     -- at Actavis and Watson made changes to

      3    the level at which an order would pend on the

      4    suspicious order monitoring system depending on which

      5    schedule it was under the Controlled Substance Act?

      6           A.     Correct.

      7           Q.     So who would be most responsible for that

      8    issue?

      9           A.     For that activity?

     10           Q.     Yes.

     11           A.     So, the controlled substance compliance

     12    team would make a determination on how to -- you know,

     13    on what changes needed to be made, and it was the

     14    controlled substance compliance team that could go in

     15    and make those changes.

     16           Q.     And who on the team, as you think of it,

     17    was most responsible for that?

     18           A.     So, Tom Napoli at that -- at that time --

     19           Q.     Okay.

     20           A.     -- would be able to do that or -- and

     21    Tracey Hernandez's time when she was here, they would

     22    be able to make those changes.

     23           Q.     Okay.

     24           A.     Or give direction to make those changes.

    Golkow Litigation Services                                             Page 23
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further24Confidentiality
                                                         of 198. PageID #: 260530
                                                                             Review

      1           Q.     Do you remember the first time the --

      2    okay.

      3                  Do you remember the first time the level

      4    at which an order pended on the suspicious order

      5    monitoring system was modified based on the drug's

      6    placement on a -- a Controlled Substance Act schedule?

      7           A.     I -- I really couldn't remember the first

      8    time.

      9           Q.     All right.

     10                  All right.      So we are going to go through

     11    some documents, as we did yesterday.

     12           A.     Okay.

     13           Q.     Oh, so, all right.        You had mentioned

     14    earlier that there is a -- this order management

     15    group --

     16           A.     Uh-huh.

     17           Q.     -- as well, right?

     18           A.     Correct.

     19           Q.     And you had mentioned that -- the term

     20    "VMI"?

     21           A.     Vendor managed inventory.

     22           Q.     Yeah.

     23                  What does vendor managed inventory mean to

     24    you?

    Golkow Litigation Services                                             Page 24
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further25Confidentiality
                                                         of 198. PageID #: 260531
                                                                             Review

      1           A.     So, vendor managed inventory is a process

      2    in which you have the ability to work with a vendor to

      3    help them manage their inventory.            Most of the time

      4    you are using their systems.           In the case of Walmart,

      5    we used their systems and we helped to review their

      6    inventory with them and they would make us go into

      7    Retail Link and review their systems, make sure they

      8    didn't have outs and things like that.

      9           Q.     With regard to any -- any shipments or

     10    orders that were made through any VMI system at

     11    Actavis or Watson, do you know whether those orders

     12    would have been monitored by the suspicious order

     13    monitoring program at Actavis or Watson?

     14           A.     Every single order would have gone

     15    through --

     16           Q.     All right.

     17           A.     -- our system.

     18           Q.     All right.      I'm going to hand you what

     19    we'll mark as Exhibit 30 for this deposition.

     20                       (WHEREUPON, a certain document was

     21                         marked Allergan - Woods Deposition

     22                         Exhibit No. 30, for identification,

     23                         as of 01/10/2019.)

     24    BY MR. EGLER:

    Golkow Litigation Services                                             Page 25
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further26Confidentiality
                                                         of 198. PageID #: 260532
                                                                             Review

      1           Q.     Because of the physical setup, I'm going

      2    to hand you two copies, one for your counsel.

      3           A.     Okay.    Sure.

      4           Q.     And, Ms. Woods, could you look at what

      5    I've marked as Exhibit 30, and as you are looking at

      6    it, I'll read into the record its Bates stamps are

      7    Allergan_MDL_02166476 and 477.

      8                  And when you are ready, can you tell me

      9    what this appears to you to be?

     10           A.     Sure.    Let me just read this.

     11           Q.     Yeah.

     12           A.     Okay.    I've read it.

     13           Q.     All right.      What does this appear to you

     14    to be?

     15           A.     So Tracey Hernandez headed up the DEA

     16    compliance team.       This appears to me that she is

     17    stating filings for the DEA suspicious orders should

     18    go through her team.

     19           Q.     Does this seem to be a -- an e-mail chain

     20    among you and other people at Watson Pharma, Inc.?

     21           A.     Correct.

     22           Q.     And the date on the e-mails is January and

     23    February of 2004, is that right?

     24           A.     Yes, that is correct.

    Golkow Litigation Services                                             Page 26
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further27Confidentiality
                                                         of 198. PageID #: 260533
                                                                             Review

      1           Q.     So about 15 years ago at this point, is

      2    that right?

      3           A.     Yes, correct.

      4           Q.     So for the e-mails that appear on here,

      5    there is a name Tracey Hernandez who we have discussed

      6    a little bit earlier and a woman named Christine

      7    Marino.

      8                  Do you see her name right there?

      9           A.     Yes, I do.

     10           Q.     Who is Christine Marino?

     11           A.     Christine Marino was a supervisor of

     12    customer service and she was also a representative.                 I

     13    don't know which position at this time.

     14           Q.     When you say "representative," what does

     15    that mean?

     16           A.     A customer service representative.

     17           Q.     All right.      And then there is another name

     18    there, Eileen Mesis, M-e-s-i-s?

     19           A.     Correct.     She was a manager of customer

     20    service.

     21           Q.     All right.      And then Judy Callahan.         Who

     22    is Judy Callahan?

     23           A.     Judy Callahan was a -- a manager of

     24    customer service at this time.

    Golkow Litigation Services                                             Page 27
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further28Confidentiality
                                                         of 198. PageID #: 260534
                                                                             Review

      1           Q.     And in the first e-mail in time on this

      2    exhibit, which is at the bottom of the second page,

      3    it's a Ms. Marino -- or Ms. Hernandez writing to

      4    Ms. Marino and Ms. Callahan:

      5                  "Chris/Judy, Can you please tell me who at

      6    DEA you have on record to send these reports to if you

      7    ever need to?"

      8                  And Ms. Hernandez replies:          "I have not

      9    had to forward suspicious reports.            You may want to

     10    cover this with Mary Woods."

     11                  And then you respond on the first page --

     12           A.     Uh-huh.

     13           Q.     "We have never needed to file a report.

     14    Any time there was a question during the order process

     15    of a suspicious order quantity, we went," and then in

     16    parentheses, "(and still follow the same

     17    procedure)," and then close parentheses, "back to a

     18    customer to let them know we would need to notify the

     19    DEA due to the quantity they wanted to order.               In

     20    response, they either reduced the quantity or

     21    cancelled the order."

     22                  Do you see that there?

     23           A.     Yes, I do.

     24           Q.     And then you -- you go on:

    Golkow Litigation Services                                              Page 28
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further29Confidentiality
                                                         of 198. PageID #: 260535
                                                                             Review

      1                  "Most all customers understand the issues

      2    and do not want to bring attention to these large

      3    purchases."

      4                  So at this time in January of 2004, do you

      5    remember whether it was an official policy of Watson

      6    Pharma to allow customers to reduce quantities in

      7    order to avoid having to file a -- a DEA suspicious

      8    order report?

      9           A.     I absolutely do not remember from 2004.

     10           Q.     All right.      So with regard to this

     11    response that you give on this e-mail, do you

     12    remember -- as you sit here today, do you remember

     13    writing this e-mail?

     14           A.     Not from 2004.

     15           Q.     Right.    With that understanding, it's

     16    15 years ago.

     17                  Do you have an understanding about whether

     18    it was the case that you and people you worked with

     19    would allow customers to reduce the quantity of orders

     20    that had pended in a system in order to avoid filing a

     21    suspicious order report with the DEA?

     22           A.     Nobody would have ever done it with any

     23    intention to avoid filing a report with the DEA.                If

     24    the customer would have come to us and said, you know,

    Golkow Litigation Services                                             Page 29
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further30Confidentiality
                                                         of 198. PageID #: 260536
                                                                             Review

      1    reduce the quantity, I don't -- I can't recollect

      2    from, you know, 15 years ago --

      3           Q.     Right.

      4           A.     -- what the policy would have been or the

      5    justification from 15 years ago.

      6           Q.     But in the e-mail you wrote, they either

      7    cancelled the order or reduced the amount --

      8           A.     Yes, I did.

      9           Q.     -- is that right?

     10                  So do you have any reason to believe it

     11    wasn't a regular process to allow customers to reduce

     12    their orders at that time?

     13           A.     I -- I can't respond to what happened

     14    15 years ago.      I'd have to have more information.

     15           Q.     As you sit here today, you don't have any

     16    reason to believe that that wasn't the case, right?

     17           A.     I don't have any be -- reason to believe

     18    it was or wasn't.       I don't know.

     19           Q.     Well, you -- you wrote it at the time,

     20    right, in 2004?

     21           A.     I probably wrote a lot of things at the

     22    time that I probably can't recollect.

     23           Q.     Would you have written something that you

     24    didn't believe was true at the time in 2004?

    Golkow Litigation Services                                             Page 30
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further31Confidentiality
                                                         of 198. PageID #: 260537
                                                                             Review

      1           A.     I wouldn't write something I didn't

      2    believe was true at that point in time for that

      3    e-mail.

      4           Q.     So you must have believed that that was

      5    actually the case, that customers would have

      6    reduced --

      7           A.     For this incident.

      8           MS. LEVY:     Hang on a second.       Let him finish his

      9    question.

     10    BY MR. EGLER:

     11           Q.     Customers would have been able to reduce

     12    their order in order to avoid a DEA report being

     13    filed, is that right?

     14           A.     I'm reading what's in the e-mail.            That's

     15    the best I can respond to it.

     16           Q.     All right.

     17                  All right.      You can set this document

     18    aside.

     19                       (WHEREUPON, a certain document was

     20                         marked Allergan - Woods Deposition

     21                         Exhibit No. 31, for identification,

     22                         as of 01/10/2019.)

     23    BY MR. EGLER:

     24           Q.     So I'll hand you what we'll mark as

    Golkow Litigation Services                                             Page 31
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further32Confidentiality
                                                         of 198. PageID #: 260538
                                                                             Review

      1    Exhibit 31.

      2                  Again, there is two -- two copies there.

      3           A.     Sure.

      4           Q.     And can you look through what I've marked

      5    as Exhibit 31?       And as you are looking through it,

      6    I'll read on the record, it's Bates numbered

      7    Allergan_MDL_02187196 through 87199.

      8                  And when you are ready, can you tell me

      9    what this appears to you to be?

     10           A.     Okay.

     11           Q.     All right.      Ms. Woods, what does this

     12    appear to you to be?

     13           A.     This was an e-mail that we were -- that I

     14    sent to Andy Boyer, who is the VP of our sales and

     15    marketing team.

     16           Q.     The e-mail is dated October 4th, 2011, is

     17    this right?

     18           A.     That is correct.

     19           Q.     And at this point you were still working

     20    in Corona, California, is that right?

     21           A.     That is correct.

     22           Q.     And still working for Watson still?

     23           A.     Correct.

     24           Q.     I don't know if we've raised his name

    Golkow Litigation Services                                             Page 32
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further33Confidentiality
                                                         of 198. PageID #: 260539
                                                                             Review

      1    earlier, but, again, who is Andy Boyer?

      2           A.     I believe at this time he was a vice

      3    president of sales and marketing.            I believe that was

      4    his title.

      5           Q.     All right.      And he was at Watson, is that

      6    right?

      7           A.     Yes, that is correct.

      8           Q.     Below his name is the name

      9    Judith Callahan.

     10                  Do you know who Ms. Callahan is?

     11           A.     Yes.    Judy was the -- she -- I'm not sure

     12    her title at the time, but she worked on my team.

     13           Q.     Okay.    At this time, 2011, late 2011, what

     14    was your team at Watson?

     15           A.     My team at Watson was customer service and

     16    it would have also included order processing and

     17    master data and -- order processing, master data,

     18    licensing.

     19           Q.     Okay.

     20           A.     And I think we would have had a small

     21    group called account management which was a customer

     22    service group that handled orders for, like, contract

     23    manufacturing customers.

     24           Q.     As you think of it, around this time in

    Golkow Litigation Services                                             Page 33
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further34Confidentiality
                                                         of 198. PageID #: 260540
                                                                             Review

      1    2011, were you responsible for anybody with, as you

      2    had said before, inside sales responsibilities?

      3           A.     No.

      4           Q.     And were you responsible at this time for

      5    anybody with any sales responsibilities as you think

      6    of it?

      7           A.     No.

      8           Q.     So with regard to the people that you

      9    managed and yourself around this time, you didn't

     10    have, as you think of it, any sales responsibilities?

     11           A.     No, I did not.

     12           Q.     And Mr. Boyer, he did have sales

     13    responsibilities, is that right?

     14           A.     The national -- to the best of my

     15    recollection, the national account managers reported

     16    into him or indirectly reported in to him.

     17           Q.     And then Ms. Callahan, did she have sales

     18    responsibilities?

     19           A.     No.

     20           Q.     Oh, and she worked for you, is that

     21    correct?

     22           A.     That's correct.

     23           Q.     All right.      So do you remember -- do you

     24    remember this particular e-mail that I've marked --

    Golkow Litigation Services                                             Page 34
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further35Confidentiality
                                                         of 198. PageID #: 260541
                                                                             Review

      1           A.     I do.

      2           Q.     -- as Exhibit 31?

      3                  Can you tell me what you remember about

      4    it?

      5           A.     I remember that -- I remember the

      6    communication with our DEA affairs and compliance team

      7    specifically regarding Top Rx.

      8           Q.     Okay.    And what was Top Rx?

      9           A.     To the best of my knowledge, Top Rx was a

     10    distributor.

     11           Q.     All right.      So do you remember ever

     12    meeting anyone from Top Rx in the course of your work?

     13           A.     I do not personally remember meeting

     14    somebody in person from Top Rx.

     15           Q.     Do you remember whether there was ever a

     16    meeting with anyone from Top Rx at the Corona site at

     17    Watson at any time?

     18           A.     At our Corona site?

     19           Q.     Yes.

     20           A.     I -- I couldn't remember that.

     21           Q.     All right.      Do you remember -- all right.

     22                  So in the e-mail that appears earlier in

     23    time, at the bottom of this first page of Exhibit 31,

     24    there is a name Lisa Scott.

    Golkow Litigation Services                                             Page 35
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further36Confidentiality
                                                         of 198. PageID #: 260542
                                                                             Review

      1                  Do you see that there?

      2           A.     Yes, I do.

      3           Q.     And who is Lisa Scott?

      4           A.     She worked on Tom Napoli's team as a

      5    security and compliance auditor.

      6           Q.     All right.      And so the Tom Napoli's team,

      7    is that the controlled substance compliance team that

      8    we were talking about before?

      9           A.     Yes, you are correct.

     10           Q.     So, going back up to the top of the page,

     11    you write to Mr. Boyer:

     12                  "Andy, I need to meet with you, and most

     13    likely, Allan and Tony at the same time, to discuss

     14    the results of the Top Rx investigation."

     15           A.     Uh-huh.

     16           Q.     "We can make some decisions during this

     17    call."

     18           A.     Um-hum.

     19           Q.     Who are Tony and Allan that you refer to

     20    in this?

     21           A.     Allan was the head of national sales and

     22    Tony was the representative that handled Top Rx to the

     23    best of my recollection.

     24           Q.     Do you remember their last names?

    Golkow Litigation Services                                             Page 36
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further37Confidentiality
                                                         of 198. PageID #: 260543
                                                                             Review

      1           A.     Tony Giannone, please don't ask me how to

      2    spell that.

      3           Q.     All right.

      4           A.     And Allan Slavsky.

      5           Q.     All right.      Do you remember whether around

      6    this time, October 2011, you had a meeting with Allan,

      7    Tony and Andy Boyer about Top Rx?

      8           A.     I'm -- I'm sure we would have.           I can't

      9    tell you the exact time or date, but if I would have

     10    written this to them, then we most likely would have

     11    had that call.

     12           Q.     So with regard to this issue, I think, as

     13    you have been describing it, it was a report from the

     14    controlled substance compliance team that was sent to

     15    you and you passed it on to Mr. Boyer and Allan and

     16    Tony, is that right?

     17           A.     Yes, that's our process.

     18           Q.     All right.      So can you describe the

     19    process that you are thinking of here, why that would

     20    have occurred --

     21           A.     Uh-huh.

     22           Q.     -- and what the circumstances was?

     23           A.     Yes.

     24                  If we were going to stop selling to a

    Golkow Litigation Services                                             Page 37
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further38Confidentiality
                                                         of 198. PageID #: 260544
                                                                             Review

      1    customer, we would notify the sales and marketing team

      2    in advance so that they would be alerted that a letter

      3    was going to go and that if they wanted to have

      4    participation to communicate to the customer we were

      5    stopping to sell to them or at least they would have

      6    knowledge of it.

      7           Q.     All right.      So as you think about the

      8    process that you're describing, when you talked to

      9    Mr. Boyer and people from his team, would anyone from

     10    the controlled substance compliance team be involved

     11    in those discussions?

     12           A.     Yes, they would.

     13           Q.     Okay.    As you think about this meeting

     14    that you're setting up in this e-mail, who from the

     15    controlled substance compliance team would have been

     16    in the meeting?

     17           A.     Either Lisa or Tom or both of them.

     18           Q.     And that's Lisa Scott and Tom Napoli?

     19           A.     Yes, that is correct.

     20           Q.     All right.      So, but you don't have a

     21    recollection with regard to any particular meeting

     22    about -- that related to this e-mail about whether

     23    Ms. Scott or Mr. Napoli were in the meeting?

     24           A.     I mean, I -- I don't see it documented,

    Golkow Litigation Services                                             Page 38
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further39Confidentiality
                                                         of 198. PageID #: 260545
                                                                             Review

      1    but they would have been in the meeting.

      2           Q.     All right.

      3           A.     I wouldn't have had the meeting without

      4    them unless they -- unless for some reason they

      5    couldn't have made it, but they were always

      6    participating in those calls.

      7           Q.     All right.      And you say at the bottom of

      8    that -- well, going on into the e-mail, I had read the

      9    first two sentences.

     10                  "All Rx" -- and that stands for

     11    prescription, is that right, or -- or "Rx orders,"

     12    what does that mean?

     13           A.     I -- it -- "All Rx orders are currently

     14    shipping," meaning but no controlleds, right, so that

     15    means products that are not controlleds.

     16           Q.     Okay.

     17                  "I briefly spoke with Tony this a.m., and

     18    told him I would have the details later today.                I

     19    believe you are all together, so if you can let me

     20    know when we can work out a meeting time, that would

     21    be great.     Not sure of you have an opportunity to be

     22    in a confidential area, but you will need one for this

     23    conversation.      The timing is somewhat critical since

     24    Top Rx continues to follow up on their control orders.

    Golkow Litigation Services                                               Page 39
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further40Confidentiality
                                                         of 198. PageID #: 260546
                                                                             Review

      1    I did reach out to Rita and Scott last night to let

      2    them know we would be trying to complete the review

      3    today.      Let me know what may work for you."

      4                   And then you say, "Thanks Andy" and "Best

      5    Regards" and then your e-mail signature.

      6                   So, with regard to this issue, what was

      7    your responsibility in the process of what's described

      8    here?

      9           A.      My responsibility would have just to have

     10    been set up the call and to communicate to the team

     11    and to coordinate the call with the compliance team.

     12           Q.      Okay.   So, and I guess where I'm asking

     13    is, you had the controlled substance compliance

     14    team --

     15           A.      Correct.

     16           Q.      -- and you have Mr. Boyer's team, the

     17    sales people, and then you have your group, and why

     18    would your group become involved in the process like

     19    this?

     20           A.      Because I am customer relations, right.

     21    So I'm the liaison between compliance and the

     22    customer.

     23           Q.      Okay.   So -- good.      Thank you.

     24                   The -- the -- the controlled substance

    Golkow Litigation Services                                             Page 40
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further41Confidentiality
                                                         of 198. PageID #: 260547
                                                                             Review

      1    compliance team itself would not communicate with the

      2    customers, is that fair to say?

      3           A.     Yes, they would.

      4           Q.     Okay.

      5           A.     But if it was to have something initial

      6    like this, then if there is orders that pended, the

      7    customer is going to call us first to say, Where is my

      8    order, right.      We would be the first line to say, We

      9    are still investigating.         And then when it comes to

     10    something that becomes an order of interest or

     11    suspect, we would get compliance involved.

     12           Q.     All right.

     13           A.     So we -- we were the liaison between the

     14    customer and compliance.

     15           Q.     Then who, if anyone, at Watson while you

     16    worked there was ultimately responsible for informing

     17    any customer that they were being cut off from

     18    controlled substance shipments?

     19           A.     Those were done in partnership calls and

     20    that would have been the compliance team and typically

     21    myself on the call and sometimes Andy would join on

     22    those calls as well to show that he was in alignment

     23    with the compliance team, he was always in alignment

     24    with the compliance team, and that we were a joint

    Golkow Litigation Services                                             Page 41
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further42Confidentiality
                                                         of 198. PageID #: 260548
                                                                             Review

      1    group to say this is it, this is our decision, don't

      2    come back to marketing to ask, because you are not

      3    getting it.      So it was a joint group.

      4           Q.     All right.      So do you remember whether

      5    ultimately Watson cut off Top Rx from controlled

      6    substance sales sometime after this memo was written?

      7           A.     Yes.

      8           Q.     All right.      Do you remember what

      9    subsequently occurred, if anything?

     10           A.     I remember that we stopped selling

     11    controlled substances to them, I remember there was a

     12    list of requirements that they would have had to

     13    comply with before we would start to sell them again.

     14           Q.     All right.      And looking at the Page 3 of

     15    Exhibit 31, there is a -- what's referred to as an

     16    investigation summary.

     17                  Do you see that there?

     18           A.     I do.

     19           Q.     Do you know who or which group would have

     20    been responsible for writing the investigation summary

     21    that appears there?

     22           A.     The controlled substance compliance team.

     23           Q.     All right.      All right.

     24                  All right.      You can set this document

    Golkow Litigation Services                                             Page 42
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further43Confidentiality
                                                         of 198. PageID #: 260549
                                                                             Review

      1    aside.      All right.    Now this is going to be a little

      2    complicated.

      3           A.      That's okay.

      4           Q.      All right.     So...

      5           A.      I'll follow it to the best of my ability.

      6           Q.      Right.

      7                       (WHEREUPON, a certain document was

      8                          marked Allergan - Woods Deposition

      9                          Exhibit No. 32, for identification,

     10                          as of 01/10/2019.)

     11    BY MR. EGLER:

     12           Q.      So I'm going to hand you what we'll mark

     13    as Exhibit 32.

     14                   And, Ms. Woods, I'm going to ask you

     15    first:      Have you ever used the program Microsoft One

     16    Note?

     17           A.      Yes.

     18           Q.      All right.     Now, do you use the program

     19    Microsoft One Note in the -- in your current work?

     20           A.      Yes.

     21           Q.      When did you start using it?

     22           A.      Approximately 2010.

     23           Q.      So have you ever printed out in long form

     24    one of the Microsoft note records that you have

    Golkow Litigation Services                                             Page 43
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further44Confidentiality
                                                         of 198. PageID #: 260550
                                                                             Review

      1    compiled as part of your work?

      2           A.     I can't say that I have.

      3           Q.     Okay.    And it's not common for people --

      4           A.     Maybe or maybe not.

      5           Q.     And it's not common for people to print

      6    out the Microsoft notes, is that your understanding?

      7           A.     I would say that's probably --

      8           Q.     Okay.

      9           A.     -- a good summation.

     10           Q.     And that's my understanding -- that's my

     11    understanding as well.

     12                  My understanding is that what I've handed

     13    you as Exhibit 32 is a printout of a Microsoft One

     14    Note note.

     15                  As you look at the format of the -- of the

     16    content inside this note, does it appear to you to

     17    be -- and you can take your time, but does it appear

     18    to you to be something that would have been the

     19    content that you would have put into a Microsoft note

     20    around this time, starting, as the first page says,

     21    June 22nd, 2010?

     22           A.     I'll need a minute to look through this.

     23           Q.     Absolutely.

     24           A.     It looks like One Note.

    Golkow Litigation Services                                             Page 44
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further45Confidentiality
                                                         of 198. PageID #: 260551
                                                                             Review

      1           Q.     All right.      So I want to get an

      2    understanding, and, again, with the understanding that

      3    you've said you don't regularly print these things

      4    out, but as you look at the first page of this

      5    Exhibit 32, if you had copied and pasted a e-mail or

      6    something into your One Note, is that how it would

      7    appear on your screen?

      8           A.     Yes.

      9           Q.     All right.      And as you go -- well, let me

     10    start over.

     11                  You said you started using this One Note

     12    system in 2010.       Can you describe to me how you used

     13    the One Note system at work, how you personally used

     14    it?

     15           A.     How I -- how I personally used One Note?

     16           Q.     Yes.

     17           A.     I'm not sure -- can you explain a little

     18    bit more?     I'm -- I'm not sure what you mean, how I

     19    used One Note.

     20           Q.     So my understanding of One Note is that

     21    you can take the content of e-mails or web pages or

     22    screen shots or anything else and put them one after

     23    the other into a note in the One Note system and so

     24    you can keep subject matter or whatever you want in

    Golkow Litigation Services                                             Page 45
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further46Confidentiality
                                                         of 198. PageID #: 260552
                                                                             Review

      1    one file.

      2                  Is that your understanding as well?

      3           A.     Yes.

      4           Q.     And as part of your work, would you take

      5    e-mails and web pages and -- and screen shots of

      6    things and put them into notes so as to keep them in

      7    subject matter groupings?

      8           A.     If I felt that it was important or

      9    relevant.

     10           Q.     All right.      And did you make it a -- a

     11    habit of -- did you make a habit of doing that as part

     12    of your work?

     13           A.     If it was related to maybe a project or a

     14    subject we were working on.

     15           Q.     Okay.    And as part of your work, were you

     16    trained to use the One Note system for that purpose?

     17           A.     I think it was a personal choice based on

     18    the person --

     19           Q.     Okay.

     20           A.     -- what tool you were going to use.

     21           Q.     All right.      So -- and, again, because --

     22    you know, we've looked at a couple of e-mails and

     23    attachments, and I think you've seen those before, and

     24    since my experience with using One Notes and -- and

    Golkow Litigation Services                                             Page 46
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further47Confidentiality
                                                         of 198. PageID #: 260553
                                                                             Review

      1    discussing them is limited, I -- I just want to make

      2    sure that I'm understanding why this document would

      3    appear the way it is and what you would have used it

      4    for.

      5                  So as you look at this particular

      6    document, can you describe to me what -- what it is?

      7           A.     I -- I don't know where this was retrieved

      8    out of One Note, so it's a little bit difficult for me

      9    to --

     10           Q.     I can represent to you that the -- this

     11    one, and I'm going to show you a couple other ones,

     12    were listed with you as a custodian on them, so...

     13           A.     I'm sure.

     14           Q.     And so I don't -- I don't have much more

     15    information --

     16           A.     Okay.

     17           Q.     -- than that, but they were produced as a

     18    file.

     19           A.     Okay.

     20           Q.     And, you know, I -- that's about all of

     21    the representation I can make to you.             And with the

     22    understanding that this is a little bit cumbersome and

     23    it doesn't look anything like the way you would

     24    approach it on a computer screen --

    Golkow Litigation Services                                             Page 47
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further48Confidentiality
                                                         of 198. PageID #: 260554
                                                                             Review

      1           A.     Right.

      2           Q.     -- I hope you can understand with me that

      3    this is the situation that we are in.

      4           A.     Yeah.

      5           Q.     That -- that this was produced to us as

      6    being from your files and -- and it appears to me, and

      7    I think it appears to you, as what a One Note file

      8    would appear as if it was printed out.

      9                  So the first page of this is called "SOMS

     10    update," the first page of this 32.

     11                  Can you turn to what's marked on the

     12    bottom as "Native file download Page 44."              It's Bates

     13    No. 5612.

     14           A.     5612.

     15           MS. LEVY:     What are the last four digits?

     16           THE WITNESS:     12.

     17           MR. EGLER:     5612.

     18    BY THE WITNESS:

     19           A.     I'm almost there.

     20                  Okay.    The one that's dated from 2012?

     21    BY MR. EGLER:

     22           Q.     Yes.

     23           A.     Okay.

     24           Q.     So in the course of using your One Note at

    Golkow Litigation Services                                             Page 48
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further49Confidentiality
                                                         of 198. PageID #: 260555
                                                                             Review

      1    your work, could you have copied and pasted an e-mail

      2    into the One Note system?

      3           A.     Yes.

      4           Q.     Does this appear to you what that might

      5    be?

      6           A.     Yes.

      7           Q.     All right.      And the -- the e-mail seems to

      8    be named "Re:      Hydrocodone supply issues - market

      9    demand."

     10                  Do you see that there?

     11           A.     Correct.

     12           Q.     So do you know -- do you have an

     13    understanding of what hydrocodone is?

     14           A.     Yes, I do.

     15           Q.     What is hydrocodone?

     16           A.     In this point in 2012 it was a C-III

     17    controlled substance.

     18           Q.     Uh-huh.     Do you know -- do you have a

     19    memory of what the brand name was for hydrocodone?

     20           A.     I don't know because this was -- I mean, I

     21    guess it depends on the strength and the -- the

     22    strength of the product, so different ones were

     23    different brand names.

     24           Q.     And the e-mail seems to come from a person

    Golkow Litigation Services                                             Page 49
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further50Confidentiality
                                                         of 198. PageID #: 260556
                                                                             Review

      1    named Toni M. Picone.

      2                  Do you see that?

      3           A.     Yes, I do.

      4           Q.     Who is Ms. Picone?

      5           A.     Her title is at the bottom of the page.

      6    So she was a senior marketing manager.

      7           Q.     All right.      And it goes to you and

      8    Napoleon D. Clark.

      9           A.     Correct.

     10           Q.     Who is Mr. Clark?

     11           A.     Napoleon also worked in marketing.

     12           Q.     All right.

     13                  And Ms. Picone writes to you and Mr. Clark

     14    and there are some cc's on there.

     15                  "Hello All, Please see answers to the

     16    below questions per our meeting today.             Amneal,

     17    Qualitest and Mallinckrodt are the suppliers that

     18    customers are telling us are the reasons for the

     19    supply shortages in the market.           Amneal has

     20    discontinued to select customers only, and

     21    Mallinckrodt sent letters that they have backlog and

     22    are trying to ramp up as a result of quota."

     23                  Do you see that there?

     24           A.     I do.

    Golkow Litigation Services                                             Page 50
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further51Confidentiality
                                                         of 198. PageID #: 260557
                                                                             Review

      1           Q.     So with regard to the three names that are

      2    listed there, Amneal, Qualitest and Mallinckrodt, do

      3    you recognize those names?

      4           A.     I do.

      5           Q.     Are those manufacturers of prescription

      6    drugs?

      7           A.     Yes, they are, to the best of my

      8    knowledge.

      9           Q.     All right.      And do you remember around

     10    this time whether Watson made generic hydrocodone?

     11           A.     Yes, I believe that would have been the

     12    case.

     13           Q.     All right.      So with regard to this issue,

     14    Ms. Picone is responding to an e-mail from you that

     15    appears on the following page, is that right?

     16           A.     I'll have to take a look for a minute.

     17           Q.     All right.      And it's Page 5613.

     18           A.     Okay.    I do see the e-mail.

     19           Q.     And you write to Ms. Picone and Mr. Clark:

     20                  "Hi Napoleon and Toni, I have a few

     21    marketing questions regarding the hydrocodone market

     22    demand which I am hoping you can assist with.               As you

     23    know, the increased order volume in many of the

     24    hydrocone" -- "hydrocodone SKUs has been significant

    Golkow Litigation Services                                             Page 51
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further52Confidentiality
                                                         of 198. PageID #: 260558
                                                                             Review

      1    over the past several weeks.           I am intending to use

      2    the information provided to discuss the market demand

      3    and market share with the DEA compliance team."

      4           A.     Uh-huh.

      5           Q.     Do you see that there?

      6           A.     I do.

      7           Q.     And then you ask a series of questions

      8    that follow in the e-mail.

      9                  As you think about this, was it common for

     10    you to ask the marketing team questions about market

     11    demand and market share for the generic opioid drugs

     12    that Watson made?

     13           A.     It was -- it -- it was critical that we

     14    ask the internal teams about market shortages, if you

     15    remember from the policy we reviewed yesterday --

     16           Q.     Uh-huh.

     17           A.     -- is one of the tools when we would see

     18    increases in orders come through.            This was my way of

     19    going to the team and asking them about what was going

     20    on in the market regarding the market shortages, which

     21    is what Toni responded to.

     22           Q.     And this e-mail that you write, the first

     23    e-mail, April 17th, 2012, it doesn't relate to any

     24    particular pended order, is that right, as far as you

    Golkow Litigation Services                                             Page 52
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further53Confidentiality
                                                         of 198. PageID #: 260559
                                                                             Review

      1    can tell?

      2           A.     Well, what it -- what it -- if you read in

      3    the e-mail, it says:

      4                  "As you know, the increased order volume

      5    in many hydrocodone SKUs has been significant over the

      6    past few weeks."

      7                  I had a concern which I reached out and

      8    asked them about.

      9           Q.     Uh-huh.

     10           A.     And I needed to understand what was going

     11    on in the industry.        Part of our process was to

     12    request information about shortages in the

     13    marketplace.

     14           Q.     So --

     15           A.     And as you can see, I copied the

     16    compliance team on the e-mail.

     17           Q.     Right.    So the cc's that you sent to are

     18    Lisa Scott, Tom Napoli, Sandra Simmons, who I think

     19    we've talked about today earlier?

     20           A.     Yes, you are correct.

     21           Q.     And then Scott Soltis, who I don't --

     22           A.     Which was Tom Napoli's boss.

     23           Q.     All right.

     24                  So -- and, again, you -- you ask about

    Golkow Litigation Services                                             Page 53
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further54Confidentiality
                                                         of 198. PageID #: 260560
                                                                             Review

      1    market-wide issues and you use the term "hydrocodone

      2    SKUs"?

      3           A.      SKUs.

      4           Q.      SKUs.   And it's --

      5           A.      Stock keeping units.

      6           Q.      All right.     And that's S-K-U-s?

      7           A.      Correct.

      8           Q.      And so with regard to that term

      9    "hydrocodone SKUs," as you think of it, we had talked

     10    yesterday about a -- is it a DEA number for a drug or

     11    a --

     12           A.      NDC number.

     13           Q.      NDC number?

     14           A.      Correct.

     15           Q.      Is there a difference between a NDC number

     16    and a SKU?

     17           A.      They are relatable.

     18           Q.      Okay.   Would -- as you think of it, any

     19    ent -- any drug that had a -- let me start over.

     20                   Anything that had an NDC number, would it

     21    have a different SKU than other similar drugs made by

     22    different manufacturers?

     23           A.      So we'll relate to what I said yesterday,

     24    right?      So each -- each product has its own NDC

    Golkow Litigation Services                                             Page 54
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further55Confidentiality
                                                         of 198. PageID #: 260561
                                                                             Review

      1    number.     So one SKU would equal one NDC number.

      2           Q.     All right.      So with regard to this, you're

      3    trying to find out about the various hydrocodone SKUs

      4    presenting a market demand in the supply chain.

      5                  Do you see that there?

      6           A.     I do.

      7           Q.     And as I think you said, this related to,

      8    as you say, the market demand and increased order

      9    volume in hydrocodone that you had seen around this

     10    time?

     11           A.     That's correct.

     12           Q.     So with regard to the -- the market demand

     13    and the response that you received from Ms. Picone,

     14    about how often as you think about it did you in

     15    the -- in your group seek this type of market wide

     16    data from the sales team in making decisions with

     17    regard to pended order on the suspicious order

     18    monitoring system?

     19           A.     We would reach out any time to them or any

     20    other internal sources or use any other tools that we

     21    needed to make a decision as often as necessary.

     22           Q.     So with regard to the market wide

     23    consideration of hydrocodone SKUs, was it a regular

     24    practice or policy of your group to understand the

    Golkow Litigation Services                                             Page 55
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further56Confidentiality
                                                         of 198. PageID #: 260562
                                                                             Review

      1    market wide demand for the SKUs when -- when looking

      2    at pended orders in the suspicious order monitoring

      3    system?

      4           A.     It was our practice to understand if there

      5    was a shortage in the market which would create an

      6    increase for Watson.

      7           Q.     All right.      Beyond the -- beyond a

      8    situation where there is a shortage in the market, was

      9    it ever the policy of the -- of your group at Watson

     10    to examine the market-wide or geographic area-wide

     11    demand for a particular controlled substance SKUs when

     12    considering a -- a order that had pended on the

     13    suspicious order monitoring system?

     14           A.     Well, we are not marketing, we are not --

     15    typically we are not investigating every single SKU in

     16    the -- and the marketing background of a SKU.               We are

     17    interested in changes in size, frequency and pattern,

     18    so...

     19           Q.     As you -- so we had talked about Amneal

     20    and Qualitest and Mallinckrodt.

     21                  Do you know whether each of those

     22    companies made brand name or generic versions of the

     23    hydrocodone?

     24           A.     I didn't investigate other companies,

    Golkow Litigation Services                                             Page 56
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further57Confidentiality
                                                         of 198. PageID #: 260563
                                                                             Review

      1    quite honestly.

      2           Q.     Okay.    But as you sit here, just with your

      3    general knowledge of the -- of the industry, was

      4    Mallinckrodt, as you think of it, a brand name

      5    producer of hydrocodone?

      6           A.     I believe that's the case.

      7           Q.     Okay.    How about Amneal?

      8           A.     I can't recall if Amneal made brand

      9    products or not at that time or now.

     10           Q.     Okay.    How about Qualitest?

     11           A.     I did not recall Qualitest being a brand

     12    company.

     13           Q.     Okay.    So with regard to the market-wide

     14    intelligence that you're reaching out to the marketing

     15    team for on these issues relating to hydrocodone and

     16    the shortage, can you think of any particular time

     17    where you or your group reached out to the marketing

     18    team to find market-wide intelligence on -- on demand

     19    for other opioids even where there wasn't a shortage?

     20           A.     I can't recall off the top of my head --

     21           Q.     Okay.

     22           A.     -- if we did or didn't.

     23           Q.     And when you asked for this information in

     24    April of 2012, you asked for it on April 17th, 2012,

    Golkow Litigation Services                                             Page 57
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further58Confidentiality
                                                         of 198. PageID #: 260564
                                                                             Review

      1    and the response from Ms. Picone came April 26th.

      2                  Do you see that there?

      3           A.     I do.

      4           Q.     Do you remember this particular e-mail?

      5           A.     Well, I'm -- as I'm reading it today,

      6    probably because it refreshes my memory.

      7           Q.     Okay.    Do you remember what, if anything,

      8    you did with the information that Ms. Picone sent to

      9    you?

     10           A.     I -- I don't, but it's information that we

     11    would have obviously used.          I -- I don't remember

     12    exactly.

     13           Q.     So as you think of the market-wide data

     14    that Ms. Picone sent to you -- well, let me start

     15    over.

     16                  As you think about the hydrocodone

     17    market-wide data that Ms. Picone sent to you, was

     18    there any formal -- formal process by which the -- the

     19    group that you headed up at Watson would rec --

     20    receive or expect to receive market-wide information

     21    about controlled substances, and particularly opioid

     22    controlled substances to inform decisions about the

     23    suspicious order monitoring system?

     24           MS. LEVY:     Object to the form.

    Golkow Litigation Services                                             Page 58
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further59Confidentiality
                                                         of 198. PageID #: 260565
                                                                             Review

      1                  You can answer.

      2    BY THE WITNESS:

      3           A.     Yeah, I'm -- I'm -- I'm sorry, I don't

      4    understand it.

      5    BY MR. EGLER:

      6           Q.     So, like yesterday we were talking about

      7    the suspicious order monitoring system and the -- what

      8    causes things to pend on the suspicious order

      9    monitoring system.        And I think we had talked about

     10    how the -- the data that the suspicious order

     11    monitoring system used related to orders and prior

     12    orders of a particular NDC code that was produced by

     13    Watson, is that right?

     14           A.     (Nodding head.)

     15           Q.     I -- I have to -- you have to say --

     16           A.     I think I'm trying --

     17           Q.     -- yes or no.

     18           A.     I'm trying to follow you and I'm not

     19    following you so well.

     20           Q.     So --

     21           A.     So...

     22           Q.     Well, let me ask it again -- or let me say

     23    this again.

     24                  So yesterday we were talking about the

    Golkow Litigation Services                                             Page 59
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further60Confidentiality
                                                         of 198. PageID #: 260566
                                                                             Review

      1    suspicious order monitoring system?

      2           A.     Correct.

      3           Q.     And the various policies, right?

      4           A.     Correct.

      5           Q.     And at some point we had been talking

      6    about the data that went into the suspicious order

      7    monitoring system as an input, right?             And my

      8    understanding is that the data that would go into the

      9    suspicious order monitoring system at Watson and

     10    Actavis Inc. related to prior orders by customers of

     11    Watson or Actavis, Inc. drugs, is that right?

     12           A.     Yes, that's correct.

     13           Q.     And it didn't include, say, for generics,

     14    market-wide orders of -- of controlled substances, is

     15    that right?

     16           A.     When you say "market-wide," what do you

     17    mean by market-wide orders?

     18           Q.     Well, let's take for an example, again,

     19    hypothetically, as we were talking about yesterday,

     20    oxycodone, right, and if there was a -- and we had

     21    talked about yesterday oxycodone and, say, a

     22    20-milligram pill of oxycodone and I think you had

     23    said yesterday the -- the Watson -- if Watson made

     24    such a pill, it would have a particular NDC code and

    Golkow Litigation Services                                             Page 60
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further61Confidentiality
                                                         of 198. PageID #: 260567
                                                                             Review

      1    if another company made similar generic, it would have

      2    a separate NDC code, is that right?

      3           A.     That is correct.

      4           Q.     So with regard to the Watson and then

      5    Actavis, Inc. suspicious order monitoring systems, the

      6    system would track the Watson or the Actavis NDC code

      7    but not any other similar NDC code, is that right?

      8           A.     That is correct.

      9           Q.     So --

     10           A.     Yes, there was no interoperable system

     11    tracking -- all of -- all manufacturers' data in one

     12    system is what I stated, that is correct.

     13           Q.     And what I had asked you earlier, a few

     14    minutes ago, is with regard to the Watson and Actavis

     15    suspicious order monitoring system, was there a formal

     16    process by which the -- by which your group would seek

     17    or expect to receive market-wide data for similar NDC

     18    codes to inform the suspicious order monitoring

     19    system?

     20           A.     We used the tools that are outlined in the

     21    policy, right, which we went through yesterday.

     22           Q.     So is the answer yes --

     23           A.     I -- I --

     24           Q.     -- yes or no?

    Golkow Litigation Services                                             Page 61
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further62Confidentiality
                                                         of 198. PageID #: 260568
                                                                             Review

      1           A.     I don't --

      2           Q.     Okay.

      3           A.     -- it's not market-wide data, right?

      4           Q.     Uh-huh.

      5           A.     It's -- it's the data that is available

      6    for all of us to use, which is 867 data, 852 data.                 We

      7    went through this yesterday.           The compliance team used

      8    chargeback data.       So the data that is available is,

      9    you know, what our teams used.

     10           Q.     And the -- the 852 and 867 data that you

     11    are talking about and the chargeback data would

     12    contain the information about the Watson or Actavis,

     13    Inc. NDC codes, is that right?

     14           A.     Yes, our product -- because it --

     15    because -- to the best of my knowledge there was no

     16    interoperable system with all other manufacturers'

     17    data, because that would be confidential, that we

     18    could use.      And there was no DEA system that allowed

     19    us to see everybody else's data at the time.               We used

     20    the tools we have available to us.

     21           Q.     And there was no -- but in that -- the

     22    e-mail that we are looking at here on Page 613 -- 612

     23    and 613 of Exhibit 32, you are reaching out to the

     24    marketing group for data about the similar hydrocodone

    Golkow Litigation Services                                             Page 62
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further63Confidentiality
                                                         of 198. PageID #: 260569
                                                                             Review

      1    SKUs that would be the similar NDC codes, is that

      2    right?

      3           A.     Which they got from customers telling

      4    them.

      5           Q.     Right.    But generally with regard to

      6    informing the decisions of the suspicious order

      7    monitoring system at Watson and Actavis Inc., it was

      8    not the practice to seek out that type of data on an

      9    ongoing or regular basis, is that right?

     10           A.     We didn't reach out to marketing unless we

     11    had a need to reach out to marketing because something

     12    was identified as an order of interest.              If it was an

     13    order of interest, we would reach out.

     14           Q.     And it wasn't the expectation of your

     15    group at Watson or Actavis Inc. that the marketing

     16    people would supply the type of parallel SKU

     17    information on a regular basis that you are seeking in

     18    this e-mail on Page 613, is that right?

     19           A.     That's correct, we did not reach out to

     20    marketing unless we had a reason to.

     21           Q.     All right.

     22                  Can you move ahead into this document

     23    on -- just two pages -- Allergan_MDL_03835617.                And

     24    this is another of the variety of issues that I wanted

    Golkow Litigation Services                                             Page 63
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further64Confidentiality
                                                         of 198. PageID #: 260570
                                                                             Review

      1    to discuss with you about the format and generally

      2    looking at a -- this Microsoft One Note.

      3                  When -- when you look at this page that's

      4    35617, starting at the top there, it says:              "Meeting

      5    1/18/2013."

      6                  Can you identify what this is?           And...

      7           A.     It appears to -- it appears to be meeting

      8    notes from January 18th of 2013.

      9           Q.     Okay.    And do you know who would have

     10    written the notes that appear here on this Page 617?

     11           A.     I have to make an assumption that if you

     12    got it from my One Note it would have been my meeting

     13    notes.

     14           Q.     All right.      So there is a -- the first

     15    statement there that appears on Page 5617 below the

     16    Meeting 1/18/2013 states:

     17                  "As discussed prior to the holidays, I

     18    would like to provide a brief update on what Actavis

     19    has done with respect to monitoring data of controlled

     20    products down to a pharmacy level."

     21                  And then it says:        "I would like to

     22    highlight some discussions that were underway with

     23    customers at the time of the acquisition to ensure

     24    these are not overlooked as we move forward."

    Golkow Litigation Services                                             Page 64
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further65Confidentiality
                                                         of 198. PageID #: 260571
                                                                             Review

      1                  And then:     "Additional follow-up is needed

      2    to address concerns that we had identified following

      3    our review of sales data, and I want to ensure this

      4    gets the proper attention it needs."

      5                  So, do you recognize that as your words?

      6           A.     No.    Now that you are reading that, I

      7    would think -- let me -- let me read a little bit

      8    further, please.

      9           Q.     Okay.    Yeah, absolutely.

     10           A.     There is no name on this, but this appears

     11    to be somebody from the Actavis team that would

     12    have -- Actavis Inc. team that would have forwarded

     13    this to us at the time that we were entering the

     14    acquisition, because of the date on here, because this

     15    is a summary of the Actavis Inc. system.

     16           Q.     All right.      So this might be part of an

     17    e-mail that you copied in but --

     18           A.     Yes, correct.

     19           Q.     But it doesn't have the -- the to and from

     20    and date?

     21           A.     It does not.

     22           Q.     So these words that appear on the 5617

     23    page, you don't recognize these as your words?

     24           A.     No, they are not, and it specifically

    Golkow Litigation Services                                             Page 65
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further66Confidentiality
                                                         of 198. PageID #: 260572
                                                                             Review

      1    states on that note I have added my Actavis

      2    colleagues, so it had to have come from somebody from

      3    Actavis Inc.

      4           Q.     All right.      Good.

      5                  So in the second paragraph there, the

      6    person -- the author writes:

      7                  "I was going to include DNAs for some of

      8    the accounts involved in some current discussions, but

      9    thought we may want to start off with some high-level

     10    planning discussions and drill down into the details

     11    as a second step."

     12                  As you think about your work, does that

     13    term "DNAs" have a meaning to you in the context of

     14    this document?

     15           A.     You know, I don't want to put words into

     16    the person's mouth that wrote this.

     17           Q.     Right.

     18           A.     I know a DNA as director of national

     19    accounts.     That's the only term I know it as.

     20           Q.     Okay.

     21                  Do you remember having a meeting with

     22    directors of national accounts from Actavis around

     23    this timeframe, January 2013?

     24           A.     I don't even know who all of the directors

    Golkow Litigation Services                                             Page 66
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further67Confidentiality
                                                         of 198. PageID #: 260573
                                                                             Review

      1    of national accounts at Actavis were.

      2           Q.     All right.

      3                  All right.      You can set this document

      4    aside.

      5           MR. EGLER:     And why don't we take a break.

      6           THE VIDEOGRAPHER:       The time is approximately

      7    10:32 a.m. and we are going off the record.

      8                       (WHEREUPON, a recess was had

      9                         from 10:32 to 10:48 a.m.)

     10           THE VIDEOGRAPHER:       We are back on the record.

     11    The time is approximately 10:48 a.m.

     12    BY MR. EGLER:

     13           Q.     All right.      Ms. Woods, thanks for coming

     14    back.

     15                  I -- I -- I'm going to show you the next

     16    exhibit, and we'll mark it as Exhibit 33.

     17                       (WHEREUPON, a certain document was

     18                         marked Allergan - Woods Deposition

     19                         Exhibit No. 33, for identification,

     20                         as of 01/10/2019.)

     21    BY MR. EGLER:

     22           Q.     And just so you know, my practice is to go

     23    in time, because I think it is easier to understand

     24    things, but because of the nature of the last

    Golkow Litigation Services                                             Page 67
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further68Confidentiality
                                                         of 198. PageID #: 260574
                                                                             Review

      1    exhibit was multiple years in one document, we are

      2    going to jump around a little bit.

      3           A.     Okay.

      4           Q.     All right, so...

      5                  So Exhibit 33, can you look through it and

      6    as you are looking through it, I'll read on the

      7    record, it's Allergan_MDL_02187056 through 87091.                And

      8    I'm going to note that in the middle of this document

      9    on 87072 and up through 080 there are a number of

     10    pages that say "produced as native."

     11           A.     Oh, that are blank, they are blank ones?

     12           Q.     They are blank and they are produced as

     13    natives.

     14           A.     Okay.

     15           Q.     My understanding is that they are Excel

     16    spreadsheets.      I don't know what they say and I'm not

     17    going to ask you any questions about them, but it is a

     18    production issue and it is not anything that relates

     19    to the document itself.

     20           A.     Okay.

     21           Q.     So, but that being said, when you are

     22    ready, can you tell me what this document appears to

     23    you to be?

     24           A.     It appears to be a 2012 budget proposal.

    Golkow Litigation Services                                             Page 68
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further69Confidentiality
                                                         of 198. PageID #: 260575
                                                                             Review

      1           Q.     All right.      So in -- in the first page is

      2    an e-mail from you to Mr. Boyer, is that right?

      3           A.     That's correct.

      4           Q.     And was it part of your job at Watson to

      5    send something like this, a 2012 budget proposal, to

      6    Mr. Boyer?

      7           A.     Yes.

      8           Q.     Okay.    And do you know what, if anything,

      9    Mr. Boyer's responsibility was with regard to the

     10    annual budget of the customer rela -- relations group

     11    that you headed up at Watson?

     12           A.     I reported to Andy Boyer.

     13           Q.     All right.      So is it fair to say, then,

     14    that Mr. Boyer was in charge of the -- assigning a

     15    budget to the customer relations operations group at

     16    Watson?

     17           A.     He was responsible to get it approved.

     18           Q.     I'm sorry.      He was responsible to get

     19    it --

     20           A.     Get my budget approved --

     21           Q.     Okay.

     22           A.     -- for my headcount.

     23           Q.     And who would approve your budget?

     24           A.     I believe our executive board.

    Golkow Litigation Services                                             Page 69
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further70Confidentiality
                                                         of 198. PageID #: 260576
                                                                             Review

      1           Q.     Do you remember the names of any members

      2    of the executive board around this time, end of

      3    2001 -- or I'm sorry -- end of 2011?

      4           A.     I believe in this period of time it would

      5    have been Robert Stewart and Paul Bisaro, if I'm not

      6    mistaken.

      7           Q.     Mr. Bisaro, do you remember what his title

      8    was or generally what his responsibilities were at

      9    Watson?

     10           A.     I believe he was our CEO and president at

     11    the time.

     12           Q.     All right.      And Mr. Stewart, do you

     13    remember what his responsibilities or title were?

     14           A.     I believe he would have been our COO.             I

     15    don't have any charts in front of me, so I'm not

     16    100 percent correct on this.

     17           Q.     Can you think of anybody else who might

     18    have been on the executive board at Watson around this

     19    time?

     20           A.     Siggi Olafsson may have been on our board

     21    at that time, Andy may have reported into him at that

     22    time.    I'm just not sure of that other time period

     23    right now, if that's the case.

     24           Q.     Who is Mr. -- is it Mr. Olafsson?

    Golkow Litigation Services                                             Page 70
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further71Confidentiality
                                                         of 198. PageID #: 260577
                                                                             Review

      1           A.     Olafsson.

      2                  He would have been -- let's see.            What's

      3    the date on this?

      4           Q.     It is the end of 2011.

      5           A.     Oh, November 11th.        No, I don't think he

      6    was at the time.       I take that back.        I -- it would

      7    have probably been after -- well, I don't know.                I

      8    think he was.      He would have probably been responsible

      9    for either global or US sales and marketing.               I'm not

     10    sure.    Probably global sales and marketing at the

     11    time.

     12           Q.     So, can you turn -- oh, so when you look

     13    at the second page going forward into this document,

     14    it's marked as Exhibit 33, do you, independent of the

     15    exhibit that I handed you, have a memory of submitting

     16    a proposed budget to Mr. Boyer at the end of 2011?

     17           A.     At the end of -- do I remember doing this,

     18    is that the question?

     19           Q.     Yes.    That's a much easier question to

     20    ask.

     21           A.     Well, I was required to do it every year,

     22    so...

     23           Q.     All right.      But sitting here today, you

     24    don't have a particular memory of this particular

    Golkow Litigation Services                                             Page 71
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further72Confidentiality
                                                         of 198. PageID #: 260578
                                                                             Review

      1    budget proposal?

      2           A.     Probably not from 2011.

      3           Q.     Right.    So can you turn into Page 7066

      4    into this Exhibit 33.

      5                  And at the top of the page there, 066, it

      6    states:

      7                  "2011, YTD," and in parentheses the

      8    word "(August)" and then "productivity statistics."

      9                  Do you remember productivity statistics

     10    like this being collected and maintained in your group

     11    as part of its work at Watson around this time, end of

     12    2011?

     13           A.     Yes, that is correct.

     14           Q.     All right.      I'd like to go through the

     15    charts that appear below on this Page 066 and go

     16    through them with you and have you explain them to me,

     17    not all of them, but just some of them.

     18                  So, first of all, why would you present

     19    this as part of your budget to Mr. Boyer?

     20           A.     Well, we provided them not just in the

     21    budget but we provided them probably quarterly as

     22    well, just as part of our job responsibility.

     23           Q.     So the first header there is "Customer

     24    Relations - Key Performance Indicator."

    Golkow Litigation Services                                             Page 72
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further73Confidentiality
                                                         of 198. PageID #: 260579
                                                                             Review

      1                  Do you see that there?

      2           A.     I do.

      3           Q.     And then the second one is "Transactional

      4    Statistics - Customer Relations and Support Services"?

      5           A.     Correct.

      6           Q.     So, and inside that second one is "Master

      7    Data Statistics" and "(monthly average per MDA)"?

      8           A.     Correct.

      9           Q.     What does the term "MDA" in there mean?

     10           A.     I believe at the time it was master data

     11    administrator.

     12           Q.     And below there it states:

     13                  "Customer/license master record

     14    review/administration" and then "SOMS Validations" and

     15    then "CARS record review/administration."

     16                  Can you tell me in the context of this

     17    document what those three terms mean and what the

     18    statistics that appear on the further right-hand

     19    columns mean?

     20           A.     So, I'll do this to the best of my

     21    recollection because this is obviously a long time

     22    ago.

     23           Q.     Right.

     24           A.     Customer/license master record review and

    Golkow Litigation Services                                             Page 73
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further74Confidentiality
                                                         of 198. PageID #: 260580
                                                                             Review

      1    administration, any time we had to change a license, a

      2    customer license, update it, change it or create it,

      3    or any part of a customer master record, such as name,

      4    address, street number, postal code, anything like

      5    that, that is a record change, and this would indicate

      6    that in the year of -- you know, in each year what per

      7    each person the average amount that they were changing

      8    monthly per person.

      9                   And the same thing on SOMS validations,

     10    how many each person was identifying or how many each

     11    valid -- how many validations each person on the team

     12    was addressing each and every month.

     13                   And the same thing, CARS was contract --

     14    the contract system, and if there were updates that

     15    had to be addressed for each contract customer, same

     16    thing.      Maybe it was, like, a HIN number or a license

     17    number or something like that for a contract customer.

     18                   Master record, they would have to go in

     19    and do those as well, and that was the amount of

     20    records they had to update in that system each month.

     21           Q.      Okay.   So you used the term "HIN numbers,"

     22    is that HIN?

     23           A.      Health identification number.

     24           Q.      All right.     So, and the -- the middle one

    Golkow Litigation Services                                             Page 74
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further75Confidentiality
                                                         of 198. PageID #: 260581
                                                                             Review

      1    there, it says "SOMS validations"?

      2           A.     Correct.

      3           Q.     What does the term "SOMS validation" mean?

      4           A.     That would -- that would be the SOMS pend

      5    and investigation.

      6           Q.     So with regard to the numbers that appear

      7    on the right, in 2010 there was an -- for each person

      8    and the relevant person in the group, they performed

      9    167 SOMS validations per month, is that right?

     10           A.     Per each person.

     11           Q.     Right.    And then each person performed an

     12    average of 280 SOMS validations per month in year to

     13    date August 2011, is that right?

     14           A.     That is correct.

     15           Q.     All right.      And then it says there is a

     16    67.7 percent increase?

     17           A.     Per person.

     18           Q.     Per person.

     19                  Do you remember being surprised that there

     20    is a 67 percent -- 67.7 percent increase in SOMS

     21    validations at Watson in 2010 to year to date

     22    August 2011?

     23           A.     I couldn't tell you at this time if I

     24    thought that at that time.

    Golkow Litigation Services                                             Page 75
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further76Confidentiality
                                                         of 198. PageID #: 260582
                                                                             Review

      1           Q.     Do you remember ever having a discussion

      2    that the average number of SOMS validations per month

      3    per employee had increased by two-thirds between

      4    August -- or between 2010 and August 2011?

      5           A.     We evaluated it every month and would

      6    analyze the situation.

      7           Q.     But do you remember in particular ever

      8    commenting or hear anybody else commenting that the

      9    average number of SOMS validations per month per

     10    person had increased substantially?

     11           A.     Yes.

     12           Q.     Okay.    Do you remember any particular

     13    conversations about that?

     14           A.     To the back of my -- best of my

     15    recollection, myself and Sandra Simmons would meet up

     16    with Tom and we would have a discussion about it.

     17           Q.     Do you remember whether there was any plan

     18    of action or -- or plan to address the increased

     19    number of monthly average per person SOMS validations?

     20           A.     There could have been.         We could have

     21    talked to Tom, we could have evaluated what the cause

     22    was and then determine if anything needed to be or

     23    could have been based on how the system was set up.

     24           Q.     Do you remember whether there actually

    Golkow Litigation Services                                             Page 76
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further77Confidentiality
                                                         of 198. PageID #: 260583
                                                                             Review

      1    were any conversations like that?

      2           A.     Yes, there were.

      3           Q.     So can you tell me about them?

      4           A.     I don't remember the exact conversations.

      5    I do remember they took place.

      6           Q.     Okay.    And who was in the conversations?

      7           A.     It would have been myself and Sandra

      8    Simmons and Tom Napoli, to the best of -- to the best

      9    of my knowledge.       There could have been other people.

     10           Q.     And do you remember what the result of the

     11    conversations were?

     12           A.     I don't recall exactly what the change was

     13    in it, but I do know there were some changes that he

     14    felt were very low risk.

     15           Q.     Can you describe generally what the

     16    changes were and were there more people hired or

     17    something else?

     18           A.     I can't recall right off the top of my

     19    head.

     20           Q.     All right.      And you are looking through it

     21    and the -- I was going to ask you to do that next, if

     22    there is a headcount --

     23           A.     That's what I was looking for.

     24           Q.     All right.

    Golkow Litigation Services                                             Page 77
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further78Confidentiality
                                                         of 198. PageID #: 260584
                                                                             Review

      1                  If there is a headcount increase or some

      2    other proposal inside the budget to address that

      3    issue.

      4           A.     I don't see that addressed in here.

      5           Q.     And the -- the SOMS validations or the --

      6    the group that performs the SOMS validations is not

      7    broken out as a separate budget item in this document,

      8    is that right?

      9           A.     No, it is not.

     10           Q.     And as you look at the subsequent pages

     11    here, for example, the Page 070, there are various

     12    organizational charts.

     13                  Do you see that?

     14           A.     I do.

     15           Q.     And the -- the one on Page 7070 has on the

     16    right-hand side Sandra Simmons.

     17                  Do you see that there?

     18           A.     I do.

     19           Q.     And underneath there are various names.

     20                  Is there one person who would be most

     21    responsible for the SOMS validations in that group?

     22           A.     It would have been the three people on the

     23    right-hand side, Vicky Lepore, Mary Moskello and Larry

     24    Shaffer.

    Golkow Litigation Services                                             Page 78
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further79Confidentiality
                                                         of 198. PageID #: 260585
                                                                             Review

      1           Q.     Is there anything else as you read this

      2    070 page who would have been a responsible for the

      3    SOMS validations?

      4           A.     Sandra Simmons would have had the ability

      5    to also participate in there.

      6           Q.     All right.      So when you -- you go up to

      7    the preceding page, the 069, and it is just like a --

      8    above here, and there is a "High Level Org Chart,"

      9    that's what it's titled, "Customers Relations

     10    Operations," quote, "High Level Org Chart," it says

     11    Sandra Simmons on the right-hand side.

     12                  Does that describe the number of people

     13    who were handling the SOMS validations?

     14           A.     It's -- it's encompassed under her team as

     15    well.

     16           Q.     All right.      So it says there, "three

     17    master data administrators" and "three order

     18    processing administrators"?

     19           A.     Correct.

     20           Q.     Would there be other people in the

     21    customer relations operations who would have worked

     22    with the SOMS validations?

     23           A.     Not that I can recall.

     24           Q.     Okay.    And would it have been the three

    Golkow Litigation Services                                             Page 79
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further80Confidentiality
                                                         of 198. PageID #: 260586
                                                                             Review

      1    master data administrators as well as the three order

      2    processing administrators or just one of those two?

      3           A.     I only recollect that the master data

      4    administrators had the ability to do that.

      5           Q.     All right.      So out of all of the people

      6    who are mentioned in the 060 -- or 069 and 070 charts

      7    as you think about it, the people most responsible for

      8    the SOMS validations would have been the three master

      9    data administrators who were listed in the 069 chart,

     10    is that fair to say?

     11           A.     Yes, at this point in time that's my

     12    recollection.

     13           Q.     All right.

     14                  And is there anything on that chart or

     15    anyone else anywhere else in this document that you

     16    recognize as -- as a request to increase that number

     17    of master data administrators?

     18           A.     Not to the best of my knowledge.

     19           Q.     All right.

     20                  And as you go further into this document,

     21    starting on Page 081 and through the end of the

     22    document, there are various other or -- organizational

     23    charts.

     24                  And can you -- as you look at them today,

    Golkow Litigation Services                                             Page 80
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further81Confidentiality
                                                         of 198. PageID #: 260587
                                                                             Review

      1    do you have a memory of who would have prepared these

      2    charts?

      3           A.     I don't even know what time period these

      4    would have been from.

      5           Q.     Okay.    So if you turn to Page 084 there is

      6    a notation there.       It states:      "Sandra Simmons,

      7    Manager - Support Services, Morristown"?

      8           A.     Correct.

      9           Q.     And it says -- below her there is a

     10    statement that says, "Open Position, OP Supervisor"

     11    and then JoAnne Wo- --

     12           A.     Wobeser.

     13           Q.     Wobeser, W-o-b-e-s-e-r.         And it says:

     14    "Department Coordinator Morristown."             And then next to

     15    that it says:      "Victoria Lepore, Customer Master

     16    Administrator, Morristown" and then "Jeanette

     17    Huebner"?

     18           A.     Huebner.

     19           Q.     Huebner.     And it is "Customer Master

     20    Administrator, Morristown," and then "Mary Moskello,"

     21    M-o-s-k-e-l-l-o, "Licensing Administrator,

     22    Morristown," and "Larry Shaffer, Licensing

     23    Administrator, Morristown."

     24                  Now, as you read this organizational

    Golkow Litigation Services                                             Page 81
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further82Confidentiality
                                                         of 198. PageID #: 260588
                                                                             Review

      1    chart, does it relate to the three people who are

      2    mentioned in the 069 page as the three data

      3    administrators?

      4           A.     Vicky Lepore, Mary and Larry I would be --

      5    believe would be.       That would be correct, Larry, Mary,

      6    and Vicky are the three same people.             And Sandra

      7    Simmons.

      8           Q.     And then the 069 chart states the three

      9    order processing administrators.

     10                  Are those the other three people there,

     11    the open position, Ms. Wobeser and Ms. Huebner?

     12           A.     This -- this chart on 084 appears to be

     13    completely irrelevant to this period of time.

     14           Q.     Oh.

     15           A.     I don't know where this is from.

     16           Q.     All right.      I'm sorry.

     17           A.     No, that's okay.

     18           Q.     I -- I'll tell you just from our -- our

     19    processes, this was produced as a -- what's referred

     20    to as a family, so I just printed out the whole thing

     21    because I thought it was a bulk unit.

     22           A.     Yeah, this is completely a different

     23    period of time.       I --

     24           Q.     Okay.

    Golkow Litigation Services                                             Page 82
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further83Confidentiality
                                                         of 198. PageID #: 260589
                                                                             Review

      1           A.      -- I don't know when this is from.

      2           Q.      Well, then that's fine.

      3           A.      That's okay.

      4           Q.      So then set it a -- set it aside.           All

      5    right.      And I think that's all we have for this

      6    document.

      7                   All right.     And I'll hand you what we'll

      8    mark as Exhibit 34.

      9                       (WHEREUPON, a certain document was

     10                         marked Allergan - Woods Deposition

     11                         Exhibit No. 34, for identification,

     12                         as of 01/10/2019.)

     13    BY MR. EGLER:

     14           Q.      Ms. Woods, can you look at what I've

     15    marked as Exhibit 34, and as you are looking at it,

     16    I'll read into the record, it's noted as Bates numbers

     17    Allergan_MDL_02187194 through 87195.

     18                   And when you are ready, can you tell me

     19    what this appears to you to be?

     20           A.      This is an e-mail from DEA compliance to

     21    Andy Boyer and Scott Soltis regarding Capital

     22    Wholesale.

     23           Q.      Okay.   And the date on this is

     24    December 13th, 2012, is that right?

    Golkow Litigation Services                                              Page 83
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further84Confidentiality
                                                         of 198. PageID #: 260590
                                                                             Review

      1           A.     That is correct.

      2           Q.     So do you have a memory independent of

      3    this document of a investigation of an entity called

      4    Capital Wholesale?

      5           A.     I do.

      6           Q.     What do you remember about that?

      7           A.     I remember that we discontinued the sales

      8    of controlled substances to Capital Wholesale.

      9           Q.     Do you remember ever sitting down in a

     10    meeting discussing that with other people at Watson?

     11           A.     I do.

     12           Q.     All right.      And this is right -- excuse

     13    me -- around the time of the Watson/Actavis merger, is

     14    that right?

     15           A.     Yes.

     16           Q.     All right.      Do you remember whether as

     17    part of this process the people -- anyone from Actavis

     18    was involved in the decision to cut off Capital

     19    Wholesale?

     20           A.     I do not.     I would -- I -- I do not

     21    believe they would have been involved.             I don't recall

     22    them being in the meeting.

     23           Q.     All right.      So do you remember around the

     24    end of 2012 whether there was a -- there was

    Golkow Litigation Services                                             Page 84
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further85Confidentiality
                                                         of 198. PageID #: 260591
                                                                             Review

      1    communication between you and your equivalent with

      2    regard to suspicious order monitoring systems at

      3    Actavis on any issues?

      4           A.     I -- I can't recall if there was or was

      5    not.

      6           Q.     All right.      Do you remember ever meeting

      7    with someone from Capital Wholesale Drug around this

      8    time?

      9           A.     Can you be specific when you say

     10    "meeting"?

     11           Q.     Oh, did you have an in-person meeting with

     12    them?

     13           A.     I did not have an in-person meeting with

     14    them.

     15           Q.     Do you remember ever talking on the phone

     16    with anyone from Capital Wholesale Drug?

     17           A.     Yes, I believe I did.

     18           Q.     Okay.    Do you remember any part of that

     19    conversation or the nature of it or anything?

     20           A.     Yes.    We had a partnership call with them.

     21           Q.     Okay.    When you say "a partnership call,"

     22    what does that mean?

     23           A.     A partnership call was a very commonplace

     24    between myself, the compliance team and our customers

    Golkow Litigation Services                                             Page 85
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further86Confidentiality
                                                         of 198. PageID #: 260592
                                                                             Review

      1    if we had concerns about their orders of controlled

      2    substances.

      3           Q.     All right.      So the term "partnership call"

      4    in the -- in the context of your work is a term of

      5    art, is that fair to say?

      6           A.     I guess you could say that.

      7           Q.     Because you wouldn't typically have a

      8    partnership call when things were going well, is that

      9    right?

     10           MS. LEVY:     I'm going to object to form.

     11    BY THE WITNESS:

     12           A.     We had partnership calls to make sure they

     13    were aware of our concerns.

     14    BY MR. EGLER:

     15           Q.     Right.

     16           A.     And to gain information.

     17           Q.     And I guess what I was saying was, the

     18    partnership call wasn't a -- a regularly-scheduled

     19    event like quarterly or monthly or annually?

     20           A.     No, I would -- I wouldn't say that.             Maybe

     21    not with the compliance team, but we did have other

     22    partnership calls with customers for, like,

     23    forecasting just on standard products and, you know,

     24    other business needs.

    Golkow Litigation Services                                             Page 86
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further87Confidentiality
                                                         of 198. PageID #: 260593
                                                                             Review

      1           Q.     If -- if you became involved, you

      2    personally became involved in a partnership call,

      3    would that be part of a regularly-convened partnership

      4    call?

      5           A.     I'm sorry.

      6           MS. LEVY:     Object to the form.

      7    BY THE WITNESS:

      8           A.     Yeah, I'm -- I'm -- I'm a little bit

      9    confused.

     10    BY MR. EGLER:

     11           Q.     So you had said that Watson in your

     12    estimation had regular partnership calls with its

     13    customers, and at the same time there are also

     14    partnership calls that involved the controlled

     15    substance compliance team and -- and your

     16    organization.

     17                  Would your organization be involved in the

     18    regularly-held partnership calls?

     19           A.     I was involved in some standard

     20    partnership calls that we had outside of the scope of

     21    suspicious order monitoring partnership calls, but I

     22    was involved in every controlled substance partnership

     23    call with customers to the beck of -- best of my

     24    recollection.

    Golkow Litigation Services                                             Page 87
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further88Confidentiality
                                                         of 198. PageID #: 260594
                                                                             Review

      1           Q.     Do you remember the circumstances under

      2    which you'd be involved in a regularly-held

      3    partnership call?

      4           A.     Yes, I do.

      5           Q.     What would be the circumstances?

      6           A.     You know, I would join our team members

      7    that were responsible for supporting the wholesalers

      8    on, you know, forecasts or if there was a shipping

      9    issue, if our distribution center was going to be on

     10    the call, if they needed to change an order date or a

     11    ship date, or general things like that just to ensure

     12    our team was doing their job correctly and --

     13           Q.     So on --

     14           A.     -- doing the best service to customers.

     15           Q.     -- on the regularly-held partnership calls

     16    that you attended, would you attend to discuss part of

     17    the suspicious order monitoring system or any pending

     18    orders or something like that?

     19           A.     If it was a partnership call for

     20    controlled substances, typically we would have the

     21    compliance team on the phone with us.

     22           Q.     All right.      And who from the compliance

     23    team -- let me start over.

     24                  So the compliance team as -- as I've been

    Golkow Litigation Services                                             Page 88
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further89Confidentiality
                                                         of 198. PageID #: 260595
                                                                             Review

      1    understanding it today, was separate from your

      2    organization, is that right?

      3           A.     I'm sorry.      Separate from my organization

      4    meaning?

      5           Q.     You were in customer service and the

      6    compliance team was not -- you did not report to them

      7    and they did not report to you, is that right?

      8           A.     That is correct.

      9           Q.     So on an organizational chart, you

     10    wouldn't be above or below the compliance team?

     11           A.     That is correct.

     12           Q.     So to the extent they appeared on a

     13    regularly-held partnership call and -- and you or

     14    someone from your team appeared on a partnership call,

     15    would you have different issues to talk about or would

     16    you appear for the same reasons, for different reasons

     17    or something else?

     18           A.     They generally -- it was a joint

     19    partnership call that was agreed upon and they were --

     20    there was a set agenda typically and we would -- yeah,

     21    it was for the same -- it was for the same agenda, we

     22    were on there for the same agenda.

     23           Q.     All right.      All right.     You can set this

     24    document aside.

    Golkow Litigation Services                                             Page 89
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further90Confidentiality
                                                         of 198. PageID #: 260596
                                                                             Review

      1                  Ms. Woods, I'm going to hand you what

      2    we'll mark as Exhibit 35.

      3                       (WHEREUPON, a certain document was

      4                         marked Allergan - Woods Deposition

      5                         Exhibit No. 35, for identification,

      6                         as of 01/10/2019.)

      7    BY MR. EGLER:

      8           Q.     Ms. Woods, can you look through

      9    Exhibit 35, and I'll represent to you, again, this was

     10    produced to us in this case, and as it was produced

     11    electronically, you were listed as the custodian of

     12    it, and -- but this was the entire family of

     13    documents.      It didn't have another -- it wasn't

     14    attached to an e-mail or something like that.

     15                  So can you look through it and -- and as

     16    you are looking through it, I'll read on the record,

     17    it is Allergan_MDL_03802654 through 2687.

     18                  And when you are ready, can you tell me

     19    whether you recognize this document?

     20           A.     It looks familiar.

     21           Q.     Okay.    What is it?

     22           A.     So periodically we would do presentations

     23    to other teams within the organization, other

     24    responsibilities of our team, so this looks like a

    Golkow Litigation Services                                             Page 90
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further91Confidentiality
                                                         of 198. PageID #: 260597
                                                                             Review

      1    presentation that we put together to do a presentation

      2    to a team.

      3           Q.     Do you remember what team you presented

      4    this presentation to?

      5           A.     I do not.

      6           Q.     And your name appears on the first page of

      7    this Exhibit 35, is that right?

      8           A.     It does.

      9           Q.     Do you remember whether you made this --

     10    let me start over, use a better verb.

     11                  Do you remember whether you presented the

     12    data that appears in this document, Exhibit 35, to

     13    someone in 2012?

     14           A.     I don't -- I don't, but that's what this

     15    was prepared for.

     16           Q.     And as part of your work at Watson

     17    Pharmaceuticals, would you regularly do these types of

     18    presentations?

     19           A.     I wouldn't say regularly, but we did do

     20    them on occasion.

     21           Q.     All right.      So as you go into this

     22    document, there is the same -- on Page 2 of the -- or

     23    the second page of the document, they are not listed

     24    by page number, but the second page of the document,

    Golkow Litigation Services                                             Page 91
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further92Confidentiality
                                                         of 198. PageID #: 260598
                                                                             Review

      1    which is 2655 on the Bates number, there is the same

      2    type of "High Level Org Chart."

      3                  Do you see that there?

      4           A.     I do.

      5           Q.     And then on the next page, it says

      6    "DNA/CRA Alignment."

      7                  Do you see that on Page 56?

      8           A.     I do.

      9           Q.     So the DNA, I think you had said before,

     10    is director of national accounts?

     11           A.     That is correct.

     12           Q.     And what does CRA mean in the context of

     13    your work?

     14           A.     Customer relations administrator.

     15           Q.     Okay.    What does a customer administrator

     16    relay -- could you say that again?

     17           A.     Customer relations administrator.

     18           Q.     What is a customer relations

     19    administrator?

     20           A.     It is basically a customer service

     21    representative.

     22           Q.     All right.      So as you look at the headers

     23    that appear at the top of this Page 656, does that

     24    show the alignment between the customer relations

    Golkow Litigation Services                                             Page 92
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further93Confidentiality
                                                         of 198. PageID #: 260599
                                                                             Review

      1    administrator and the director of national accounts at

      2    Watson around 2012 as you understand it?

      3           A.     Yes, that's -- appears to be what that is.

      4           Q.     So for each of the director of national

      5    accounts, there was a separate customer relations

      6    administrator, is that right?

      7           A.     Yes.

      8           Q.     All right.      So I want to look at a couple

      9    of -- a couple of names that appear on this page.

     10                  The first one -- well, let's start over.

     11                  Who on this list is the DNA and who on

     12    this list is the CRA?

     13           A.     The person on the top row --

     14           Q.     Uh-huh.

     15           A.     -- is the director of national accounts.

     16           Q.     Okay.

     17           A.     And the person on the sub row below that

     18    is the customer relations administrator.              And you'll

     19    see there are two.        So there is two customer relations

     20    administrators on each row that help support the

     21    director of national accounts.

     22           Q.     All right.      And we finally have the

     23    spelling of Tony's last name, right?

     24           A.     We sure do.

    Golkow Litigation Services                                             Page 93
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further94Confidentiality
                                                         of 198. PageID #: 260600
                                                                             Review

      1           Q.     All right.      So Tony Giannone, is that how

      2    you say it?

      3           A.     Close enough.

      4           Q.     All right.      It is G-i-a-n-n-o-n-e.        And he

      5    appears on the upper left-hand side there.

      6                  So underneath his name and underneath the

      7    other names, there is a -- various company names

      8    listed there.      What does that represent as you read

      9    this list?

     10           A.     Those would be the accounts under each one

     11    of the director of national account's territories.

     12           Q.     So the national -- the director of

     13    national accounts would have those companies as his or

     14    her customers and then the customer relations

     15    administrators would also support those companies, is

     16    that right?

     17           A.     That is correct.

     18           Q.     All right.      So like the first one there is

     19    AmerisourceBergen?

     20           A.     Correct.

     21           Q.     And so at this time at the end of -- no.

     22    Let me start over.

     23                  At this time in the year 2012, as you

     24    think of it, does this -- does this accurately reflect

    Golkow Litigation Services                                             Page 94
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further95Confidentiality
                                                         of 198. PageID #: 260601
                                                                             Review

      1    the breakup between the various directors of national

      2    accounts and the customer relations administrators at

      3    Watson?

      4           A.     To the best of my knowledge.

      5           Q.     All right.      So --

      6           A.     At the point that this was created.

      7           Q.     Right.

      8                  And a -- as you read this document, so far

      9    there is no indication about the particular day inside

     10    2012 where this document was created or present --

     11    presented, right?

     12           A.     That's correct.

     13           Q.     All right.

     14                  And so in the second column there is Vince

     15    Rin- --

     16           A.     Rinaudo.

     17           Q.     Rinaudo.

     18           A.     Uh-huh.

     19           Q.     It is R-i-n-a-u-d-o.

     20                  And -- and his parallel customer relations

     21    administrators are Renee Hernandez and Jeff Gee?

     22           A.     That is correct.

     23           Q.     And his -- his name is spelled G-e-e.

     24           A.     Correct.

    Golkow Litigation Services                                             Page 95
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further96Confidentiality
                                                         of 198. PageID #: 260602
                                                                             Review

      1           Q.     And underneath him, about half the way

      2    down is the word "McKesson," is that right?

      3           A.     Half the way down.

      4                  Yes, that is correct.

      5           Q.     All right.      And then David Schmidt is

      6    listed as the next director of national account and

      7    Michelle Garcia and Christi Hammonds are the parallel

      8    customer relations administrator.            And then Maureen

      9    Bennett is listed as a director national of account --

     10           A.     Barrett.

     11           Q.     Barrett?

     12           A.     It is two Rs, correct.

     13           Q.     Sorry.    And it is B-a-r-r-e-t-t.

     14                  And it's -- the parallel customer

     15    relations administrators are Bea Padilla,

     16    P-a-d-i-l-l-a, and Vicky Goldy, G-o-l-d-y, right?

     17           A.     Correct.

     18           Q.     And then underneath the Maureen Barrett

     19    there is the word "Anda."

     20                  Do you see that there?

     21           A.     I do.

     22           Q.     Do you know what Anda is?

     23           A.     Anda is a distributor.

     24           Q.     All right.      Do you know who owned Anda at

    Golkow Litigation Services                                             Page 96
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further97Confidentiality
                                                         of 198. PageID #: 260603
                                                                             Review

      1    this time?

      2           A.     Yes.    They were owned by Watson.

      3           Q.     All right.      So with regard to the sales

      4    or -- or -- or relationship with Anda, do you know

      5    whether they were treated as a -- as a sales account

      6    or some other treatment was given to them that was

      7    different from other?

      8           A.     Absolutely no different treatment.

      9           Q.     All right.      So there is Anda that's listed

     10    there -- oh, at some point did Watson or one of its

     11    successors sell Anda to someone else?

     12           A.     That probably would not be a question for

     13    me.    I'm sorry.

     14           Q.     Right.    Let me ask this.

     15                  Do you know whether Anda is still part of

     16    Allergan?

     17           A.     Anda is not a part of Allergan.

     18           Q.     Today?

     19           A.     Correct.

     20           Q.     All right.      So, and then moving down

     21    there, there is the word "Cardinal."

     22                  Do you see that there?

     23           A.     I do.

     24           Q.     All right.

    Golkow Litigation Services                                             Page 97
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further98Confidentiality
                                                         of 198. PageID #: 260604
                                                                             Review

      1                  And so that would indicate that

      2    Ms. Barrett and then pare -- in a parallel fashion

      3    Ms. Padilla and Ms. Goldy were responsible for the

      4    Cardinal account, is that right?

      5           A.     That is correct.

      6           Q.     All right.      So let's move on.

      7           A.     One part I just want to go back --

      8           Q.     Oh, yeah.

      9           A.     -- Anda.

     10                  I should state, like, as far as my side of

     11    the business goes, Anda was handled completely

     12    independently.       I don't know from an entity setup or

     13    anything if they were different.            So I just --

     14           Q.     Right.

     15           A.     -- have to clarify that because that is

     16    not my side of the business.

     17           Q.     No, I appreciate you saying that.

     18           A.     Okay.

     19           Q.     And -- and, again, today, yeah, I am

     20    asking just for your personal knowledge.

     21           A.     Yes, that's -- I just wanted to clarify,

     22    I -- I -- I wouldn't be able to help on that end of

     23    it.

     24           Q.     Right, right.

    Golkow Litigation Services                                             Page 98
Case: Highly
      1:17-md-02804-DAP Doc #:-1985-23
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further99Confidentiality
                                                         of 198. PageID #: 260605
                                                                             Review

      1                  Yeah, and so what I'm asking is everything

      2    you say today in the con -- is in the context of your

      3    own knowledge.       There is no expectation that you would

      4    go out and find the answers --

      5           A.     Right.

      6           Q.     -- or stuff like that.

      7                  All right.      All right.     Great.

      8                  So can you move ahead into this document

      9    and look at what's marked as Exhibit 5 -- or 659.                It

     10    is, like, three pages ahead.

     11                  All right?      And it's different from the

     12    other pages that we've looked at so far.

     13                  Do you recognize what this Page 659 is?

     14           A.     It looks like it is a notes page at the

     15    bottom of a slide.

     16           Q.     So these are notes that would appear in

     17    a -- in a PowerPoint presentation, is that right?

     18           A.     That appears to be what that is.

     19           Q.     Do you remember typing notes like this as

     20    part of your work at Watson?

     21           A.     If I needed to remember something on a

     22    slide.

     23           Q.     All right.      And these notes would appear

     24    to you during the presentation but not necessarily

    Golkow Litigation Services                                             Page 99
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 100Confidentiality
                                                           of 198. PageID #: 260606
                                                                               Review

       1    appear if you were showing the presentation up on a

       2    screen or something?

       3          A.      That would be correct.

       4          Q.      All right.      So going to the next page,

       5    Page 660, this is similar to the budget summary that

       6    we were looking at before, is that right?

       7          A.      That is correct.

       8          Q.      All right.      And as you go down into this

       9    budget summary, again, the term masta -- "master data

      10    statistics" appears about three-quarters of the way

      11    down, is that right?

      12          A.      Yes, it does.

      13          Q.      All right.      So -- and this is a little bit

      14    different from the one that we had been looking at

      15    before.     It seems to have a broader group of numbers

      16    listed.

      17                  So for SOM validations, do you see that?

      18          A.      I do.

      19          Q.      It says the monthly average per MDA of

      20    SOMS validations in 2009 was 62.

      21                  Is that right?

      22          A.      That's what it states.

      23          Q.      And then it states that in 2010 the

      24    monthly average per MDA SOMS validation was 167, is

     Golkow Litigation Services                                            Page 100
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 101Confidentiality
                                                           of 198. PageID #: 260607
                                                                               Review

       1    that right?

       2          A.      That is correct.

       3          Q.      And then it states that the year to date

       4    October 2011, the monthly average per MDA SOMS

       5    validations is 280?

       6          A.      Correct.

       7          Q.      And in the last column over, it states

       8    that the 2009 year to date versus -- no -- 2011 year

       9    to date versus 2009 year to date percent of change for

      10    the monthly average per MDA SOMS validation is

      11    351.6 percent, is that right?

      12          A.      That is correct.

      13          Q.      And do you remember why you presented that

      14    particular piece of information in -- in this

      15    presentation?

      16          A.      Because it was part of the productivity

      17    statistics.

      18          Q.      All right.      So that would signify

      19    substantially increased productivity, is that right?

      20          A.      Yes, it would.

      21          Q.      All right.      Do you remember ever having a

      22    discussion about whether to increase the headcount

      23    with regard to SOMS validations around this time?

      24          A.      Well, this would have been around the same

     Golkow Litigation Services                                            Page 101
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 102Confidentiality
                                                           of 198. PageID #: 260608
                                                                               Review

       1    period of time.       It could have been that we had a

       2    headcount decrease which could have been leading to

       3    that increase.       I don't -- I don't recollect.

       4          Q.      All right.      So the increase in average --

       5    the increase in the monthly average per MDA of SOMS

       6    validations may have, and you don't know either way,

       7    may have been created by a decrease in the number of

       8    people performing SOMS validations, is that right?

       9          A.      Or because we were bringing on Actavis

      10    employees.      Right?    This is right at the Actavis...

      11          Q.      So people would have been let go --

      12          A.      We --

      13          Q.      -- in --

      14          A.      No.    My point is, right, we have an

      15    increase, but we might not have brought on extra

      16    headcount because we were going to be gaining

      17    employees.

      18          Q.      Okay.    So is it fair to say if there were

      19    a decrease, you might have recognized it as a

      20    temporary decrease that would have been subsequently

      21    increased after the merger had been completed?

      22          A.      I might have gained employees after the --

      23          Q.      Yeah.

      24          A.      -- acquisition.

     Golkow Litigation Services                                            Page 102
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 103Confidentiality
                                                           of 198. PageID #: 260609
                                                                               Review

       1          Q.      All right.

       2                  So moving on into this document, the two

       3    pages -- or one page ahead -- wait, next two pages

       4    ahead, Page 662, it says, "2012 Objection" --

       5    "Objectives," and it states:           "SOMS Systems - Partner

       6    With DEA Affairs to" and then it says:              "DEA affairs

       7    initiative - MD owner in SAP."

       8                  As you read that language that's there,

       9    could you explain what your impression is what that

      10    means?

      11          A.      I don't know what the initiative was

      12    now --

      13          Q.      Okay.

      14          A.      -- back from 2012.

      15          Q.      All right.      But we are getting closer than

      16    2004, right?

      17          A.      Yeah, we are getting closer.

      18          Q.      All right.

      19                  All right.      So you, as you sit here today,

      20    you don't have a memory of what the DEA affairs

      21    initiative was.

      22                  And then there is that word -- or that

      23    term "MD owner in SAP."

      24                  Do you have a memory or an impression of

     Golkow Litigation Services                                            Page 103
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 104Confidentiality
                                                           of 198. PageID #: 260610
                                                                               Review

       1    what that means?

       2          A.      I mean, I know MD is master data, but I'm

       3    not sure what the initiative was that would have been

       4    captured under that without more detail.

       5          Q.      All right.      So can you turn to the next

       6    page, and it's Page 663, and it says "Controlled

       7    Substance Compliance," and then colon, "A

       8    Collaborative Team Approach."

       9                  Do you see that?

      10          A.      I do.

      11          Q.      And then there is a picture on that

      12    page above there.        It's an oxycodone and acetaminophen

      13    tablets.

      14                  Do you see that there?

      15          A.      I do.

      16          Q.      Do you remember around this time whether

      17    Watson was shipping oxycodone and acetaminophen

      18    tablets?

      19          A.      I'm assuming from the picture we must have

      20    been.

      21          Q.      All right.      So the next page states:

      22                  "What is SOM," and then in parentheses,

      23    "(Suspicious order management)?"            And then it's noted

      24    as 664 in the Bates numbers.

     Golkow Litigation Services                                            Page 104
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 105Confidentiality
                                                           of 198. PageID #: 260611
                                                                               Review

       1          A.      Um-hum.

       2          Q.      And this page lists out some text and it

       3    says:

       4                  "SOM," and then in parentheses,

       5    "(Suspicious Order Management)," close parentheses,

       6    "is a DEA requirement," and then parentheses, "(21 CFR

       7    1301.74)," and then in parentheses the letter "(b)"

       8    which, and then it's italicized, "specific re" --

       9    "specifically requires that a registrant 'design and

      10    operate a system to disclose to the registrant

      11    suspicious orders of controlled substances.'"

      12                  And then the next group of text says:

      13                  "What is a 'suspicious' order?"

      14    "'Suspicious,'" and close quote, "order."

      15                  It says:     "DEA 21 CFR 1301.74(b) describes

      16    suspicious orders as having significant deviation in

      17    Order Size," and then in parentheses, "(Quantity),

      18    Order Frequency, and/or Order Pattern."

      19                  Do you remember why you put this language

      20    in this presentation?

      21          A.      Well, whatever team we were giving this

      22    for we were talking about this particular process,

      23    that this may have been at a DEA summit with the rest

      24    of the controlled substance compliance team that would

     Golkow Litigation Services                                            Page 105
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 106Confidentiality
                                                           of 198. PageID #: 260612
                                                                               Review

       1    have benefited from this.

       2          Q.      Okay.    Do you remember where you got the

       3    language for this for the 21 CFR 1301.74(b)?

       4          A.      This might have come from compliance.

       5    This might have come from a compliance presentation.

       6    This was a separate presentation at one time.

       7          Q.      All right.      So -- because the language of

       8    the CFR is slightly different.

       9          A.      Different, uh-huh.

      10          Q.      It doesn't say "suspicious orders as

      11    having" it says "including" as opposed to "as."

      12                  Do you remember making that distinction?

      13          A.      I -- I don't remember creating this slide

      14    myself, so...

      15          Q.      Okay.    Do you remember ever -- anybody

      16    ever pointing that out to you?

      17          A.      No, I -- I don't.

      18          Q.      All right.      So in that --

      19          A.      This slide could have been changed at some

      20    point.     I don't know.

      21          Q.      All right.      And then as you go down, it

      22    states:     "Anti-diversion is proactive, not reactive."

      23                  Do you see that there?

      24          A.      Yes, I do.

     Golkow Litigation Services                                            Page 106
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 107Confidentiality
                                                           of 198. PageID #: 260613
                                                                               Review

       1          Q.      And it says:      "Controlled substance

       2    regis" -- "registrants are required to place on hold,

       3    investigate, and disclose to the DEA all suspicious,"

       4    and then it says in bold and capitals, "ORDERS of

       5    controlled substances;" and then in bold and capitals

       6    the word "NOT suspicious," and then bold and capitals

       7    the word "SALES after the fact."

       8                  Do you remember writing that?

       9          A.      No.

      10          Q.      All right.      Do you remember discussing

      11    that concept that the -- the DEA required report of

      12    suspicious orders of controlled substances and not

      13    suspicious sales after the fact around this time,

      14    2012, with people at Watson?

      15          A.      I remember attending DEA summits that we

      16    had at our company where this was a topic in general

      17    and we discussed all of this.

      18          Q.      When you use the term "DEA summit," just

      19    so we're clear, was someone from the DEA in attendance

      20    at those DEA summits or was it a summit of the DEA

      21    group at Watson?

      22          A.      There would be DEA summits where we would

      23    have people from the DEA actually come in to the

      24    company.     I don't remember the exact time, but this

     Golkow Litigation Services                                            Page 107
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 108Confidentiality
                                                           of 198. PageID #: 260614
                                                                               Review

       1    would have probably come from that meeting or

       2    presentation.

       3          Q.      Do you remember a particular DEA summit

       4    around this time, 2012, where that issue that the

       5    orders of controlled substances, not suspicious sales

       6    after the fact, was discussed?

       7          A.      I believe that this presentation would

       8    have come from that summit or likely right before.

       9          Q.      Do you remember who from the DEA was at

      10    Watson at the time?

      11          A.      I -- I don't remember who.           Tom sets --

      12    Tom Napoli set those up, so I don't remember who the

      13    representative was.

      14          Q.      Okay.    Do you remember ever meeting a

      15    representative from the DEA around this time period in

      16    2012?

      17          A.      I could have.       I probably don't remember

      18    the name of the person.

      19          Q.      Okay.    You don't remember either way?

      20          A.      I don't remember it either way.

      21          Q.      All right.

      22                  All right.      So the next page, 665, there

      23    is another note page, is that right?

      24          A.      Yes.

     Golkow Litigation Services                                            Page 108
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 109Confidentiality
                                                           of 198. PageID #: 260615
                                                                               Review

       1          Q.      It says:

       2                  "Protects Watson, protects your customers.

       3    We are required to know our customer's customer."

       4                  Now, that appears to be a note, is that

       5    right?

       6          A.      That appears to be a note.

       7          Q.      All right.      So do you remember writing

       8    that sentence:

       9                  "Protects Watson, protects your customers.

      10    We are required to know our customer's customer"?

      11          A.      No, I don't -- I don't know that this was

      12    my part of the presentation.           I can't say one way or

      13    another.

      14          Q.      Okay.    Do you remember ever using that

      15    phrase or that sentence:          "Protects Watson, protects

      16    your customer"?

      17          A.      I can't say one way or another.

      18          Q.      Okay.    Do you remember around this

      19    timeframe ever using the second sentence:               "We are

      20    required to know our customer's customer"?

      21          A.      I don't know if I did at that time or not.

      22          Q.      All right.      So moving on into this

      23    document, it's Page 2666, there is another chart that

      24    says:    "SOMS System Flow."

     Golkow Litigation Services                                            Page 109
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 110Confidentiality
                                                           of 198. PageID #: 260616
                                                                               Review

       1                  Do you see that there?

       2          A.      I do.

       3          Q.      Do you remember who created this

       4    flowchart?

       5          A.      This is -- this would have been created by

       6    our SAP team is how the flow worked.

       7          Q.      And as you think of it, around this time,

       8    2012, who was on the SAP team?

       9          A.      Oh, gosh.      I don't know if I can remember

      10    the people that were in IT.

      11          Q.      Was there a particular person on the SAP

      12    team that supported the -- the customer service group

      13    that you were a head of?

      14          A.      This would not have been a customer

      15    service function.

      16          Q.      Okay.

      17          A.      This would have been a different function.

      18    This -- yeah, there wasn't people assigned to customer

      19    service.

      20          Q.      Okay.    So as you think of this, the SOM

      21    system flow being a function of a different group,

      22    what group would it have been a function of?

      23          A.      This would have been under probably order

      24    to cash and this would have been -- this would have

     Golkow Litigation Services                                            Page 110
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 111Confidentiality
                                                           of 198. PageID #: 260617
                                                                               Review

       1    actually been developed when we put SAP in in 2004,

       2    this would have been configuration.

       3          Q.      Okay.    So below the -- or in the bottom

       4    half of the Page 666 that's the SOM system flow --

       5          A.      Correct.

       6          Q.      -- there is a box and inside the box it

       7    says "SOMS validation system," right?

       8          A.      Correct.

       9          Q.      And it has various diamonds and squares?

      10          A.      Um-hum.

      11          Q.      And do you know what that is supposed to

      12    represent?

      13          A.      Yes, I do.

      14          Q.      What does [sic] that supposed to

      15    represent?

      16          A.      So, this is the blocks for the different

      17    validations for order quantity, which would be size;

      18    frequency based on monthly averages, how many times

      19    they ordered; pattern; and then also in addition to

      20    size, frequency and pattern, we also went above and

      21    beyond that and as you could see on the last couple,

      22    it was also measuring up against classes of trade so

      23    that we could look and see if customers, even

      24    regarding size and frequency, how they measured up --

     Golkow Litigation Services                                            Page 111
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 112Confidentiality
                                                           of 198. PageID #: 260618
                                                                               Review

       1    up against other people that were in the same classes

       2    of the trade in there.         So if you were a wholesaler,

       3    it measured you up against other wholesalers based on

       4    your order size and monthly averages.

       5                  So it measured people on order, order

       6    size, order frequency, and up against people in their

       7    same kind of class of trades.

       8          Q.      So yesterday we were talking about a -- an

       9    algorithm that was part --

      10          A.      Yes.

      11          Q.      -- of the SOMS validation system.

      12                  Is that what this is?

      13          A.      Yes.

      14          Q.      All right.      And as you think of it, is

      15    this the entire algorithm as it is presented or was

      16    there more to it?

      17          A.      This would be the system logic, that would

      18    be correct.

      19          Q.      Okay.    And that's a term you used

      20    yesterday was "the system logic"?

      21          A.      Yes --

      22          Q.      Right?

      23          A.      -- um-hum.

      24          Q.      I think you had said the system logic that

     Golkow Litigation Services                                            Page 112
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 113Confidentiality
                                                           of 198. PageID #: 260619
                                                                               Review

       1    you were talking about came from the DEA website, is

       2    that right?

       3          A.      Yeah, DEA.DOJ.gov, yep.

       4          Q.      All right.

       5          A.      Dot com.     Uh-huh.

       6          Q.      So, with res --

       7          A.      Well, I did -- what I said was I don't

       8    know if that's where it came from, but what I

       9    commented on is that this mimics that.              From my

      10    knowledge, it mimics that.

      11                  Now, whether that's where we took it from

      12    or that's how Tracey, where she got it from, I don't

      13    know.    I just know that that's what it appears to be.

      14          Q.      Okay.    And you used that term "class of

      15    trade" --

      16          A.      Uh-huh.

      17          Q.      -- for COT that appears on this Page 2666.

      18                  The class of trade data that you are

      19    thinking of --

      20          A.      Uh-huh.

      21          Q.      -- we had been talking earlier about sales

      22    data that was sales of at -- at this time Watson

      23    product and sales data that was not only Watson but

      24    other comparable NDC number product.

     Golkow Litigation Services                                            Page 113
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 114Confidentiality
                                                           of 198. PageID #: 260620
                                                                               Review

       1                  Is it your impression that this COT data

       2    that's listed there was only Watson product that was

       3    sold to these other --

       4          A.      Yes.    We wouldn't be able to capture other

       5    people's NDC numbers in our ERP system.

       6          Q.      All right.      And there was never an

       7    attempt, as far as you know, to do that, is that

       8    right?

       9          A.      I don't even know how you would do that.

      10          Q.      All right.

      11          A.      That would mean that you would have to

      12    have every single customer, every single

      13    manufacturer's data in your ERP system.              I think that

      14    would be illegal.        I don't think they would allow you

      15    to have their information in your system.

      16          Q.      Do you know whether there was ever an

      17    attempt to examine any information that Watson had

      18    acquired regarding comparable NDC numbers to import

      19    into the SOM system?

      20          A.      I -- I don't even know how you do that.               I

      21    mean -- I mean, you have to think about the amount of

      22    data.    I -- that would be taking every single

      23    manufacturer's data that has a like product and

      24    creating your own interoperable system.              I can't even

     Golkow Litigation Services                                            Page 114
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 115Confidentiality
                                                           of 198. PageID #: 260621
                                                                               Review

       1    imagine the on taking of that.            And you would have to

       2    have an agreement by every manufacturer.               It would

       3    have to be -- it would have to basically be an

       4    agreement by all companies to create an interoperable

       5    system.     And I don't know if that was ever a

       6    discussion.

       7                  I know that -- I think, you know, from

       8    what I remember having conversations with Tom about

       9    this several times is going back to the DEA to say,

      10    Can we have this discussion about creating an

      11    interoperable system so that this data would be

      12    available.      And I don't think we -- you know, I -- I

      13    don't know what the response was.             I know it didn't

      14    happen.

      15                  I don't know, you know, exactly -- he

      16    might have more information on the outcome of that,

      17    but the on taking to be able to make that happen, and

      18    it would be like you having your own personal computer

      19    and you going to somebody and saying, like, I want all

      20    of your data, but I want it in my computer.                And you

      21    are not going to get an agreement from people.                They

      22    are going to say, Well, wait, you are going to have

      23    all of my market data and all of my information and

      24    nobody is going to agree to that.

     Golkow Litigation Services                                            Page 115
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 116Confidentiality
                                                           of 198. PageID #: 260622
                                                                               Review

       1                  So I'm -- I'm not sure.          Tom probably

       2    would be able to provide information from the DEA.

       3          Q.      So with regard to the term you used there,

       4    "market data," there were sources of market data that

       5    Watson as a company either purchased or came into

       6    possession of regarding other NDCs, is that correct?

       7          A.      The tools that we had available to us that

       8    provided -- I'm -- I'm not sure.            I'm not a marketing

       9    person --

      10          Q.      Uh-huh.

      11          A.      -- so I don't -- and when you say "other

      12    marketing tools," what are you referring to?

      13          Q.      Well, so, for example, one of the earlier

      14    exhibits that we looked at when you reached out to the

      15    marketing group and asked for market data on

      16    comparable what you referred to as SKUs then, that

      17    type of data was available to the marketing team,

      18    right?

      19          A.      Yeah, so what they commented on is that

      20    was customer feedback that they received.

      21          Q.      Uh-huh.

      22          A.      Is that what you are referring to, is

      23    actual customer feedback?

      24          Q.      It was data, wasn't it?

     Golkow Litigation Services                                            Page 116
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 117Confidentiality
                                                           of 198. PageID #: 260623
                                                                               Review

       1          A.      I think that memo said that it was

       2    customer feedback that they had.

       3          Q.      All right.      I guess we can look at it.

       4          MR. EGLER:      Do you have it?

       5    BY THE WITNESS:

       6          A.      If I'm not mistaken, that's what Toni had

       7    commented back on.

       8                  I'm sorry.      I thought she just said

       9    feedback, on feedback --

      10    BY MR. EGLER:

      11          Q.      No, that's fine.

      12          A.      -- from our customers.

      13          MS. COVERSTONE:        I think that's at 612.

      14    BY THE WITNESS:

      15          A.      Is that at 612?

      16    BY MR. EGLER:

      17          Q.      So at -- on this Page 612 --

      18          A.      Yeah.

      19          Q.      -- there is various text, and at the

      20    bottom Ms. Picone says:

      21                  "I have attached recent TRx data from IMS

      22    so you can see the market trends by competitor."

      23          A.      So that's --

      24          Q.      Do you see that there?

     Golkow Litigation Services                                            Page 117
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 118Confidentiality
                                                           of 198. PageID #: 260624
                                                                               Review

       1          A.      -- IMS data --

       2          Q.      Uh-huh.

       3          A.      -- is what you are referring to?

       4          Q.      Yeah.

       5          A.      So I'm not sure how that would go.

       6                  So that is total Rx data that comes in

       7    from IMS.     How -- I -- I'm not sure how that would

       8    actually assist us because it doesn't tell us -- I'm

       9    not sure that that's going to tell us -- that's --

      10    that's when a prescription gets written, but it

      11    doesn't tell us who actually is getting, as a total Rx

      12    is the script.       I'm not sure that that tells us what

      13    wholesaler or what pharmacy.           I don't know how that

      14    feeds into a --

      15          Q.      Do you know whether there --

      16          A.      -- SOMS system.

      17          Q.      Oh, go ahead.

      18                  Do you know whether there was ever an

      19    attempt to find data that would break down from a

      20    distributor or a pharmacy point of view either from

      21    IMS or any other source a -- a view of complimentary

      22    SKUs or NDC codes that could be fed into the SOMS

      23    system?

      24          A.      So, at my level, being on the SOMS

     Golkow Litigation Services                                            Page 118
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 119Confidentiality
                                                           of 198. PageID #: 260625
                                                                               Review

       1    operational side, I wasn't inv -- involved in, you

       2    know, working groups of people doing that.

       3          Q.      Uh-huh.

       4          A.      The compliance teams probably were.             I

       5    think they would be good people to ask about, like,

       6    what the working teams were trying to create to come

       7    up with that, but at my level on the operational side,

       8    we were not involved in those working groups.

       9          Q.      And you don't remember having any of those

      10    conversations, is that fair to say?

      11          A.      No.    I mean, I remember going to Tom and

      12    saying, Is there a way to get interoperable data, has

      13    there been discussions on this.            I remember having

      14    that discussion to see, because there wasn't a way for

      15    us to have an interoperable system with all of the

      16    manufacturers' data.

      17          Q.      And when you asked the marketing team to

      18    provide detailed data on other NDC codes, as in

      19    Exhibit 32, they provided it to you, right?

      20          A.      Well, they provided what we asked for, but

      21    TRx data doesn't really help us.            I mean, I can't --

      22    like when you go to look at the number of TRxs at a

      23    pharmacy, the pharmacy data doesn't tell me much.                 It

      24    doesn't tell me what wholesaler it is going through.

     Golkow Litigation Services                                            Page 119
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 120Confidentiality
                                                           of 198. PageID #: 260626
                                                                               Review

       1    It doesn't tell me -- it just tells me what the doctor

       2    is writing, but I don't sell to a doctor.

       3          Q.      Would it give you the number of

       4    prescriptions written in, say, an SMSA, like a

       5    statistical metropolitan area, for those codes?

       6          A.      It -- it could break it down by state or

       7    something like that.

       8          Q.      Yeah.

       9                  So -- but you didn't try to import that

      10    type of information into the SOMS system, right?

      11          A.      I'm just still trying to figure out how

      12    that would help us.        We did go to look at other

      13    systems, as you know, that would have more statistics

      14    behind them --

      15          Q.      Uh-huh.

      16          A.      -- but at this time, the time that you are

      17    talking about, our system was meeting the requirements

      18    in 2012 and beyond the requirements in 2012.

      19          Q.      When you say that, what do you mean,

      20    "meeting the requirements"?

      21          A.      The Controlled Substance Act requirements.

      22          Q.      And how did you come to understand that

      23    you were meeting the Controlled Substances Act

      24    requirements?

     Golkow Litigation Services                                            Page 120
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 121Confidentiality
                                                           of 198. PageID #: 260627
                                                                               Review

       1          A.      Well, because, you know, we, as I stated

       2    before, working with Tom and working with our

       3    compliance team, they are the ones that provided the

       4    requirements to us and we based it on what the

       5    requirements were at that given time.

       6          Q.      How did you come to an understanding of

       7    what the requirements were?

       8          A.      I'm sorry?

       9          Q.      How did you come to an understanding of

      10    what the requirements were?

      11          A.      So, the controlled substance compliance

      12    team provides -- are the ones that work with the DEA

      13    and they are the ones that review our system and

      14    ensure that the system is providing what it needs to

      15    be doing and that we are going at least -- or doing

      16    what we are supposed to be doing using the system and

      17    our processes to do thorough investigations.

      18          Q.      Okay.    And I want to be clear just because

      19    you used the word "they" in your response and there

      20    were two antecedents before it.            You said "they are

      21    the ones" who do two things.

      22                  When you said that, did you mean --

      23          A.      "They" the controlled substance compliance

      24    team.

     Golkow Litigation Services                                            Page 121
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 122Confidentiality
                                                           of 198. PageID #: 260628
                                                                               Review

       1          Q.      Not the D -- not the DEA?

       2          A.      Correct.

       3          Q.      Okay.    All right.

       4                  So let's move on into this document to the

       5    next page, 667, the SOMS Collaborative Review slide.

       6    And can you look at this page and tell me whether you

       7    remember putting this together.

       8          A.      We would have put the box on the left

       9    together that supported the balance, the -- the flow

      10    is out of SAP from our SAP team.

      11          Q.      And that says "Analysis of SOMS Forms"?

      12          A.      That is correct.

      13          Q.      All right.      And this is -- we talked about

      14    this a little bit yesterday.           It says:

      15                  "During the analysis we use" -- I'm sorry.

      16    It says:

      17                  "During the analysis, we attempt to use

      18    all of the information we have on hand before reaching

      19    out to the customer.         We have multiple tools to

      20    accomplish this.       A few examples of the tools we use

      21    are," and then there are A's and I think they are

      22    bullet points.       It says:

      23                  "Check call log to see if we previously

      24    contacted the customer using the current month for the

     Golkow Litigation Services                                            Page 122
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 123Confidentiality
                                                           of 198. PageID #: 260629
                                                                               Review

       1    product."     And then a dash underneath there, it says:

       2    "If so, reanalyze to determine another" -- "if another

       3    investigation/customer contact is needed."               And then

       4    it says:     "Review 852 and 867," and then in

       5    parentheses, "(when available)."            And then it says:

       6    "Review past shipping history of product," and then it

       7    says in parentheses:         "(YOY/YTD comparison)."         And

       8    then it says:      "Contact internal departments to see if

       9    they have additional information.             Demand Management,

      10    Marketing and CRA."        And then it says:        "Look for

      11    order pattern."       And then the last one is:          "Customer

      12    contact."

      13                  And as you think of it, those are the

      14    typical processes that the SOMS group would use to

      15    analyze a pended order, is that right?

      16          A.      I would say those -- those are the typical

      17    ones, correct.

      18          Q.      All right.      And there may have been other

      19    ones as we discussed yesterday, is that right?

      20          A.      That is correct.

      21          Q.      All right.      Then going onto the next page,

      22    668, it is a "SOMS Block Example."

      23                  Do you see what that is?

      24          A.      I do.

     Golkow Litigation Services                                            Page 123
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 124Confidentiality
                                                           of 198. PageID #: 260630
                                                                               Review

       1          Q.      What is that?

       2          A.      So if an order pends, that would be the

       3    alert that they would get to -- to start the review

       4    process.

       5          Q.      All right.      When you say "they," what does

       6    that mean?

       7          A.      The master data team that's responsible to

       8    do the first review.

       9          Q.      All right.      Then the next page is "852

      10    Data Example."       It is Page 669.

      11          A.      That's correct.

      12          Q.      And can you tell me what this shows?

      13          A.      Yes.    It -- so an 852 data example is the

      14    data that they would review.           So it just comes in like

      15    this.    They are going to look for a particular

      16    product, but it would show the name of the product,

      17    the NDC number, the quantity the customer has on hand.

      18    And there is -- at the top you'll see it says "Week

      19    Ending," so it is just for that period of time, that

      20    week, and then the following week.

      21                  So it will say how many is on hand, how

      22    many -- their average they are selling out per week,

      23    the number of days on hand they typically have, the

      24    number of weeks on hand and the weekly sold or daily

     Golkow Litigation Services                                            Page 124
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 125Confidentiality
                                                           of 198. PageID #: 260631
                                                                               Review

       1    sold here.      So that's -- that's what that data

       2    typically reflects.

       3          Q.      All right.      And the days on hand is the

       4    DOH number, is that right?

       5          A.      That is correct.

       6          Q.      And the weeks on hand is the WOH number?

       7          A.      That is correct.

       8          Q.      And with regard to this Page 669 and the

       9    852 data, it is your understanding that the only 852

      10    data that Watson would typically get would be data

      11    about its own NDC code products, is that right?

      12          A.      Yes, that is correct.

      13          Q.      All right.      And moving down to the 867

      14    data example on Page 670, what does this show?

      15          A.      This shows the -- it appears to be the

      16    start and the end date of this particular transaction.

      17    The DEA number, the ship from DEA number, the ship to

      18    DEA number, the ship from name, who shipped the

      19    product, the ship to state, the ship from zip code --

      20    or I'm sorry -- the ship to zip code.

      21                  I can't really see the in -- it looks like

      22    the invoice date.

      23          Q.      Uh-huh.

      24          A.      The product ID, the quantity that would

     Golkow Litigation Services                                            Page 125
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 126Confidentiality
                                                           of 198. PageID #: 260632
                                                                               Review

       1    have been shipped, and the price, the contract price.

       2          Q.      All right.      So with regard to this chart,

       3    do you remember why this chart was included in the

       4    presentation that is shown here as Exhibit 35?

       5          A.      It is an example of 66 -- 867 data that we

       6    would use if we had to check to see who is getting

       7    particular product.

       8          Q.      Okay.

       9                  That term, it says "Prod" and then capital

      10    "Id" there.      It is the third-from-the-last --

      11    third-from-the-right column.

      12                  Do you recognize those as NDC numbers or

      13    something else?

      14          A.      I do recognize them as NDC numbers.             A

      15    product ID and a NDC may not be tip -- one in the

      16    same, but this is an NDC number.

      17          Q.      All right.      And so with regard to the NDC

      18    or product ID number, as you think of it, would that

      19    be an individual bottle that would have a particular

      20    number of pills in it?

      21          A.      Yes, it would be a unit.          It would be a --

      22    a stock keeping unit.         To the best of my knowledge,

      23    that would be a stock keeping unit NDC number.

      24          Q.      All right.      Let's move -- move on into

     Golkow Litigation Services                                            Page 126
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 127Confidentiality
                                                           of 198. PageID #: 260633
                                                                               Review

       1    this document.       The next one is the Page 671, "YOY/YTD

       2    Comparison Example."

       3                  And is this also information that would

       4    come from Watson's records?

       5          A.      Yes.

       6          Q.      All right.      And then the next page is 672.

       7    It says, "E-Mail Verbiage."

       8                  Can you tell me what this shows?

       9          A.      Yes.    When we sent an order -- when we

      10    notified a customer that we needed justification, we

      11    sent them an e-mail with the CFR information and

      12    requested them to reply with justification.

      13          Q.      All right.      So is it fair to say this

      14    would be the first step in analyzing an order that had

      15    pended under Watson's suspicious order monitoring

      16    policy by the master data administrator?

      17          A.      Not necessarily the first step.            We would

      18    probably do some of the other steps that we laid out

      19    previously on this page.          So it says:

      20                  "During the analysis, we attempt to use

      21    all of the information with multiple tools on hand

      22    before reaching out to the customer."

      23                  So we will try to conduct several of the

      24    other tools before we reach out to them so we have

     Golkow Litigation Services                                            Page 127
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 128Confidentiality
                                                           of 198. PageID #: 260634
                                                                               Review

       1    significant knowledge before we ask them for a

       2    justification.

       3          Q.      All right.      So the order may be cleared

       4    before this type of e-mail ever goes out?

       5          A.      It could be, yes.

       6          Q.      Then the next page is 673 and it says:

       7    "'Order of Interest' Evaluation/Investigation."

       8                  And you -- can you tell me what it shows

       9    on this page?

      10          A.      It is a little bit about the evaluation

      11    process, when it gets escalated to the DEA affairs

      12    department and...

      13          Q.      And the data that's here or the

      14    information that's here quotes a -- what's referred to

      15    as "December 2007 DEA letter."            It says:

      16                  "Registrants must conduct an independent

      17    analysis of suspicious orders prior to completing a

      18    sale to determine whether the controlled substances

      19    are likely to be diverted from legitimate channels."

      20                  Do you see that there?

      21          A.      I do.

      22          Q.      So do you remember ever reading the letter

      23    that's referred to here, December 2007 DEA letter?

      24          A.      I do.

     Golkow Litigation Services                                            Page 128
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 129Confidentiality
                                                           of 198. PageID #: 260635
                                                                               Review

       1          Q.      Do you -- do you remember when you first

       2    saw it?

       3          A.      I -- I remember seeing it with Tom when he

       4    met with us and I believe we also saw it in one of our

       5    DEA annual trainings or meetings.

       6          Q.      Okay.    Do you remember the -- what year

       7    that was when you first saw it?

       8          A.      I can't recall the exact time on it.

       9          Q.      All right.      And then the next bullet down

      10    from there is "Order of Interest Evaluation Versus

      11    Suspicious Order Investigation."

      12                  That -- what does that language mean?

      13          A.      As I mentioned yesterday, we -- we looked

      14    at three phases.       Once -- one, the pended order, so it

      15    pended and we reviewed it.          If -- when it pended and

      16    reviewed, if we didn't have enough information or even

      17    if we did get justification, if it wasn't something

      18    that substantiated the review of -- the release of the

      19    order, we considered it an order of interest, and all

      20    orders of interest were escalated over to DEA

      21    compliance.      That's considered in -- in our

      22    explanation an order of interest.

      23                  If DEA compliance received those and they

      24    reviewed them and did not feel that there was

     Golkow Litigation Services                                            Page 129
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 130Confidentiality
                                                           of 198. PageID #: 260636
                                                                               Review

       1    legitimate justification or information or legitimate

       2    reporting or data to back it up, they considered it a

       3    suspicious order.

       4          Q.      Okay.    So, and on the next page, 674, it

       5    says in quotations:

       6                  "'Order of Interest'" and then closed

       7    quotations, "Investigation:           Re" -- "Red Flags," and

       8    there are various advertisements there.

       9                  What does that mean?

      10          A.      This would have been, as part of the due

      11    diligence review, things that would have been

      12    investigated, review of websites, so when we

      13    investigated 867 data, we would have potentially seen

      14    that there was multiple wholesalers selling to

      15    somebody that we then thought looked like a red flag.

      16    It would have been a product of ours that we saw being

      17    sold by -- to a pharmacy by multiple wholesalers, we

      18    would have looked that pharmacy up.

      19                  In this case I believe it was Palm Beach

      20    Pain and Rejuvenation, we would have looked them up

      21    and we would have said, Oh, good -- goodness, look at

      22    these ads.      This is a red flag.        So where it says

      23    "Investigation:       Red flags" and this is the ads that

      24    would have been identified.

     Golkow Litigation Services                                            Page 130
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 131Confidentiality
                                                           of 198. PageID #: 260637
                                                                               Review

       1          Q.      All right.      And moving on into the next

       2    page, it states:

       3                  "'Orders of Interest'" -- "'Order of

       4    Interest' Disposition."

       5                  And can you tell me what this language

       6    means?

       7          A.      Let me just read through this a second.

       8          Q.      Sure, yeah, yeah.

       9          A.      So that's just an explanation of the

      10    process of the investigation and the steps after the

      11    investigation.

      12          Q.      All right.      So then the last one there

      13    says:

      14                  "All suspicious orders are reported to the

      15    DEA Chicago field office."          And below that it says:

      16    "To date, Watson has reported a few suspicious orders

      17    to the Chicago field office."

      18                  And when you wrote that:          "To date Watson

      19    has repute" -- "reported a few suspicious orders" --

      20    "a few suspicious order to the Chicago field office,"

      21    what did that mean?

      22          A.      Well, I -- I can't guarantee that I'm the

      23    person that wrote that.

      24          Q.      Okay.

     Golkow Litigation Services                                            Page 131
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 132Confidentiality
                                                           of 198. PageID #: 260638
                                                                               Review

       1          A.      My understanding of that was at that point

       2    in time we did have some suspicious orders and they

       3    were reported to the Chicago field office.

       4          Q.      So does that mean in that year 2012 or

       5    over a number of years or something else?

       6          A.      I can't recall if this was only speaking

       7    about what was going on that year, so I don't want to

       8    just make a general statement.

       9          Q.      Okay.    And then on the notes on the next

      10    page, 676, it states:

      11                  "Please do not promise your customer

      12    controlled product with the impression that marketing

      13    is the only approval process.           Typically the large

      14    wholesalers are not an issue.           However, smaller

      15    wholesaler and distributors, and some chains, and

      16    mail-order will be held and required to provide

      17    documentation.       All responses are auditable."

      18                  Do you see that there?

      19          A.      I do.

      20          Q.      Do you remember that note being part of a

      21    presentation that you gave in 2012?

      22          A.      I don't remember the note being part of

      23    the presentation.

      24          Q.      Okay.    And do you remember ever saying to

     Golkow Litigation Services                                            Page 132
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 133Confidentiality
                                                           of 198. PageID #: 260639
                                                                               Review

       1    someone, "Please do not promise your customer

       2    controlled product with the impression that marketing

       3    is the only approval process"?

       4          A.      I remember that we strongly stressed that

       5    marketing is not part of the approval process and not

       6    to -- and that they are not allowed to approve any

       7    controlled substance order.

       8          Q.      Does that sentence there:          "Please do not

       9    promise your customer controlled product with the

      10    impression that marketing is the only approval

      11    process," help you understand to whom this Exhibit 35

      12    presentation was made?

      13          A.      This may have been just to our internal

      14    customer service team.         I don't know.

      15          Q.      Okay.    Could it have been to the marketing

      16    group?

      17          MS. LEVY:      Objection to form.

      18    BY THE WITNESS:

      19          A.      I don't know.

      20          MS. LEVY:      You can answer.

      21    BY THE WITNESS:

      22          A.      I don't know.

      23    BY MR. EGLER:

      24          Q.      And then the 676 page continues:

     Golkow Litigation Services                                            Page 133
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 134Confidentiality
                                                           of 198. PageID #: 260640
                                                                               Review

       1                  "Typically the large wholesalers are not

       2    an issue, however, smaller wholesaler and

       3    distributors, and some chains, and mail-order will be

       4    held and required to provide documentation."

       5                  So do you remember writing that language?

       6          A.      I don't.

       7          Q.      Do you remember ever having the impression

       8    that typically large wholesalers are not an issue with

       9    regard to the SOMS system at Watson around this time?

      10          A.      I don't think that that's the context of

      11    what that comment made, because they were in

      12    partnership calls with us constantly.              So I can't

      13    speak to exactly what the comment was referencing.

      14          Q.      All right.      And then the next statement

      15    is:   "All responses are auditable."

      16                  Do you see that there?

      17          A.      I do.

      18          Q.      What does that mean in the context of this

      19    document?

      20          A.      I don't know what it means in the context

      21    of this document.        I know what "all responses are

      22    auditable" mean.

      23          Q.      What does that mean to you?

      24          A.      That when we receive justif --

     Golkow Litigation Services                                            Page 134
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 135Confidentiality
                                                           of 198. PageID #: 260641
                                                                               Review

       1    justification from customers and we were forwarding

       2    them over to DEA affairs, that we wanted to ensure

       3    that customer responses on their justification are

       4    auditable as part of our suspicious order monitoring.

       5          Q.      So the word you used, "auditable," what

       6    does that mean in the context of what you are saying?

       7          A.      Well, everything that we, obviously, did

       8    on suspicious order monitoring and -- or any

       9    transaction is -- is auditable, right.              I mean,

      10    it's -- every transaction is auditable.

      11          Q.      And who would be doing the auditing that

      12    you are thinking of when you say "all responses are

      13    auditable"?

      14          A.      Well, we had -- as you know, we talked

      15    about it yesterday.        We had an internal audit team, we

      16    had a -- we had financial auditing teams, we had

      17    compliance auditing teams.

      18          Q.      Okay.    So is this like a statement that

      19    whatever is said to justify the clearing of a

      20    suspicious order may be subject to an audit?

      21          A.      Subject to any type of audit.

      22          Q.      Okay.

      23          A.      I wanted to make sure it was accurate.

      24          Q.      All right.      And then the next page, 7 --

     Golkow Litigation Services                                            Page 135
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 136Confidentiality
                                                           of 198. PageID #: 260642
                                                                               Review

       1    or 677 and 678 -- well, 677, can you tell me what this

       2    page is discussing?

       3          A.      This discusses the partnerships -- calls

       4    that we discussed earlier.

       5          Q.      All right.      And then the next page is

       6    another series of notes.          And then moving on into

       7    the -- the following page is "Progressive Results."

       8                  Do you see that there, Page 679?             It

       9    states, "Progressive Results."            And it says:

      10                  "Results of partnership conference call.

      11    Customers are able to grow their business, but we need

      12    documentation/visibility to be justifiable.                Customers

      13    willing to provide 852 and 867 data, data

      14    comprehensive" -- I'm sorry -- "data comprehension,

      15    order justification, customers willing to implement

      16    more stringent and rigorous requirements for SOMS

      17    evaluation process, partnering with our DEA affairs

      18    department, thorough customer questionnaires, thorough

      19    vetting process/site visits, periodic site visits, and

      20    mix of products on contracts and orders."

      21                  Do you see that there?

      22          A.      I do.

      23          Q.      What does that -- those various sentence,

      24    what do those mean all together?

     Golkow Litigation Services                                             Page 136
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 137Confidentiality
                                                           of 198. PageID #: 260643
                                                                               Review

       1          A.      And so you'll remember we had a

       2    conversation yesterday that we did not sell only

       3    controlled substances to people.

       4          Q.      Uh-huh.

       5          A.      The mix of this means that in order to --

       6    do you -- do you have one particular one you want me

       7    to start with?

       8          Q.      No.    I was thinking just in general as

       9    it's referred to as "progressive results"?

      10          A.      Progressive results means that as --

      11    progressive results means that the partnership calls

      12    that we were having with people on controlled

      13    substance, on controlled substances in general allowed

      14    us to learn more about the customers, their policies,

      15    their systems, how things were controlled, how they

      16    controlled their controlled substances, their vetting

      17    processes, allowed us to get more data from them if

      18    they were going to purchase controlled substances with

      19    us.   So we felt that we got progressive results by

      20    having these partnership meetings.

      21          Q.      All right.      And then can you move onto the

      22    next page, it's a Page 681.           It states:     "Watson 'New'

      23    Accounts."

      24                  And can you tell me what that shows?

     Golkow Litigation Services                                            Page 137
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 138Confidentiality
                                                           of 198. PageID #: 260644
                                                                               Review

       1          A.      So this talks about a new account process.

       2          Q.      And what do the -- what is the form that

       3    is there and the text that appears to the right of the

       4    form mean?

       5          A.      Well, it appears that this is part of the

       6    new account process.

       7          Q.      Okay.    Do you remember presenting about

       8    the new account system at Watson in 2012?

       9          A.      I could have.       I don't remember, but I

      10    could have.

      11          Q.      Okay.    Do you know why the new account

      12    system would have been part of your presentation?

      13          A.      I mean, it -- it could have been a lot of

      14    presentations that we would have done this on because

      15    this is part of our responsibility.

      16          Q.      All right.      So then the next two pages,

      17    682 and 683 are about carisoprodol?

      18          A.      Correct.

      19          Q.      And is that -- is carisoprodol an opioid?

      20          A.      Carisoprodol is a C-IV.

      21          Q.      Carisoprodol, sorry.         That's

      22    c-a-r-i-s-o-p-r-d-o-l, and is it an opioid, though?

      23          A.      I do -- I don't know if it's a -- I do not

      24    believe so.

     Golkow Litigation Services                                            Page 138
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 139Confidentiality
                                                           of 198. PageID #: 260645
                                                                               Review

       1          Q.      All right.

       2          A.      It wasn't even a control until

       3    December 12th, 2011.

       4          Q.      All right.      And then the next page is 684

       5    after those two.       It states, "CSOS."

       6                  Do you have an understanding of what CSOS

       7    is?

       8          A.      Yes, I do.

       9          Q.      What is CSOS?

      10          A.      Controlled substance ordering system.

      11          Q.      Okay.    What is a controlled substance

      12    ordering system?

      13          A.      It is an electronic method to submit

      14    orders for C-IIs.

      15          Q.      Okay.    And how did the CSOS at Watson

      16    differ from prior ordering systems at Watson?

      17          A.      It's only for C-II controlled substances.

      18    Prior to controlled substance ordering system being

      19    able to electronic -- before customers were able --

      20    before the existence of CSOS, before the existence of

      21    customers being able to electronically submit a C-II

      22    order, every order was manual.            Customers write --

      23    would write out manually a 222 form.             Part of it would

      24    get submitted to the DEA and then part of it would be

     Golkow Litigation Services                                            Page 139
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 140Confidentiality
                                                           of 198. PageID #: 260646
                                                                               Review

       1    mailed to a company.         This allowed them to

       2    electronically submit a C-II order which would go

       3    through the DEA and then come to our company.

       4          Q.      All right.      And does this chart show that

       5    in 2009, 5 percent of the Schedule II controlled

       6    substances orders were submitted or received via CSOS

       7    and by 2011 the number was 74 percent?

       8          A.      That -- yes, that appears to be what this

       9    shows.

      10          Q.      All right.      All right.      That's all I have

      11    for -- oh, the very last page of this document, and we

      12    had talked about this before, the "CRA Alignment," do

      13    you see that there?

      14          A.      Yes.

      15          Q.      And yesterday as we were talking, I think

      16    you had said that as you think about it today there

      17    are about ten customers for controlled substances at

      18    Allergan, is that right?

      19          A.      Yeah.    It's -- it's a -- I don't know that

      20    that's the exact number, but it is a very small

      21    amount.

      22          Q.      Right.     And you had said previously there

      23    were more customers for controlled substances at

      24    Watson, and that difference between ten and the number

     Golkow Litigation Services                                            Page 140
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 141Confidentiality
                                                           of 198. PageID #: 260647
                                                                               Review

       1    that is shown here, is that the difference you were

       2    thinking of, on the very last page of the document?

       3          A.      This alignment does not represent that all

       4    of these customers were controlled substance --

       5          Q.      Okay.

       6          A.      -- customers.       At all.

       7          Q.      Oh, okay.

       8          A.      That's just the alignment of customers to

       9    the na -- to the director of national accounts.

      10          Q.      Got it.     All right.      Thank you.

      11          A.      You're welcome.

      12          MR. EGLER:      So let's take a break for lunch.

      13          THE VIDEOGRAPHER:        The time is approximately

      14    12:19 p.m.      And we are going off the record.

      15                       (WHEREUPON, a recess was had

      16                         from 12:19 to 1:15 p.m.)

      17          THE VIDEOGRAPHER:        We are back on the record.

      18    The time is approximately 1:15 p.m.

      19    BY MR. EGLER:

      20          Q.      Ms. Woods, thanks for coming back.

      21                  I'm going to hand you what we'll mark as

      22    Exhibit 36.

      23                       (WHEREUPON, a certain document was

      24                         marked Allergan - Woods Deposition

     Golkow Litigation Services                                            Page 141
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 142Confidentiality
                                                           of 198. PageID #: 260648
                                                                               Review

       1                         Exhibit No. 36, for identification,

       2                         as of 01/10/2019.)

       3    BY MR. EGLER:

       4          Q.      And can you look generally through

       5    Exhibit 36.      And as you are looking through it, and

       6    you don't have to read all of that text because I'll

       7    ask you some questions about it, but I'll read on the

       8    record it's Bates numbered Allergan_MDL_03776365

       9    through 6387.

      10                  And we had been talking earlier today

      11    about your use of the program known as Microsoft

      12    One Note and that we had looked at a document that had

      13    a similar format to this.          And we -- think we

      14    established that it came from a One Note file.                And

      15    I'll tell you that based on the information we've been

      16    presented in this case, this document also came from

      17    your files or you were the custodian of this document.

      18                  I'm not going to ask you about the entire

      19    document, but based on that understanding from the

      20    previous document and looking at it today, does this

      21    appear to you to be similar to that prior document and

      22    the -- what a Microsoft One Note file would look like

      23    if it were printed out?

      24          A.      Yes, that appears to be a Microsoft

     Golkow Litigation Services                                            Page 142
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 143Confidentiality
                                                           of 198. PageID #: 260649
                                                                               Review

       1    One Note document.

       2          Q.      All right.

       3                  So with regard to this particular

       4    document, can you turn to page -- what's marked as

       5    Native File Download Page 7, and it's a Bates

       6    No. 6371.     And then at the top of the page, there is a

       7    notation that says "SOMS June 24th, NJ."

       8                  Do you see that there?

       9          A.      I do.

      10          Q.      Okay.    Could you read from that page to

      11    the next, I think three pages, that's where the next

      12    seeming header comes in.          Just look at it generally.

      13    You don't have to read the whole thing, but tell me if

      14    these appear to be your writing as far as you

      15    understand?

      16          A.      I don't know if it is notes I typed or

      17    notes I interfaced, but they are notes from the 24th.

      18          Q.      When you say -- I'm sorry.

      19                  When you say notes you interfaced, what

      20    does that mean?

      21          A.      Such as receiving an e-mail and copying it

      22    into my One Note or all meeting notes that I took and

      23    put into my One Note.

      24          Q.      As you look at these notes, do you have a

     Golkow Litigation Services                                            Page 143
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 144Confidentiality
                                                           of 198. PageID #: 260650
                                                                               Review

       1    feeling of who, other than you, they could have been

       2    written by?

       3           A.     They could have been written by somebody

       4    in attendance in a meeting and sent in an e-mail that

       5    I would have copied into an e-mail, but I don't

       6    know -- if -- without the header of the e-mail, I

       7    wouldn't know.       It looked -- they would be copied and

       8    pasted.

       9           Q.     All right.      So as you sit here today, one

      10    way or another, you can't tell whether this is your

      11    writing or somebody else's?

      12           A.     Yeah, that took meeting notes and sent

      13    them.

      14           Q.     All right.

      15                  As you worked in a -- at Watson, was there

      16    someone that you can recognize whose job it was to

      17    take notes at meetings around this time, June to

      18    September 2012?

      19           A.     Typically it would have -- it could have

      20    been anybody that attended the meeting that set the

      21    meeting up would have typically sent the meeting notes

      22    out.

      23           Q.     As you think about around this time, 2012,

      24    during the, excuse me, Watson acquisition of Actavis,

     Golkow Litigation Services                                            Page 144
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 145Confidentiality
                                                           of 198. PageID #: 260651
                                                                               Review

       1    do you remember taking your own computer to meetings

       2    with people from Actavis?

       3          A.      Yes, I would have.

       4          Q.      Okay.    Do you remember whether you made it

       5    a practice at meetings to type notes into a One Note

       6    file?

       7          A.      Yes, I did.

       8          Q.      All right.      Do you remember whether as a

       9    practice you delegated that task to anyone else at any

      10    time?

      11          A.      No.    I -- I mean, if I attended the

      12    meeting, I would have taken the notes.              If I didn't

      13    set the meeting up, somebody else could have taken the

      14    notes and sent them to me.

      15          Q.      Okay.    So, is it fair to say your practice

      16    around this time, May 2012, was to take notes at

      17    meetings?

      18          A.      It could have been my practice any time.

      19          Q.      All right.      Was it your practice at this

      20    time to take notes at meetings with people from

      21    Actavis?

      22          A.      I'm not -- I'm not sure I understand what

      23    you mean.

      24          Q.      So, the notes in question say:

     Golkow Litigation Services                                            Page 145
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 146Confidentiality
                                                           of 198. PageID #: 260652
                                                                               Review

       1                  "SOMS June 24th, New Jersey," and then

       2    below there it says:         "June 24th Rose B, Lisa S, Mary

       3    W, Frank C, Tom N, Nancy, Sandy S, Laura P."

       4                  So in the context of this, do you know who

       5    Rose B would be?

       6          A.      Yes.

       7          Q.      Who?

       8          A.      Rose Bentravato.        She was a Watson

       9    employee.

      10          Q.      Okay.    And then Lisa S, do you know who

      11    that is?

      12          A.      Lisa Scott was from compliance at Watson.

      13          Q.      All right.

      14          A.      And then myself and --

      15          Q.      And Frank C, do you know who Frank C could

      16    be?

      17          A.      Oh, yes.     Frank Chen would have been

      18    our -- in our IT team.

      19          Q.      Okay.

      20          A.      And then Tom Napoli would have been

      21    compliance.      And the Nancy would have probably been

      22    Nancy Baran, Sandra Simmons, and Laura Pinti, they

      23    would have all been Watson people.             And obviously I am

      24    the Mary W.

     Golkow Litigation Services                                            Page 146
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 147Confidentiality
                                                           of 198. PageID #: 260653
                                                                               Review

       1          Q.      Was Nancy Baran a Watson person?

       2          A.      Nancy was an Actavis person.

       3          Q.      All right.

       4          A.      She is the only Actavis person I see on

       5    here.

       6          Q.      Okay.    So there is a statement there:

       7                  "Third-party distributor - UPS, UPS used a

       8    'homegrown' SOMS system, local DEA office reviewed.

       9    UPS has three resources for Actavis."

      10                  Do you remember having a conversation

      11    along those lines in, say, June 24th at a meeting with

      12    the people who are listed there?

      13          A.      Information -- that would have had to have

      14    been provided by Actavis.          I would not -- we wouldn't

      15    have known that information.

      16          Q.      All right.      So, and then moving down into

      17    this document, it states:          "Direct Sales."

      18                  Do you see that there?

      19          A.      I do.

      20          Q.      It says:     "Implemented statistical model

      21    that is 'defensible.'"

      22                  Do you remember having that discussion

      23    that an Actavis model regarding direct sales was

      24    defensible?

     Golkow Litigation Services                                            Page 147
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 148Confidentiality
                                                           of 198. PageID #: 260654
                                                                               Review

       1          A.      I would have not remembered any particular

       2    conversation in it.

       3          Q.      Okay.    And, again, do you remember any of

       4    those other people who are listed there taking notes

       5    at a meeting around mid-June and sending them to you?

       6          A.      I couldn't remember back to June of 2012

       7    if they --

       8          Q.      Okay.

       9          A.      -- would not -- would have or would not

      10    have.

      11          Q.      As you think about the work --

      12    relationship with the people who are there, would any

      13    of those people have the responsibility for taking

      14    notes for you at a meeting like this?

      15          A.      I would imagine everybody would have taken

      16    their own notes or Nancy would have provided us notes

      17    based on the Actavis system.

      18          Q.      As you think about it, would any of the

      19    people here make a habit of sending you their notes

      20    from a meeting that you attended?

      21          A.      Yes, we would have commonly sent notes to

      22    each other from meetings that we attended.

      23          Q.      So would you have received all of the

      24    notes from, say, Tom Napoli?

     Golkow Litigation Services                                            Page 148
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 149Confidentiality
                                                           of 198. PageID #: 260655
                                                                               Review

       1          A.      I can't recall if he would have sent me

       2    notes from this meeting back in 2012.

       3          Q.      Would he have sent you notes from other

       4    meetings, all of his notes from other meetings?

       5          MS. LEVY:      Object to form.

       6    BY THE WITNESS:

       7          A.      From all of his other meetings?

       8    BY MR. EGLER:

       9          Q.      No, I'm sorry.       I -- I -- I said that a

      10    little -- in a cumbersome manner.

      11                  Do you remember a time when Tom Napoli

      12    sent you all of the notes that he had from a

      13    particular meeting that you attended?

      14          A.      He may have.

      15          Q.      Do you -- do you remember any particular

      16    time when that occurred?

      17          A.      Not off the top of my head, but he -- he

      18    may have.

      19          Q.      How about the other people that are listed

      20    up there on June 24th, do you remember any particular

      21    time when you and they attended a meeting and they

      22    sent you all of the notes that they took at a meeting?

      23          A.      Yes.

      24          Q.      Okay.    Let's go through.

     Golkow Litigation Services                                            Page 149
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 150Confidentiality
                                                           of 198. PageID #: 260656
                                                                               Review

       1                  Rose B, do you remember a time when she

       2    sent you --

       3          A.      Yes.

       4          Q.      Okay.    When would she have sent you her

       5    notes?

       6          A.      Well, she was the head of order management

       7    and she would have sent me notes from meetings,

       8    forecast meetings or things with customers.

       9          Q.      Okay.    Do you remember where -- whether

      10    she sent you these notes?

      11          A.      I don't remember in particular.

      12          Q.      Okay.    How about --

      13          A.      And just to be clear, I didn't say these

      14    weren't my notes.        I said I just couldn't remember if

      15    they were my notes.

      16          Q.      Okay.    How about Lisa S, do you remember

      17    her sending you notes on anything?

      18          A.      Yes.

      19          Q.      Okay.

      20          A.      I do.

      21          Q.      And what would the circumstances of her be

      22    to send you notes?

      23          A.      Well, Lisa was from the compliance team,

      24    so you've already seen some notes that she sent me.

     Golkow Litigation Services                                            Page 150
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 151Confidentiality
                                                           of 198. PageID #: 260657
                                                                               Review

       1          Q.      All right.

       2                  And how about Frank C.?

       3          A.      Frank Chen was in IT and he would have

       4    sent me notes on different projects and meetings that

       5    we attended.

       6          Q.      Okay.    Do you think he sent you these

       7    notes here?

       8          A.      Well, this isn't a I -- necessarily an IT

       9    thing, so I don't know if he would have or would not

      10    have.

      11          Q.      All right.      And how about Nancy Baran?

      12          A.      Yes, Nancy frequently sent meetings notes.

      13          Q.      Okay.    Do you remember her sending you

      14    these notes?

      15          A.      I can't recall who sent me these notes.

      16    I've established that.

      17          Q.      Okay.    If -- if anybody did, right?

      18          A.      If anybody did, that's correct.

      19          Q.      And then the next one is Sandy S.             Would

      20    Sandy S have sent you notes on a regular occasion?

      21          A.      She would have sent notes on occasion if

      22    she was in a meeting and I needed the notes, correct.

      23          Q.      Okay.    Do you remember whether she sent

      24    you these notes?

     Golkow Litigation Services                                            Page 151
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 152Confidentiality
                                                           of 198. PageID #: 260658
                                                                               Review

       1          A.      I do not.

       2          Q.      Okay.    And then Laura P?

       3          A.      Laura Pinti sent meetings notes if she

       4    attended as well, but I cannot recall if she sent

       5    meetings notes from this.

       6          Q.      So, and just so we're clear, you don't

       7    remember one way or another whether she sent you these

       8    notes that appear on Page 371 of this exhibit?

       9          A.      That -- that's correct, or part of them.

      10          Q.      All right.      So going down into this

      11    document, it states:         "Know your customer."

      12                  Do you see that there?

      13          A.      I do.

      14          Q.      It says, "Actavis" -- two lines down it

      15    says -- or one line down it says:             "Customer profiles

      16    pertain to 'survey' Cegedim provided."

      17                  Do you see there?

      18          A.      I do.

      19          Q.      Do you remember having a discussion about

      20    customer profiles in a survey that was part of

      21    Actavis's suspicious order monitoring system around

      22    this time, 2012?

      23          A.      The notes that I read here are what we

      24    would -- what I would have known.

     Golkow Litigation Services                                            Page 152
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 153Confidentiality
                                                           of 198. PageID #: 260659
                                                                               Review

       1          Q.      All right.      And then the next line down,

       2    it says:

       3                  "Actavis - approx 30 customers of controls

       4    plus Optisource, Premier."

       5                  In the context of your work, do you

       6    recognize the term "Optisource"?

       7          A.      I do.

       8          Q.      What is Optisource?

       9          A.      A buying group.

      10          Q.      And when you say "a bry" -- "a buying

      11    group," what do you mean?

      12          A.      A buying group means that there's multiple

      13    members and they belong to Optisource and Optisource

      14    creates a contract to give them better buying power.

      15          Q.      All right.      And how about the word

      16    "Premier," what does that mean to you in the context

      17    of your work?

      18          A.      They are a different buying group.

      19          Q.      And then it says the:

      20                  "Current system does not block orders,

      21    however they have the data."

      22                  Do you see that there?

      23          A.      I do.

      24          Q.      Do you remember writing that?

     Golkow Litigation Services                                            Page 153
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 154Confidentiality
                                                           of 198. PageID #: 260660
                                                                               Review

       1          A.      I -- I don't.

       2          Q.      Okay.    Do you remember having an

       3    understanding that in the middle of 2012 the then

       4    current system at Actavis did not block orders but had

       5    the data?

       6          A.      I understand how the system works today,

       7    but I don't know if at that time I would have

       8    understood that comment.

       9          Q.      All right.      And:    "May need to pull back

      10    orders in question."

      11                  Do you remember writing that down?

      12          A.      I don't.

      13          Q.      All right.      And it says:      "Actavis will

      14    report to DEA those that are in question."

      15                  And then further down into this document,

      16    it states:

      17                  "EDI and manual 13,299 order lines passed

      18    through model 2017 manual, 11,282 EDI."

      19                  In the context of your work, do you have

      20    an understanding of what that line means?

      21          A.      I mean, I know what EDI is.           I'm a little

      22    skeptical to make an assumption here.

      23          Q.      Okay.

      24          A.      So I would probably prefer not to do that.

     Golkow Litigation Services                                            Page 154
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 155Confidentiality
                                                           of 198. PageID #: 260661
                                                                               Review

       1          Q.      Okay.    But with the understanding that you

       2    don't absolutely know, as you piece those pieces of

       3    the sentence together, what does it mean to you?

       4          MS. LEVY:      Objection; calls for speculation.

       5    BY MR. EGLER:

       6          Q.      You can speculate.        I've just asked you

       7    to.   I've called for you to speculate.

       8          MS. LEVY:      Okay.

       9    BY THE WITNESS:

      10          A.      It --

      11          MS. LEVY:      If -- if you don't know, you can also

      12    say that.

      13          MR. EGLER:      No, stop.

      14    BY MR. EGLER:

      15          Q.      I've asked you for a speculation on this,

      16    please.

      17          A.      I am speculating that it states that EDI

      18    and manual orders created 13,299 order lines that

      19    passed through the SOMS model in 2017, that the manual

      20    lines were 11,282 of those lines and that the EDI were

      21    746, but the why I am confused is because the word

      22    "orders" appears after 746 when the other ones refer

      23    to lines, so that's why I'm not clear.

      24          Q.      All right.      So let's move down into this

     Golkow Litigation Services                                            Page 155
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 156Confidentiality
                                                           of 198. PageID #: 260662
                                                                               Review

       1    piece of text here where it says "McKesson."

       2                  Do you see that there?

       3          A.      I do.

       4          Q.      It says:

       5                  "McKesson is very high" and then in -- it

       6    has the dollar sign and then an S comma, "lower in

       7    percentage.      95 percent of revenue on hold."

       8                  In the context of your work, do you have

       9    an understanding of what those two sentences mean?

      10          A.      Again, this is going to be speculation

      11    because --

      12          Q.      Uh-huh.

      13          A.      -- this is Actavis information and I'm not

      14    familiar from 2012.

      15          Q.      Okay.

      16          A.      So I would prefer not to speculate.

      17          Q.      Okay.    And I'm going to ask you to

      18    speculate as you --

      19          MS. LEVY:      You do not have to guess or

      20    speculate --

      21          MR. EGLER:      Actually --

      22          MS. LEVY:      -- as an answer if you don't know.

      23          MR. EGLER:      I'm going to --

      24          MS. LEVY:      That is your -- my instruction to

     Golkow Litigation Services                                            Page 156
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 157Confidentiality
                                                           of 198. PageID #: 260663
                                                                               Review

       1    you.

       2           MR. EGLER:     I --

       3           MS. LEVY:     If you know, you can, but you do not

       4    have to guess about answers that you don't know.

       5    BY THE WITNESS:

       6           A.     I don't because it is not my information.

       7    And this is not my system, so I don't know.

       8    BY MR. EGLER:

       9           Q.     So if it said McKesson is very high in

      10    dollars but lower in percentage, what would that mean

      11    to you in the context of your work?

      12           MS. LEVY:     Same objection.

      13    BY THE WITNESS:

      14           A.     I -- I don't know -- I don't understand

      15    what the context of this comment is, so I -- I really

      16    don't know.

      17    BY MR. EGLER:

      18           Q.     Okay.    Have you ever heard the term

      19    "revenue on hold" in the context of your work at

      20    Act- -- at Watson and Allergan?

      21           A.     Revenue on hold would be -- I -- I don't

      22    know in the context of -- of this.

      23           Q.     Okay.

      24           A.     I mean, I don't -- I can't understand

     Golkow Litigation Services                                            Page 157
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 158Confidentiality
                                                           of 198. PageID #: 260664
                                                                               Review

       1    these notes because they are very brief, so it is very

       2    difficult for me to know.

       3          Q.      Separate from these notes, have you ever

       4    heard of the term "revenue on hold"?

       5          A.      In what -- in what context?

       6          Q.      In the context of any of your work.

       7          A.      In the context of any of my work, revenue

       8    on hold means that it is not processed.

       9          Q.      All right.

      10          A.      The order is not processed.

      11          Q.      So next two lines down states:

      12                  "Actavis system can release even though

      13    under investigation."

      14                  Do you have an understanding of around the

      15    middle of June 2012 you attended a meeting where there

      16    is a discussion or a conclusion that the Actavis SOM

      17    system could release orders even though they were

      18    under investigation?

      19          A.      I'm not familiar enough with the Actavis

      20    system.     That's why I don't --

      21          Q.      Okay.

      22          A.      -- want to comment.         I don't know their

      23    system.

      24          Q.      And what I'm asking you is do you

     Golkow Litigation Services                                            Page 158
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 159Confidentiality
                                                           of 198. PageID #: 260665
                                                                               Review

       1    remember, do you have an independent memory of being

       2    at a meeting where that issue was discussed?

       3          A.      Probably not from 2012.

       4          Q.      Okay.    Do you remember attending a later

       5    or earlier meeting where that issue was discussed?

       6          A.      That really is -- no, they had a

       7    different -- they had a parallel system running at the

       8    time, which was the Cegedim system, so I am not -- I

       9    am not familiar with this.

      10          Q.      And then the next sentence says:             "If

      11    order passes SOM, Actavis cancel line and order will

      12    be" -- "not go to SOMS again."

      13                  Do you remember attending a meeting in

      14    mid-2012 where that issue was discussed?

      15          A.      I -- I can't recall from that far back.

      16          Q.      Okay.    All right.      So can you turn to the

      17    next page.      And about halfway down this page, there is

      18    a statement "Know your Customer" and it says "DEA has

      19    ARCOS" and then "- visibility of all supplies to

      20    indirect account."

      21                  And then the next line is:           "Data is based

      22    on chargeback data, Actavis will only provide contract

      23    for some controls under chargeback terms."

      24                  Do you see that there?

     Golkow Litigation Services                                              Page 159
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 160Confidentiality
                                                           of 198. PageID #: 260666
                                                                               Review

       1          A.      I do.

       2          Q.      Do you remember that issue being discussed

       3    at a mid-2012 meeting discussing Actavis's SOM

       4    processes?

       5          A.      Not in particular.

       6          Q.      Okay.    And then the next two statements

       7    underneath there, it says, "Indirect."

       8                  Do you see that there?

       9          A.      I do.

      10          Q.      And there is an "Indirect" and it says:

      11    "- ValueCentric 867 downstream data."

      12                  Do you see that there?

      13          A.      I do.

      14          Q.      And we had talked about that term

      15    "ValueCentric" --

      16          A.      Uh-huh.

      17          Q.      -- before, right?

      18          A.      That is correct.

      19          Q.      Okay.    And what does ValueCentric 867

      20    downstream data mean?

      21          A.      So we've discussed this several times.              So

      22    ValueCentric 867 data, as I've explained before, is

      23    when the wholesalers send in their downstream data,

      24    meaning who they are selling to, that's their

     Golkow Litigation Services                                            Page 160
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 161Confidentiality
                                                           of 198. PageID #: 260667
                                                                               Review

       1    downstream data, that's 867.

       2          Q.      And that 867 downstream data only includes

       3    the data regarding the NDC codes of the -- the entity

       4    that is buying the data, is that right?

       5          A.      That is correct.

       6          Q.      All right.

       7          A.      Exactly as we discussed before.

       8          Q.      So, and then the two lines down from

       9    there, it states:        "Multiple source purchasing."

      10                  Do you remember being in a meeting in

      11    mid-2012 where people dis -- were discussing multiple

      12    source purchasing in the context of ValueCentric 867

      13    downstream data?

      14          A.      Not really.

      15          Q.      Okay.    All right.      Can you move three

      16    pages ahead in this document to Page 6375 and look at

      17    this page and tell me what it appears to you to be?

      18          A.      One Note, meeting from August 16th of

      19    2012.

      20          Q.      Okay.    And when you say a One Note

      21    meeting, what does that mean?

      22          A.      Well, it is a One Note and the meeting

      23    date is 8/16 of 2012.

      24          Q.      All right.      And then it says:

     Golkow Litigation Services                                            Page 161
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 162Confidentiality
                                                           of 198. PageID #: 260668
                                                                               Review

       1                  "SOMS: - Actavis Meeting 8/16/2012."

       2                  Do you remember having a meeting to

       3    discuss Actavis's SOM system around August 2012?

       4          A.      I do.

       5          Q.      All right.      Now, as you look at these --

       6    the language that appears down here, do you recognize

       7    these as your notes?

       8          A.      I remember a meeting with Nancy, Umish,

       9    Scott and myself.

      10          Q.      Do you remember whether you took notes at

      11    the meeting?

      12          A.      I probably did.

      13          Q.      All right.      Do you have any reason to

      14    believe you didn't take notes at the meeting?

      15          A.      Nope.

      16          Q.      Okay.    The first bullet point down there

      17    says -- well, let's go through.

      18                  Who is Nancy in the context of these

      19    notes?

      20          A.      Nancy Baran.

      21          Q.      And who's Uresh?

      22          A.      I'm sorry.      His name is Umish, but I

      23    didn't know --

      24          Q.      Okay.

     Golkow Litigation Services                                            Page 162
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 163Confidentiality
                                                           of 198. PageID #: 260669
                                                                               Review

       1          A.      -- him at the time, so I'm sure I

       2    misspelled his name.

       3          Q.      Okay.    And was he from Actavis?

       4          A.      He was.

       5          Q.      All right.      And then who is Scott?

       6          A.      Scott Soltis, that was the head of our

       7    security and DEA compliance team.

       8          Q.      All right.      And the Mary is you, is that

       9    right?

      10          A.      Myself.

      11          Q.      All right.      And you write:

      12                  "Not nearly as compliant as we could be,

      13    to the letter of the law prior.            Threshold-based

      14    report system."

      15                  What does that mean?

      16          A.      They had moved to a brand new system

      17    called the Cegedim system that was running live and

      18    they felt that they were much more compliant moving

      19    into the Cegedim system based on the letter of the law

      20    from 2007, which is why they moved to the Cegedim

      21    system.

      22          Q.      All right.

      23          A.      And that system was running live at that

      24    time.

     Golkow Litigation Services                                            Page 163
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 164Confidentiality
                                                           of 198. PageID #: 260670
                                                                               Review

       1          Q.      And then you write down -- or further down

       2    that page, two bullet points down:

       3                  "Ran for a couple of months in production,

       4    does not put orders on hold, just got her first

       5    resource from the brand side."

       6                  Do you remember what you meant by writing

       7    that?

       8          A.      I'm sure it was just abbreviation, so I

       9    probably don't have -- I was taking notes about what

      10    she was communicating.

      11          Q.      All right.      So when you use that term

      12    "resource" in the context of your work, is that like a

      13    dedicated employee or something else?

      14          A.      It would have been a resource that they

      15    had with inside of their organization.

      16          Q.      And a -- a resource in the context as you

      17    use it here is a -- is a person as opposed to a

      18    computer or something, is that right?

      19          A.      To the best of my recollection.            I mean,

      20    you are asking me to comment on notes from, you know,

      21    six -- over six years ago.

      22          Q.      All right.      And then two bullets down from

      23    there you state:       "Did not have resources to support."

      24                  And do you know what that means in the

     Golkow Litigation Services                                            Page 164
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 165Confidentiality
                                                           of 198. PageID #: 260671
                                                                               Review

       1    context of this document?

       2          A.      Not off the top of my head.           I would have

       3    to know what the discussion was at the time.

       4          Q.      All right.

       5                  Do you remember having a -- making a

       6    conclusion that the Actavis SOM system in August 2012

       7    did not have adequate resources to support it?

       8          A.      I think the conclusion was I was happy

       9    that they were up on Cegedim.           I don't know if I had

      10    any other conclusion.

      11          Q.      Okay.    When you say that you were happy

      12    that they were up on Cegedim, what do you mean?

      13          A.      I thought Cegedim was a good system and

      14    I -- and they communicated that they were up on

      15    Cegedim, and I didn't really know much about their

      16    company at the time.         It was August of 2012.

      17          Q.      All right.      And then down two lines from

      18    there, you state:        "31 - 33 percent are pending,

      19    waiting to retune."

      20                  What did you mean by that?

      21          A.      I can tell you it looks like 31 to

      22    33 percent of the orders were pending and there is

      23    a -- I can tell you what retuning means to Cegedim, I

      24    can't tell you if it's -- so retuning to Cegedim is

     Golkow Litigation Services                                            Page 165
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 166Confidentiality
                                                           of 198. PageID #: 260672
                                                                               Review

       1    they take all of your -- there is -- there is certain

       2    scope of data they take.

       3                  Remember how we talked about the nine

       4    algorithms or algorithms and they have to do retuning.

       5    They retune using all of this data and algorithms.                  I

       6    don't know the whole process, but I'm thinking that

       7    that's what that's reference to.

       8          Q.      All right.

       9                  And then it states:         "Sees the data but

      10    does not act on the recommendation of what the system

      11    tells them to do."

      12                  Do you see that there?

      13          A.      I do.

      14          Q.      What -- what did you mean by that?

      15          A.      I can't tell you based on 2012 notes

      16    because I'm not familiar enough with what the

      17    discussion was at that time.

      18          Q.      All right.      And then two bullets down from

      19    there, it states:

      20                  "They are running a parallel," and then --

      21    that seems to be in bold, and then it states, "is not

      22    managing the system, old system.            DEA would see the

      23    old logic if they did an investigation.              Both systems

      24    are in production environment."

     Golkow Litigation Services                                            Page 166
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 167Confidentiality
                                                           of 198. PageID #: 260673
                                                                               Review

       1                  Do you have a -- a feeling for what that

       2    text means?

       3          A.      That they were running both systems in

       4    parallel.

       5          THE VIDEOGRAPHER:        Pardon me, Counsel, the phone

       6    call actually went out.         Can we go off the record to

       7    get that fixed?

       8          MR. EGLER:      Yeah, absolutely.

       9          THE VIDEOGRAPHER:        The time is approximately

      10    1:44 p.m.     We are going off the record.

      11                       (WHEREUPON, a recess was had

      12                         from 1:44 to 1:50 p.m.)

      13          THE VIDEOGRAPHER:        We are back on the record.

      14    The time is approximately 1:50 p.m.

      15    BY MR. EGLER:

      16          Q.      All right.      Ms. Woods --

      17          A.      We're back.

      18          Q.      -- let's pick up where we left off.             We're

      19    on Exhibit --

      20          MS. LEVY:      Thank you for coming back.

      21    BY MR. EGLER:

      22          Q.      We are on Exhibit 36 and it's a -- we are

      23    on what's marked as "Native File Download Page 11" and

      24    it's Bates No. 6375 and we were talking about the

     Golkow Litigation Services                                            Page 167
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 168Confidentiality
                                                           of 198. PageID #: 260674
                                                                               Review

       1    bullet point that you wrote:

       2                  "These are running at parallel" and

       3    then -- that's in bold, but then the rest of it is,

       4    it -- "is not managing the system, old system.                DEA

       5    would see the old logic if they did an investigation.

       6    Both systems are in production environment."

       7                  So I think you had talked about what you

       8    meant by they are running in parallel.              When you wrote

       9    "DEA would see the old logic if they did an

      10    investigation," what does that mean?

      11          A.      Yeah, I real -- I think we should probably

      12    ask the Actavis Inc. people because this data came

      13    from them.

      14          Q.      Okay.

      15          A.      So it would probably be best to ask

      16    somebody from that side.

      17          Q.      All right.      And then the last one there

      18    is:   "Both systems are in production environment."

      19          A.      Uh-huh.

      20          Q.      And the -- the term "production

      21    environment" as you see that, does that have a meaning

      22    in your work?

      23          A.      In my work, production environment means

      24    that they are functioning in -- in a production

     Golkow Litigation Services                                            Page 168
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 169Confidentiality
                                                           of 198. PageID #: 260675
                                                                               Review

       1    environment, not in a sand box environment, meaning

       2    the real-time environment.

       3          Q.      Okay.    So going down on this page, there

       4    is a thing that says "Action Items."

       5                  Do you see that there, "Nancy and Uresh"?

       6          A.      Correct.

       7          Q.      And you had said before that the Uresh is

       8    actually Umish --

       9          A.      That's correct.

      10          Q.      -- a person at Actavis?

      11                  And it says:

      12                  "What is your implementation strategy for

      13    SOMS??? - Set up a separate meeting to:"               And then you

      14    have various things written down there.

      15                  Do you remember having that discussion

      16    with Nancy Baran and Umish around August 16th, 2012?

      17          A.      I don't recall if there was follow-up

      18    meetings after that.         If there is notes there, it must

      19    have been something discussed in the meeting, that's

      20    the best I could recall, if there is something there.

      21          Q.      All right.      And so then down below there,

      22    it says, "Day 100."

      23                  And do you remember there being a day with

      24    regard to the Watson/Actavis merger that was referred

     Golkow Litigation Services                                            Page 169
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 170Confidentiality
                                                           of 198. PageID #: 260676
                                                                               Review

       1    to as Day 100?

       2          A.      I -- I have to be honest, I don't remember

       3    what Day 100 was --

       4          Q.      Okay.

       5          A.      -- reference to.

       6          Q.      And you've -- you've been with Watson as

       7    they've merged with various companies, is that right?

       8          A.      That is correct.

       9          Q.      As -- as you think of it, is there

      10    typically, like, a countdown clock or some other thing

      11    that the companies try to set up to count down to the

      12    merger?

      13          A.      There is a countdown clock, correct.

      14          Q.      Would that have -- in the context of your

      15    general work, would there have been in some of the

      16    mergers a Day 100 before the merger is supposed to be

      17    final?

      18          A.      There -- there could be, but if they get

      19    pushed out, then Day 100 doesn't mean the Day 100.

      20          Q.      All right.      But would they -- in the

      21    context of a plan date, would you be given various

      22    tasks that were to be done by Day 100 before the

      23    merger and things like that?

      24          A.      Yes, there could be tasks --

     Golkow Litigation Services                                            Page 170
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 171Confidentiality
                                                           of 198. PageID #: 260677
                                                                               Review

       1          Q.      Okay.

       2          A.      -- that could be.        I don't see anything

       3    next to the Day 100, but there could be tasks,

       4    correct.

       5          Q.      All right.      So going down from there,

       6    there is another line that says, meeting August 21st,

       7    2012.

       8                  Do you remember having a meeting on

       9    August 21st, 2012, with the people who are listed

      10    below there and onto the next page?

      11          A.      I -- there's notes there, but, I mean, I

      12    can't remember meetings from 2012, I have to be honest

      13    with you.

      14          Q.      Okay.    So as you look at the notes that

      15    appear on the next page, are these your notes?

      16          A.      I'm -- I would be pretty positive they

      17    would be my notes.

      18          Q.      All right.      So, with regard to this

      19    meeting from August 21st, 2012, do you remember on

      20    the -- on the top of the next page underneath your

      21    name and two other people's names, it says "Meeting

      22    Goals"?

      23          A.      I see that.

      24          Q.      And it states:

     Golkow Litigation Services                                            Page 171
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 172Confidentiality
                                                           of 198. PageID #: 260678
                                                                               Review

       1                  "Day 1 - compliance discussion; Day 1 -

       2    critical deliverables; Day 1 - determine what the risk

       3    is at Day 1;" and then "Day 1" -- "Day 100 - system

       4    deliverables," right?

       5          A.      I see that.

       6          Q.      And then below there you write:

       7                  "Definite risk right now today, current

       8    system is not acceptable to Watson."

       9                  Do you remember having that impression in

      10    August 2012 that the Actavis SOM system was not

      11    acceptable to Watson?

      12          A.      I don't know if I could say what I thought

      13    today in 2012.

      14          Q.      Okay.    So if you would have written that

      15    down in 2012, do you think it would have any meaning

      16    other than that the current system was not acceptable

      17    to Watson?

      18          A.      What I'm reading, I mean, I'm looking at

      19    what I wrote right then, so I must have had some

      20    thoughts about it at the time I wrote it.

      21          Q.      Okay.    And you wrote:       "Definite risk

      22    right now today," is that right?

      23          A.      I did write that.

      24          Q.      And you had substantial experience with

     Golkow Litigation Services                                            Page 172
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 173Confidentiality
                                                           of 198. PageID #: 260679
                                                                               Review

       1    regard to suspicious order monitoring systems in your

       2    career even up to 2012, is that right?

       3          A.      I did.

       4          Q.      And so when you wrote down:           "Definite

       5    risk right now today," you thought that there was a

       6    definite risk right now today as to Actavis's system

       7    at that point, is that right?

       8          A.      Comparing it to what I felt was the Watson

       9    system.

      10          Q.      Okay.    And you wrote down:         "Current

      11    system is not acceptable to Watson," right?

      12                  And that meant that the current Actavis

      13    SOM system was not acceptable to Watson, is that

      14    right?

      15          A.      Or process.

      16          Q.      All right.

      17                  So, and then below there you write:

      18    "Current As-is Process."          And under (a) it says:

      19    "There is no current SOP on the current process."

      20                  Do you see that there?

      21          A.      I do.

      22          Q.      Do you remember writing that down?

      23          A.      I don't remember writing it.

      24          Q.      Do you remember being surprised that there

     Golkow Litigation Services                                            Page 173
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 174Confidentiality
                                                           of 198. PageID #: 260680
                                                                               Review

       1    was no current SOP on the current process for the

       2    Actavis SOM system around August 2012?

       3          A.      I don't know if I was surprised.             A lot of

       4    companies don't have procedures and policies on

       5    things.

       6          Q.      Can you name another company that doesn't

       7    have an SOP on its suspicious order monitoring system?

       8          A.      I -- I don't go and investigate other

       9    companies, but I don't think it's extremely uncommon

      10    that companies, you know.

      11          Q.      Do you think it would be a good practice

      12    for a company not to have written standard operating

      13    procedures on their suspicious order monitoring

      14    processes?

      15          A.      I'm a very organized person, so I think

      16    everything should have a policy and a procedure.

      17          Q.      All right.      Would you recommend that a

      18    company have a written SOP set for its suspicious

      19    order monitoring systems?

      20          A.      Personally, I think so.

      21          Q.      All right.

      22                  So, then you write down:          "Threshold

      23    base."

      24                  In the context of your notes here, do you

     Golkow Litigation Services                                            Page 174
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 175Confidentiality
                                                           of 198. PageID #: 260681
                                                                               Review

       1    remember what that means?

       2          A.      I know what a threshold base system is.

       3          Q.      What is a threshold base system?

       4          A.      A threshold base system -- in my mind, a

       5    threshold base system is based on benchmarks, that's

       6    how I review it -- review it.

       7          Q.      All right.      And how would a threshold base

       8    system differ from the system that Watson had in place

       9    around this time, August 2012, if at all?

      10          A.      The Watson system had other algorithms in

      11    it that allowed us to manage -- you know, we had class

      12    trades, we me -- measured it up more than against

      13    anything that was just a benchmark, so we felt that

      14    that was -- removed a lot more risk.

      15          Q.      So the threshold base that you are talking

      16    about is the statistic or algorithm that would cause

      17    an order to pend, is that correct?

      18          A.      The logic, correct.

      19          Q.      All right.      So the next one down:         "(c)

      20    does not hold orders," do you remember what you meant

      21    by that?

      22          A.      Of course I did not at the time because I

      23    wasn't aware of their system.

      24          Q.      Okay.

     Golkow Litigation Services                                            Page 175
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 176Confidentiality
                                                           of 198. PageID #: 260682
                                                                               Review

       1          A.      I wasn't an Actavis Inc. person.

       2          Q.      Right.

       3                  Do you remember hearing that the Actavis

       4    system did not hold orders when you met with them in

       5    August 2012?

       6          A.      I -- I don't know if I did or not.             I

       7    don't recall because I --

       8          Q.      And that term "hold orders," we had talked

       9    about it yesterday with regard to Watson, that the

      10    Watson system not only created a report when an order

      11    pended, but it held any order from being shipped, is

      12    that right?

      13          A.      That is correct.

      14          Q.      And do you remember whether the Actavis

      15    system did not do that?

      16          A.      Well, I can tell you I did learn that the

      17    Actavis system held all orders whether they were SOMS

      18    or not.     If you remember, we discussed that yesterday.

      19    Their process was different.           They had to go in and

      20    manually put a hold on the order, but it did hold the

      21    orders whether they were Rx products or whether they

      22    were controlled or not controlled orders.               So it was

      23    just different.       They had to go and then continue to

      24    block an order that they considered an order of

     Golkow Litigation Services                                              Page 176
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 177Confidentiality
                                                           of 198. PageID #: 260683
                                                                               Review

       1    interest.     So it was just different.

       2          Q.      And it wasn't automatic, is that right?

       3          A.      They had to manually go and put the blocks

       4    on, to my understanding, but you -- again, you would

       5    need to ask an Actavis Inc. person because they would

       6    have much more knowledge than I would.

       7          Q.      And this -- the Watson system that you

       8    were familiar with was automatic, is that right?

       9          A.      Yes.

      10          Q.      Okay.    And then the next one, "(d)," it

      11    says:    "Creates a report."

      12                  Do you know what you meant by that?

      13          A.      Just as we discussed yesterday, their

      14    orders created it -- their system created a report on

      15    every order that exceeded.

      16          Q.      All right.

      17          A.      Just as we discussed yesterday.

      18          Q.      And then the next one says:

      19                  "They do not investigate all, only some,

      20    since there is no SOP, they don't investigate."

      21          A.      They wouldn't investigate products that

      22    weren't controlled substances.            So, remember,

      23    yesterday I explained that the reports that printed

      24    were for controls and non-controls.             They wouldn't

     Golkow Litigation Services                                            Page 177
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 178Confidentiality
                                                           of 198. PageID #: 260684
                                                                               Review

       1    con -- they wouldn't investigate products that were

       2    not controlled substances.

       3           Q.     All right.

       4                  And then the next one down there, it says:

       5    "Report runs every time an order load is run for EDI,

       6    not for manual."

       7                  What did you mean by that?

       8           A.     I'm not as familiar with how -- with that

       9    report, if there was a separate report for manual or

      10    EDI.    I think we'd have to clarify that with them.

      11           Q.     All right.

      12                  And then the next one says:           "Looks at six

      13    months of orders and compares the current orders with

      14    the past six months."

      15                  And what did you mean by that?

      16           A.     So we discussed this yesterday as well.

      17    It looks at what the six-month order average was and

      18    then compares it to the number of lines in that

      19    six-month period, and that's how it came up with the

      20    order and line average.         So that was part of our

      21    discussion yesterday.

      22           Q.     Okay.    Is that the threshold base that you

      23    are referring to above there?

      24           A.     Yes.

     Golkow Litigation Services                                            Page 178
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 179Confidentiality
                                                           of 198. PageID #: 260685
                                                                               Review

       1          Q.      All right.      So --

       2          A.      It is somewhat of an algorithm and

       3    somewhat of a baseline.

       4          Q.      All right.

       5                  So going down from there, it says:

       6    "Meeting notes October" -- or "10/5/2012."

       7                  Do you remember having a meeting in

       8    October 2012 regarding the Actavis SOM system?

       9          A.      I don't remember any specific meetings,

      10    but obviously that's why there is notes in here.

      11          Q.      All right.      And it states there:

      12    "Finalized 4" and then in parentheses "(5 including

      13    Nancy) resources that will be on through January" --

      14    or "through Jan until Watson cutover."

      15                  Do you see that there?

      16          A.      I do.

      17          Q.      Do you remember that there was a cutover

      18    of the Watson SOM system to replace the Actavis SOM

      19    system set for January 2013?

      20          A.      I don't remember the exact date of the

      21    cutover, but in every acquisition we did, there was

      22    always cutovers for every single component.

      23          Q.      All right.

      24                  And then going down into here, rather than

     Golkow Litigation Services                                            Page 179
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 180Confidentiality
                                                           of 198. PageID #: 260686
                                                                               Review

       1    eving -- reading every one, there is one that says:

       2    "SOP does not [sic] show the escalation process."

       3                  In the context of your work, what did you

       4    mean by that?

       5          A.      I couldn't be positive right now about

       6    what that meant.

       7          Q.      Okay.    When -- you -- have you heard the

       8    term "escalation process" in your work at Watson and

       9    Actavis and Allergan?

      10          A.      Yes, because we have escalation process in

      11    our SOP, so I'm familiar.

      12          Q.      Okay.    So what does that mean to you,

      13    Wat -- or escalation process?

      14          A.      It means when you have -- you know, there

      15    is an escalation process for everything.               When it --

      16    when you have steps in a process, you go from one

      17    step.    When you need approval, you have one -- you

      18    have a first approval process, when you need a next

      19    approval process, that's an escalation step.

      20          Q.      And I think you had just said that the --

      21    as you understand it, the Watson suspicious order

      22    monitoring SOP did contain the escalation process, is

      23    that right?

      24          A.      That is correct.

     Golkow Litigation Services                                            Page 180
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 181Confidentiality
                                                           of 198. PageID #: 260687
                                                                               Review

       1          Q.      Would you expect any suspicious order

       2    monitoring system's SOPs to include an escalation

       3    process?

       4          A.      Well, I can't -- I can't speak to other

       5    people's SOP or SOM system, so I'm not -- I'm not the

       6    authority to determine whether they would or wouldn't.

       7          Q.      If you were writing the SOPs for a

       8    suspicious order monitoring process, would you ensure

       9    that the escalation process was a written SOP?

      10          A.      I would personally, because I -- like I

      11    said before, I'm a very kind of methodical, organized

      12    person, so I would put it in there because I would not

      13    want to count on my memory to remember every step, so

      14    personally, yes, I would.

      15          Q.      And you have been in this industry for

      16    more than 20 years, is that right?

      17          A.      That is correct.

      18          Q.      So, and then the bottom one, the bottom

      19    note you write there:         "DEA meetings told them to

      20    focus on customers/customer."

      21                  Do you see that there?

      22          A.      I do.

      23          Q.      And then below that, it says:            "DEA oxy

      24    30, 15, hydro."

     Golkow Litigation Services                                            Page 181
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 182Confidentiality
                                                           of 198. PageID #: 260688
                                                                               Review

       1                  What did you mean by that?

       2          A.      That would have come from them.            They

       3    would have told me that, so --

       4          Q.      What --

       5          A.      -- that's where that note would have come

       6    from.    I don't know at the time.          I mean, that --

       7    that's something that they would have communicated to

       8    us.

       9          Q.      Okay.    And in the context of your work and

      10    your note taking, what does that bullet point and the

      11    sub bullet point mean when spoken out as sentences?

      12          A.      Well, that just means exactly what it

      13    says.    They had a meeting with the DEA, the DEA told

      14    them to focus on customer/customer, and obviously

      15    there was something that communicated to them

      16    regarding their oxy 30, 15, and hydro, something along

      17    those lines, but I don't know the exact content of,

      18    you know, what happened at their meeting with the DEA.

      19    I can't -- I can't pretend that I know that.

      20          Q.      All right.      And Actavis didn't sell brand

      21    name OxyContin, is that right, they sold generic

      22    OxyContin?

      23          A.      I -- I don't know the exact line of the

      24    Actavis products to -- to tell you one way or another,

     Golkow Litigation Services                                             Page 182
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 183Confidentiality
                                                           of 198. PageID #: 260689
                                                                               Review

       1    so I don't want to --

       2          Q.      All right.

       3          A.      -- give you incorrect information.

       4          Q.      So going down to the next entry there, it

       5    says:    "Meeting Notes 10/25/2012 Actavis/Watson."

       6                  Do you see that there?

       7          A.      I do.

       8          Q.      And then beyond that there is screen shots

       9    or something.      As you look down into the following

      10    pages, I think it's -- it's eight pages to --

      11          A.      Uh-huh.

      12          Q.      -- Page 382.

      13                  Do you have an understanding of what those

      14    are that appear on the following pages?

      15          A.      This would have been a presentation

      16    provided to us by Actavis Inc.

      17          Q.      Okay.    And then there is writing in and

      18    between the various screen shots or whatever they are.

      19                  Do you remember who wrote that text there?

      20          A.      I don't know if that was me or -- this

      21    might have been notes that I documented as Nancy Baran

      22    was going through the presentation with us.

      23          Q.      All right.      All right.      And then going to

      24    the next page after those notes, the 383, at the

     Golkow Litigation Services                                            Page 183
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 184Confidentiality
                                                           of 198. PageID #: 260690
                                                                               Review

       1    beginning of the page, top of the page it states:

       2    "Retention."

       3                  Do you see that there?

       4          A.      I do.

       5          Q.      Okay.    And the second entry there states:

       6                  "Milestone 1," and then parentheses

       7    "(Nancy).     Execute current job responsibilities

       8    including the management and support of your current

       9    internal Watson customers meeting exceptional level of

      10    service standards.        Ongoing through release date."

      11                  Do you have an understanding of what that

      12    text means?

      13          A.      I do not.

      14          Q.      Okay.    And then -- all right.          That's all

      15    I have for this document.          You can set it aside.

      16                  My documents have gotten all out of order.

      17    All right.      Let's mark this as Exhibit 37.

      18                       (WHEREUPON, a certain document was

      19                         marked Allergan - Woods Deposition

      20                         Exhibit No. 37, for identification,

      21                         as of 01/10/2019.)

      22    BY MR. EGLER:

      23          Q.      And if you look generally at Exhibit 37,

      24    and while you're looking at it, I'll read into the

     Golkow Litigation Services                                            Page 184
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 185Confidentiality
                                                           of 198. PageID #: 260691
                                                                               Review

       1    record, it is Allergan_MDL_03755062 through 078.                 And

       2    when you are ready, okay, let me know and I'll ask you

       3    some questions.

       4          A.      Sure.

       5          Q.      All right.

       6                  So, this document, Exhibit 37, again,

       7    generally, was produced to us from your custodial

       8    file.    And will you agree with me that it appears,

       9    again, to be a printout of a Microsoft One Note file?

      10          A.      Yes, it does appear to be --

      11          Q.      All right.

      12          A.      -- from a One Note file.

      13          Q.      And then this is a five -- excuse me --

      14    this is a family of documents, and for the first time

      15    I think we have included the attachment from -- that

      16    appeared in the family.

      17                  If you look at the second page of this

      18    document, 063, it states that there is an -- or it

      19    notes that there is an attachment to an e-mail or

      20    whatever that is.

      21                  Do you see that there?

      22          A.      I do.    I do see that.

      23          Q.      All right.      And the -- the document, that

      24    second page states:        "Buzzeo PDMA Project Kickoff

     Golkow Litigation Services                                            Page 185
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 186Confidentiality
                                                           of 198. PageID #: 260692
                                                                               Review

       1    Meeting - Phase 1 Proof of Concept."

       2                  Do you remember hearing about or attending

       3    a Buzzeo PDMA project kickoff meeting around May,

       4    middle of May 2015?

       5          A.      Yes, I kind of remember this.

       6          Q.      Do you remember what Watson -- well, I

       7    take that back, at this point it's Actavis and

       8    Allergan -- what Actavis and Allergan had engaged the

       9    Buzzeo PDMA to do in the mid-2015?

      10          A.      Can I take a minute to look at the

      11    document?

      12          Q.      Yes, absolutely.

      13          A.      Okay.    Thanks.

      14          Q.      And I'll -- I'll tell you that what I'm

      15    going to ask you about is on Page 5074 --

      16          A.      Okay.

      17          Q.      -- and that's because your name appears

      18    there, but also generally about the meeting.

      19          A.      They changed their name so often and I

      20    only worked with them on one thing, so...

      21          Q.      Okay.

      22          A.      Okay.    I -- I think I'm ready.          I just

      23    wanted to make sure I understood what this was about.

      24          Q.      Okay.    What is this about?

     Golkow Litigation Services                                            Page 186
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 187Confidentiality
                                                           of 198. PageID #: 260693
                                                                               Review

       1          A.      Are you on the page ending in --

       2          Q.      You know, I'd -- I'd like to take the

       3    entire --

       4          A.      The whole concept?

       5          Q.      Hold on.

       6                  I'd like to take the document starting at

       7    Page 066 and --

       8          A.      Okay.

       9          Q.      -- going to the end, and if you recognize

      10    that or have a feeling as to what it is, let me know

      11    what it is and tell me about the context that you

      12    understand it to be in.

      13          A.      This was a meeting with Buzzeo which you

      14    know as Cegedim.       This was -- if you remember

      15    yesterday, I had explained to you that in around the

      16    2012 period the algorithm was a logic that had to be

      17    programmed into your ERP system.

      18                  Remember we had that discussion yesterday?

      19          Q.      Yes.

      20          A.      At this period of time in 2015, they had

      21    actually turned it into an application that you could

      22    purchase.

      23          Q.      Okay.

      24          A.      Okay?    This meeting was to meet with them

     Golkow Litigation Services                                            Page 187
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 188Confidentiality
                                                           of 198. PageID #: 260694
                                                                               Review

       1    to see the application.

       2          Q.      Okay.    So this is, is it fair to say,

       3    prior to any engagement or other signed contract with

       4    Buzzeo, is that right?

       5          A.      I don't know the sequence of time, but I'm

       6    going to make the assumption that that would be it.

       7          Q.      Okay.    But you don't have a strong feeling

       8    or a conclusion either way about whether Buzzeo was

       9    engaged on the processes listed here or not?

      10          A.      I -- I don't, but we wouldn't have engaged

      11    with them until we met with them, so.              I don't know

      12    the time -- timing and sequence.

      13          Q.      All right.      All right.

      14                  So on Page 074 of this document, it says:

      15    "Core Project Team - Actavis."

      16                  Do you see that there?

      17          A.      I do.

      18          Q.      And it lists various people including

      19    you --

      20          A.      Uh-huh.

      21          Q.      -- and you are listed as a process owner?

      22          A.      That's correct.

      23          Q.      Around this time, May 2015, do you know

      24    what that designation would have indicated, process

     Golkow Litigation Services                                            Page 188
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 189Confidentiality
                                                           of 198. PageID #: 260695
                                                                               Review

       1    owner?

       2          A.      Yes.

       3          Q.      What does it mean?

       4          A.      A process owner is somebody who has input

       5    because of what you or your team does in the company,

       6    and you have input as to what is required into the

       7    system or process.

       8          Q.      All right.

       9                  And do you remember whether the Buzzeo

      10    entity was ever subsequently engaged to create or to

      11    construct this system for Actavis or Allergan or

      12    whatever entity you worked for?

      13          A.      To the best of my knowledge, we did sign a

      14    contract with them, but Tom Napoli would be the person

      15    to confirm that.       I wouldn't be the person signing the

      16    contract.

      17          Q.      All right.      All right.

      18          MR. EGLER:      Let's -- let's take a quick break.

      19    All right.

      20          THE VIDEOGRAPHER:        The time is approximately

      21    2:15 p.m. and we are going off the record.

      22                       (WHEREUPON, a recess was had

      23                         from 2:15 to 2:33 p.m.)

      24          THE VIDEOGRAPHER:        We are back on the record.

     Golkow Litigation Services                                            Page 189
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 190Confidentiality
                                                           of 198. PageID #: 260696
                                                                               Review

       1    The time is approximately 2:33 p.m.

       2          MR. EGLER:      Ms. Woods, I appreciate you coming

       3    in yesterday and today.         I don't have any further

       4    questions.

       5          MS. LEVY:      I have -- I have just one question.

       6                               EXAMINATION

       7    BY MS. LEVY:

       8          Q.      Ms. Woods, when we are talking about

       9    Actavis pre 2012 suspicious order monitoring system,

      10    who are the folks who would be in the best position to

      11    understand the intricacies of how that system worked?

      12          A.      For Actavis Inc., correct?

      13          Q.      Correct.

      14          A.      So that would really be Nancy Baran and

      15    Rachelle Galant.

      16          Q.      Would those two individuals know more than

      17    you know about that system?

      18          A.      Oh, significantly.        I mean, they were

      19    hired -- they were at the company at the time.

      20          MS. LEVY:      Okay.    I don't have anything further.

      21          MR. EGLER:      Okay.    I'm going to have a question.

      22                          FURTHER EXAMINATION

      23    BY MR. EGLER:

      24          Q.      Ms. Woods, when earlier today we were

     Golkow Litigation Services                                            Page 190
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 191Confidentiality
                                                           of 198. PageID #: 260697
                                                                               Review

       1    talking about various meetings in May and August

       2    of 2012, with people from Actavis, do you remember

       3    that -- those discussions?

       4          A.      The meetings that were in 2012 was

       5    pre aq -- when we were going through the

       6    acquisition --

       7          Q.      Uh-huh.

       8          A.      -- and we just had some preliminary

       9    meetings before we completed the acquisition.

      10          Q.      Right.

      11          A.      So we had some preliminary meetings.              So

      12    those were notes or meetings -- those were notes taken

      13    from meetings we had with them.            So those notes would

      14    have been information provided and information from

      15    them.    So clarification would have to come from them

      16    because we would not have been familiar with their

      17    systems.

      18          Q.      Do you think the people from Actavis who

      19    were at the meetings in 2012 that we were talking

      20    about earlier today lied to you?

      21          A.      My point is I'm not sure we would have

      22    understood the notes enough to correctly have taken

      23    notes from them in the context in which they would

      24    have communicated the system because we weren't

     Golkow Litigation Services                                            Page 191
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 192Confidentiality
                                                           of 198. PageID #: 260698
                                                                               Review

       1    familiar the system.

       2          Q.      Okay.    Do you think they lied to you

       3    during the meetings?

       4          A.      I wouldn't think they'd lie to us in the

       5    meetings.     The way we might have interpreted the notes

       6    might not have been how their system operated because

       7    we weren't familiar with their system.

       8          Q.      Do you think you would have asked

       9    questions if you needed more information during the

      10    meetings?

      11          A.      It depended on what the meeting was.              If

      12    it was, like, a fact finding meeting, an initial

      13    meeting, we may have taken notes, gone back and talked

      14    about them and had a subsequent meeting, but we may

      15    not have had, like, an initial meeting because we

      16    didn't own them at the time.

      17          Q.      During the meetings if you asked a

      18    question, do you remember anyone from Actavis not

      19    volunteering the information that you asked for?

      20          A.      After -- after the close --

      21          Q.      No.

      22          A.      -- of acquis- -- so I just want to make

      23    sure I'm clear.

      24          Q.      Uh-huh.

     Golkow Litigation Services                                            Page 192
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 193Confidentiality
                                                           of 198. PageID #: 260699
                                                                               Review

       1           A.     We were only able to receive certain

       2    information on any company we acquired --

       3           Q.     Uh-huh.

       4           A.     -- prior to the close of the company.              I'm

       5    sure you're aware of that, right?

       6           Q.     Yes.

       7           A.     So we might not have been able to get

       8    everything we needed prior to the close.

       9           Q.     So at the meetings that we were talking

      10    about earlier today, was there a point that you

      11    remembered today where you asked for some information

      12    from someone from Actavis and they didn't give it to

      13    you?

      14           A.     I can't recall from 2012 to now.

      15           Q.     Do you think that would stick out in your

      16    memory?

      17           A.     I -- what I can't recall is if I asked for

      18    anything or if our compliance team asked for anything.

      19           Q.     If you had asked for something and they

      20    refused to give it to you, do you think that would

      21    have stuck out in your memory?

      22           A.     If -- if we were allowed to ask for

      23    something and they did not provide something --

      24           Q.     Yes.

     Golkow Litigation Services                                            Page 193
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 194Confidentiality
                                                           of 198. PageID #: 260700
                                                                               Review

       1          A.      -- we would have remembered.           I just don't

       2    know if we did ask for anything and if we could have

       3    asked for anything.

       4          MR. EGLER:      Okay.    I don't have any further

       5    questions.

       6          MS. LEVY:      Nothing further from me.

       7          MR. EGLER:      Thanks again.

       8          THE WITNESS:       You're welcome.

       9          THE VIDEOGRAPHER:        The time is approximately

      10    2:37 p.m. and this concludes the deposition.

      11                       (Time Noted:       2:37 p.m.)

      12                     FURTHER DEPONENT SAITH NOT.

      13

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     Golkow Litigation Services                                            Page 194
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 195Confidentiality
                                                           of 198. PageID #: 260701
                                                                               Review

       1                         REPORTER'S CERTIFICATE

       2

       3                  I, JULIANA F. ZAJICEK, C.S.R. No. 84-2604,

       4    a Certified Shorthand Reporter, do hereby certify:

       5                  That previous to the commencement of the

       6    examination of the witness herein, the witness was

       7    duly sworn to testify the whole truth concerning the

       8    matters herein;

       9                  That the foregoing deposition transcript

      10    was reported stenographically by me, was thereafter

      11    reduced to typewriting under my personal direction and

      12    constitutes a true record of the testimony given and

      13    the proceedings had;

      14                  That the said deposition was taken before

      15    me at the time and place specified;

      16                  That I am not a relative or employee or

      17    attorney or counsel, nor a relative or employee of

      18    such attorney or counsel for any of the parties

      19    hereto, nor interested directly or indirectly in the

      20    outcome of this action.

      21                  IN WITNESS WHEREOF, I do hereunto set my

      22    hand on this 14th day of January, 2019.

      23

      24                  JULIANA F. ZAJICEK, Certified Reporter

     Golkow Litigation Services                                            Page 195
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 196Confidentiality
                                                           of 198. PageID #: 260702
                                                                               Review

       1                       DEPOSITION ERRATA SHEET

       2

       3

       4    Case Caption:      In Re: National Prescription

       5                       Opiate Litigation

       6

       7                DECLARATION UNDER PENALTY OF PERJURY

       8

       9                  I declare under penalty of perjury that I

      10    have read the entire transcript of my Deposition taken

      11    in the captioned matter or the same has been read to

      12    me, and the same is true and accurate, save and except

      13    for changes and/or corrections, if any, as indicated

      14    by me on the DEPOSITION ERRATA SHEET hereof, with the

      15    understanding that I offer these changes as if still

      16    under oath.

      17

      18                                          MARY WOODS

      19

      20    SUBSCRIBED AND SWORN TO

      21    before me this               day

      22    of                       , A.D. 20__.

      23

      24                 Notary Public

     Golkow Litigation Services                                            Page 196
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 197Confidentiality
                                                           of 198. PageID #: 260703
                                                                               Review

       1                       DEPOSITION ERRATA SHEET

       2    Page No._____Line No._____Change to:______________

       3    __________________________________________________

       4    Reason for change:________________________________

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       8    Page No._____Line No._____Change to:______________

       9    __________________________________________________

      10    Reason for change:________________________________

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      20    Page No._____Line No._____Change to:______________

      21    __________________________________________________

      22    Reason for change:________________________________

      23    SIGNATURE:_______________________DATE:___________

      24                               MARY WOODS

     Golkow Litigation Services                                            Page 197
Case: 1:17-md-02804-DAP Doc #: -1985-23
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 198Confidentiality
                                                           of 198. PageID #: 260704
                                                                               Review

       1                     DEPOSITION ERRATA SHEET

       2    Page No._____Line No._____Change to:______________

       3    __________________________________________________

       4    Reason for change:________________________________

       5    Page No._____Line No._____Change to:______________

       6    __________________________________________________

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      10    Reason for change:________________________________

      11    Page No._____Line No._____Change to:______________

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      17    Page No._____Line No._____Change to:______________

      18    __________________________________________________

      19    Reason for change:________________________________

      20    Page No._____Line No._____Change to:______________

      21    __________________________________________________

      22    Reason for change:________________________________

      23    SIGNATURE:_______________________DATE:___________

      24                                 MARY WOODS

     Golkow Litigation Services                                            Page 198
